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                       UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF ILLINOIS


IN RE BROILER CHICKEN ANTITRUST            Main Case No. 1:16-cv-08637
LITIGATION                                 Related Case No.: 1:18-cv-06316

This Document Relates To:
                                                  ASSOCIATED WHOLESALE
ASSOCIATED WHOLESALE GROCERS, INC., GROCERS, INC.’S FIRST AMENDED
on behalf of itself and as assignee of Affiliated COMPLAINT
Foods Midwest Cooperative, Inc.’s claims,
                                                  Jury Trial Demanded
Plaintiff,

v.                                            [Redacted Public Version]
KOCH FOODS, INC.; JCG FOODS OF
ALABAMA, LLC.; JCG FOODS OF GEORGIA,
LLC; KOCH MEAT CO., INC.; TYSON
FOODS, INC.; TYSON CHICKEN, INC.;
TYSON BREEDERS, INC.; TYSON POULTRY,
INC.; PILGRIM’S PRIDE CORPORATION;
PERDUE FARMS, INC.; PERDUE FOODS
LLC; SANDERSON FARMS, INC.;
SANDERSON FARMS, INC. (FOODS
DIVISION); SANDERSON FARMS, INC.
(PRODUCTION DIVISION); SANDERSON
FARMS, INC. (PROCESSING DIVISION);
WAYNE FARMS, LLC; MOUNTAIRE FARMS,
INC.; MOUNTAIRE FARMS, LLC;
MOUNTAIRE FARMS OF DELAWARE, INC.;
PECO FOODS, INC.; FOSTER FARMS, LLC;
FOSTER POULTRY FARMS; HOUSE OF
RAEFORD FARMS, INC.; SIMMONS FOODS,
INC.; SIMMONS PREPARED FOODS, INC.;
GEORGE’S, INC.; GEORGE’S FARMS, INC.;
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O.K. FOODS, INC.; O.K. FARMS, INC.; O.K.
INDUSTRIES, INC.; AGRI STATS, INC.;
CLAXTON POULTRY FARMS, INC.;
NORMAN W. FRIES, INC.; HARRISON
POULTRY, INC.; MAR-JAC POULTRY, INC.;
MAR-JAC POULTRY AL, LLC; MAR-JAC
AL/MS, Inc.; MAR-JAC POULTRY, LLC;
MAR-JAC HOLDINGS, LLC; MAR-JAC
POULTRY MS, LLC; AMICK FARMS, LLC;
CASE FOODS, INC.; CASE FARMS, LLC; and
CASE FARMS PROCESSING, INC.

Defendants.
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                                  SUMMARY OF THE CASE

       1.      Plaintiff Associated Wholesale Grocers, Inc. (“AWG”) and its assignor Affiliated

Foods Midwest Cooperative, Inc. (“AFM”) purchased over $2 Billion worth of broiler chickens

(“Broilers”)1 since 2008. AWG, individually and assignee of AFM’s claims, seeks to recover for

overcharges resulting from Defendants’ illegal conspiracy to raise the price of Broilers.

       2.      AWG is the nation’s largest cooperative food wholesaler to independently owned

supermarkets. It purchases enormous quantities of Broilers for resale to these supermarkets. Its

assignor, AFM, also purchased substantial quantities of Broilers.

       3.      All but one of Defendants are producers of Broilers who sell their products in the

U.S. Specific allegations regarding the corporate identities of each defendant are found at

paragraphs 31 through 91.

       4.      Beginning as early as January 1, 2008, Defendants and their co-conspirators

engaged in a nationwide conspiracy, in violation of Section 1 of the Sherman Antitrust Act and

various state laws, to illegally increase the price of Broilers. As used herein, the “Relevant Time

Period” is January 1, 2008 through December 31, 2016.

       5.      The first mechanism used by Defendants and their co-conspirators to illegally

increase the price of Broilers was a series of coordinated production cuts, and specifically the

coordinated destruction of breeding flocks of chickens. Specific allegations regarding these

coordinated production cuts are found at paragraphs 134 through 280.

       6.      A second mechanism by which Defendants and their co-conspirators illegally

raised the price of Broilers was to manipulate the Georgia Dock price index for Broilers, and

1
  As used in this Complaint, “Broiler” or “Broilers” are chickens raised for meat consumption to
be slaughtered before the age of 13 weeks, and which may be sold in a variety of forms,
including fresh or frozen, whole or in parts, but excluding chicken that is grown, processed, and
sold according to halal, kosher, free range, anti-biotic free, or organic standards.


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possibly other indices. The Georgia Dock price index was very important in setting the price

paid by AWG for Broilers, and was specifically referenced in some of the contracts by which

AWG purchased Broilers from Defendants. Specific allegations regarding the manipulation of

the Georgia Dock price index are found at paragraphs 307 through 327.

       7.      Defendants’ coordinated production cuts and coordinated manipulation of the

Georgia Dock price index were not simply unrelated parallel actions, but rather were the product

of an illegal agreement between Defendants and their co-conspirators. In addition to their

parallel behavior, there are numerous “plus factors” that demonstrate that their actions were part

of a conspiracy, and not merely coincidental. These “plus factors” include but are not limited to:

       a.      The market for Broilers is highly concentrated, with Defendants collectively
               producing over 90% of all Broilers sold in the U.S. Specific allegations related to
               this plus factor are found at paragraphs 355 through 360.

       b.      The executives for Defendants routinely met with each other at industry meetings
               and served on industry councils and boards together. Some of these meetings
               included explicit discussion of production data between the competitors. Specific
               allegations related to this plus factor are found at paragraphs 368 through 379.

       c.      Defendants, even though they were alleged competitors, cooperated with each
               other to help one another supply their customers through “co-production” and
               “buy-grow” agreements. Under these agreements, if one competitor did not have
               the Broilers necessary to supply its customers, other competitors would sell it the
               Broilers it needed, rather than try to supply the customer themselves, as would be
               expected in a competitive market. Specific allegations related to this plus factor
               are found at paragraphs 413 through 422.

       d.      All of the competitors relied on common Broilers genetics controlled by one
               competitor – Tyson. Specific allegations related to this plus factor are found at
               paragraphs 338 through 349.

       e.      Competitors shared detailed production, pricing, and profitability information
               with each other, primarily by means of an industry reporting service called Agri
               Stats. Specific allegations about Agri Stats are found at paragraphs 281 through
               337.

       f.




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       g.     There are current ongoing government investigations about the Broilers industry,
              including one by the Florida Attorney General. Specific allegations related to this
              plus factor are found at paragraphs 308 and 439.

       h.     The Broilers industry has a history of collusion and of government action to
              address this collusion. Specific allegations related to this plus factor are found at
              paragraphs 361 through 367.

       8.     The price-fixing conspiracy described in this Complaint was greatly facilitated by

the Defendant Agri Stats, which obtained and published detailed production, pricing and

profitability data for each of the Defendants. This data made it possible for Defendants to

monitor the effectiveness of their conspiracy, and to determine whether any of the conspirators

were producing too many Broilers. Although the Agri Stats data was allegedly anonymous, Agri

Stats divided the U.S. into such small regions and sub-regions that it was possible for the

conspirators to effectively police their conspiracy with Agri Stats data. Specific allegations

regarding the Agri Stats data are found at paragraphs 283 through 296.

       9.     The effect and magnitude of the price increases created by the illegal conspiracy

can be seen in the graph below. This graph shows that the price of Broilers was increasing, even

during years that the primary input for Broilers (chicken feed) was decreasing.           Specific

allegations about the magnitude of the price increases created by the conspiracy can be found at

paragraphs 328 through 337.




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       10.    The effect of the conspiracy to manipulate the George Dock price for Broilers can

be seen in the graph below. The Georgia Dock price changes very little, even though three other

price indices calculated by USDA, Urner-Barry, and EMI, vary dramatically.             Specific

allegations about the unexplained stability of the George Dock price can be found at paragraphs

328 through 337.




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       11.    The divergence of the actual George Dock price from the historically predicted

Georgia Dock price may be seen in the graph below. Using a technique published in a peer-

reviewed journal, the George Dock price can be predicted from the price of chicken feed with

great accuracy between the years 2000 and 2008. However, once the illegal conspiracy began in

2008, the actual Georgia Dock price diverged widely from the Georgia Dock price that would be

predicted from the price of chicken feed. This divergence averaged 17.5% between 2010 and

2016. Specific allegations related to the divergence of the actual Georgia Dock price from the

historically predicted Georgia Dock price may be found at paragraphs 328 through 337.




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       12.     Defendants’ conduct increased the prices that AWG paid for Broilers by an

average of at least 17.5% from 2010 through 2016, causing damages and an overcharge to AWG

of at least $300,000,000, before accounting for the overcharge paid by AWG’s assignor, AFM.

AWG seeks trebled damages in this lawsuit against Defendants, in an amount of at least

$900,000,000, attorney fees, and costs, again, before accounting for the damages and overcharge

paid by AWG’s assignor, AFM. In addition, AWG seeks the full consideration on their Broiler

purchases in the States of Tennessee and Wisconsin. Damages resulting from AWG’s and

AFM’s purchases of Broilers will be established at trial.




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                            I.      JURISDICTION AND VENUE

       13.     This action is instituted under Sections 4 and 16 of the Clayton Act, 15 U.S.C.

§§ 15 and 26, to recover treble damages and the costs of this suit, including reasonable attorneys’

fees, against Defendants for the injuries sustained by Plaintiff by virtue of Defendants’ violations

of Section 1 of the Sherman Act, 15 U.S.C. § 1, and to enjoin further violations. In addition, this

action is instituted under Wis. Stat. 133.01, et al., and Tenn. Code § 47-25-101, et al. to recover

treble damages and the full consideration paid, as well as the costs of this suit, including

reasonable attorneys’ fees, against Defendants for the injuries sustained by Plaintiff by virtue of

Defendants’ violations of Wisconsin and Tennessee law.

       14.     This Court has jurisdiction under 28 U.S.C. §§ 1331, 1337, and Sections 4 and 16

of the Clayton Act, 15 U.S.C. §§ 15(a) and 26.

       15.     AWG filed its Complaint with the U.S. District Court for the District of Kansas.

Venue is appropriate in the District of Kansas under Sections 4, 12, and 16 of the Clayton Act,

15 U.S.C. §§ 15, 22 and 26 and 28 U.S.C. § 1391(b), (c) and (d), because one or more

Defendants resided or transacted business in that District, is licensed to do business or is doing

business in that District, and because a substantial portion of the affected interstate commerce

described herein was carried out in that District. In addition, Plaintiff is incorporated and has a

primary place of business in Kansas City, Kansas.

       16.     With that said, this Court is the current venue for the case because the U.S.

District Court for the District of Kansas transferred the case to this Court pursuant to 28 U.S.C. §

1404. AWG reserves all rights to seek transfer of this case back to the District of Kansas for trial

and other proceedings.

       17.     The U.S. District of Kansas and this Court have personal jurisdiction over each

Defendant because, inter alia, each Defendant: (a) transacted business throughout the United


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States, including in the District of Kansas and in this District; (b) manufactured, sold, shipped,

and/or delivered substantial quantities of Broilers throughout the United States, including the

District of Kansas and this District; (c) had substantial contacts with the United States, including

the District of Kansas and this District; (d) engaged in an antitrust conspiracy that was directed at

and had a direct, foreseeable, and intended effect of causing injury to the business or property of

persons residing in, located in, or doing business throughout the District of Kansas and this

District and the United States; and/or (3) sold and directed their sale of Broilers to Plaintiff,

which has a principal place of business in Kansas City, Kansas.

       18.     The U.S. District Court for the District of Kansas and this Court also have

personal jurisdiction over Defendants because each of them knew, or should have known, that

because the Georgia Dock index price was used to price chicken bought in Kansas, Illinois, and

nationwide, their participation in the collusive manipulation of the Georgia Dock would have

effects on the price of chicken purchased in Kansas and Illinois based on the Georgia Dock

benchmark.     In addition, each of them knew, or should have known, that their collusive

reductions on production had an impact in Kansas, Illinois, and nationwide. The alleged scheme

and conspiracy have been directed at, and had the intended effect of, causing injury to persons

and entities residing in, located in, or doing business in the States of Kansas and Illinois.

       19.     The activities of the Defendants and all co-conspirators, as described herein, were

within the flow of, were intended to, and did have direct, substantial and reasonably foreseeable

effects on the foreign and interstate commerce of the United States.

                                         II.     PARTIES

A.     Plaintiff

       20.     AWG is the nation’s largest cooperative food wholesaler to independently owned

supermarkets, serving over 3,800 locations in more than half of the states in the United States. Its


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mission is to provide its member retailers all the tools, products, and services they need to

compete favorably in all of the markets it serves, including Broilers.

       21.     AWG is a Kansas corporation with its principal place of business located at 5000

Kansas Ave., Kansas City, Kansas 66106. AWG has distribution center locations in Kansas

City, KS; Springfield, MO; Oklahoma City, OK; Goodlettsville, TN; Southaven, MS; Pearl

River, LA; Norfolk, NE; and Kenosha, WI. During the Relevant Time Period, AWG purchased

Broilers through its corporate headquarters and each of these distribution centers.

       22.     AWG is also the assignee of claims arising from Affiliated Foods Midwest

Cooperative, Inc. (“AFM”), which, during the Relevant Time period, purchased Broilers directly

from one or more Defendants. Before AWG’s acquisition of AFM assets in October 2016, AFM

was a Nebraska corporation with its principal place of business in Norfolk, Nebraska and

Elwood, Kansas. It served retailers in various states, including Oklahoma, Kansas, Colorado,

Wyoming, Nebraska, Missouri, Illinois, Wisconsin, Iowa, South Dakota, North Dakota,

Minnesota, and Michigan. AFM has assigned its claims for purchases of Broilers to AWG.

Unless otherwise specified, all references in this First Amended Complaint to AWG or Plaintiff,

or to AWG’s or Plaintiff’s Broiler purchases, refer both to AWG and AFM, or to their collective

Broiler purchases.

       23.     During the Relevant Time Period, AWG purchased Broilers at artificially inflated

prices directly from Defendants, including, without limitation, from Defendants and Co-

Conspirators Pilgrim’s Pride Corporation, Sanderson Farms, Inc., Mountaire Farms, Inc., and

Tyson Foods, Inc., and other producers of Broilers. During the Relevant Time Period, the price

quoted in agreements between AWG and Defendants and other producers of Broilers referenced




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or were directly tied to Georgia Dock, which was manipulated by Defendants and their Co-

Conspirators.

       24.      A small percentage of AWG’s Broiler purchases are Antibiotic Free (“ABF”)

broilers. These ABF broilers may be priced differently than standard commodity Broilers, and

may be subject to different procurement contracts than standard commodity Broilers.

       25.      Almost all of AWG’s purchases of ABF broilers during the relevant period were

from a non-defendant supplier that specializes in ABF products. However, AWG may have

purchased small amounts of ABF broilers from one or more defendants.

       26.      Because ABF broilers may be priced differently than standard commodity

Broilers, and may be subject to different procurement contracts, AWG is not including ABF

broiler purchases in its claims for damage, at this time. AWG reserves the right to add these

claims at a later date, if discovery discloses that illegal overcharges for ABF broilers were made

by Defendants.

       27.      Between 2010 and 2016, which is a portion of the Relevant Time Period, AWG

paid Defendants and other producers of Broilers more than $1.8 billion for its purchases of

Broilers, before accounting for the amounts paid by AFM.

       28.      AWG suffered antitrust injury as a result of the violations alleged in this First

Amended Complaint. As a result of Defendants’ wrongful anticompetitive conduct, the actual

Georgia Dock price for Broilers exceeded the historically predicted price by an average of at

least 17.5% from 2010 through 2016.

       29.      As a result of Defendants’ wrongful anticompetitive conduct, AWG’s overcharge

on its Broiler purchases during the Relevant Time Period amounts to no less than $300,000,000,

before accounting for the overcharge paid by AFM. Under the Sherman Antitrust Act, Plaintiff




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is entitled to recover the overcharge multiplied by three, which is at least $900,000,000, plus its

attorney fees and costs, again before accounting for the overcharge paid by AFM. The amount

of damages suffered by AWG and AFM will be established at trial.

       30.     In addition to treble damages for the period of 2010-2016, AWG is entitled to

recover treble damages for the rest of the Relevant Time Period. Further, pursuant to Tennessee

and Wisconsin law, AWG is entitled to recover from Defendants the full consideration paid for

AWG’s purchases in those states.

B.     Defendants

               1.      Koch Foods Defendants

       31.     Koch Foods, Inc. is a privately held Illinois corporation with its corporate

headquarters in Park Ridge, Illinois. It has its sales office in Flowood, Mississippi and its export

office in Chattanooga, Tennessee. During the Relevant Time Period, Koch Foods, Inc. sold

Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

AWG in the United States.

       32.     JCG Foods of Alabama, LLC is an Alabama corporation with its headquarters in

Park Ridge, Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Relevant

Time Period, JCG Foods of Alabama, LLC sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to AWG in the United States.

       33.     JCG Foods of Georgia, LLC is a Georgia corporation with its headquarters in

Park Ridge, Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Relevant

Time Period, JCG Foods of Georgia, LLC sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to AWG in the United States.

       34.     Koch Meat Co., Inc. is an Illinois corporation with its headquarters in Chicago,

Illinois, and is a wholly-owned subsidiary of Koch Foods, Inc. During the Relevant Time


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Period, Koch Meat Co., Inc. sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to AWG in the United States.

          35.   Defendants Koch Foods, Inc., JCG Foods of Alabama, LLC, JCG Foods of

Georgia, LLC, and Koch Meat Co., Inc. are collectively referred to as “Koch Foods.” Koch

Foods reports a wide variety of data to Agri Stats, including information about its breeder flocks

and hatchery capacity, and data for its complexes in Georgia, Tennessee, and Alabama. Until the

Georgia Dock benchmark price index stopped being published by the GDA in late November

2016, Koch submitted false and artificially inflated price quotes to the GDA. Its vice-president of

sales served on the Georgia Dock Advisory Board.

                2.    Tyson Defendants

          36.   Tyson Foods, Inc. is a publicly traded Delaware corporation headquartered in

Springdale, Arkansas.     During the Relevant Time Period, Tyson Foods, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to AWG in the United

States.

          37.   Tyson Chicken, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the Relevant Time

Period, Tyson Chicken, Inc. sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to AWG in the United States.

          38.   Tyson Breeders, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly-owned subsidiary of Tyson Foods, Inc. During the Relevant Time

Period, Tyson Breeders, Inc. sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to AWG in the United States.




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       39.      Tyson Poultry, Inc. is a Delaware corporation headquartered in Springdale,

Arkansas and is a wholly-owned subsidiary of Tyson Poultry, Inc. During the Relevant Time

Period, Tyson Poultry, Inc. sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to AWG in the United States.

       40.      Defendants Tyson Foods, Inc., Tyson Chicken, Inc., Tyson Breeders, Inc., and

Tyson Poultry, Inc. are collectively referred to as “Tyson.” Tyson reports a wide variety of data

to Agri Stats, including information about its breeder flocks and hatchery capacity, and data for

its complexes in Virginia, Pennsylvania, North Carolina, Georgia, Alabama, Mississippi, Texas,

Arkansas, Missouri, Indiana, Tennessee, and Kentucky. Until the Georgia Dock benchmark

price index stopped being published by the GDA in late November 2016, Tyson was one of the

Defendants that submitted false and artificially inflated price quotes to the GDA. One of its

plant managers served on the Georgia Dock Advisory Board.

                3.     Pilgrim’s Pride Corporation

       41.      Pilgrim’s Pride Corporation is a Delaware corporation headquartered in Greeley,

Colorado (hereinafter “Pilgrim’s”). JBS USA Holdings, Inc. holds a 75.3% controlling interest

in Pilgrim’s.    JBS USA Holdings and Pilgrim’s are subsidiaries of JBS SA, a Brazilian

corporation headquartered in Sao Paulo, Brazil. During the Relevant Time Period, Pilgrim’s sold

Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

AWG in the United States.

                A.     Around December 1, 2008, Pilgrim’s filed a voluntary Chapter 11 petition
                       in the United States Bankruptcy Court for the Northern District of Texas.
                       Effective December 28, 2009, Pilgrim’s was discharged from bankruptcy
                       under a plan of reorganization that paid all creditors in full largely due to
                       rising Broiler prices leading to increased profits at Pilgrim’s. Pilgrim’s
                       participated in the conspiracy alleged herein throughout the Relevant Time
                       Period through the actions of many of Pilgrim’s most senior executives,
                       including former CEO Dr. Don Jackson and current President & CEO Bill
                       Lovette, and others with responsibility for Broilers.


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              B.       After its discharge from bankruptcy, Pilgrim’s reaffirmed its participation
                       in the conspiracy, in part by calls-to-arms and pledges by and between
                       Defendants that were followed by actions that resulted in further idling of
                       production capacity, reduced production, and price increases. Other
                       specific post-discharge actions taken by Pilgrim’s in furtherance of the
                       conspiracy are alleged (see below) and are consistent with the actions
                       taken by all of the Defendants and Pilgrim’s throughout the Relevant Time
                       Period.

              C.       Regardless of whether Pilgrim’s participated in the conspiracy throughout
                       the Relevant Time Period or joined or reaffirmed membership in the
                       conspiracy immediately after its discharge from bankruptcy, this
                       Complaint seeks to recover damages from Pilgrim’s only for Pilgrim’s
                       post-discharge conduct, and in no way seeks to violate any Orders of the
                       above-referenced Bankruptcy Court. However, by operation of law, the
                       damages arising from Pilgrim’s post-discharge conduct include damages
                       incurred by Plaintiff throughout the Relevant Time Period. This
                       Complaint also seeks to recover damages from the other Defendants for
                       Pilgrim’s pre-discharge conspiratorial conduct. Therefore, Plaintiff pleads
                       only a single Relevant Time Period as to all Defendants, but damages as to
                       Pilgrim’s are governed by the principles of joint and several liability as
                       noted above.

       42.    Pilgrim’s reports a wide variety of data to Agri Stats, including information about

its breeder flocks and hatchery capacity, and data for its complexes in Virginia, West Virginia,

North Carolina, Georgia, Tennessee, Florida, South Carolina, Alabama, Texas, Arkansas, and

Kentucky. Until the Georgia Dock benchmark price index stopped being published by the GDA

in late November 2016, Pilgrim’s was one of the Defendants that submitted false and artificially

inflated price quotes to the GDA. Its executive vice president of sales and operations served on

the Georgia Dock Advisory Board.

              4.       Perdue Defendants

       43.    Perdue Farms, Inc. is a privately held Maryland corporation headquartered in

Salisbury, Maryland.     During the Relevant Time Period, Perdue Farms, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate




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commerce, directly or through its wholly-owned or controlled affiliates, to AWG in the United

States.

          44.   Perdue Foods LLC is a privately held Maryland limited liability company

headquartered in Salisbury, Maryland. Perdue Foods LLC is a subsidiary of Perdue Farms, Inc.

During the Relevant Time Period, Perdue Foods, LLC and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to AWG in the United States.

          45.   Defendants Perdue Farms, Inc. and Perdue Foods LLC are collectively referred to

as “Perdue.” Perdue reports a wide variety of data to Agri Stats, including information about its

breeder flocks and hatchery capacity, and data for its complexes in Delaware, Maryland, North

Carolina, South Carolina, Florida, and Kentucky. Until the Georgia Dock benchmark price

index stopped being published by the GDA in late November 2016, Perdue was one of the

Defendants that submitted false and artificially inflated price quotes to the GDA.

                5.     Sanderson Farms Defendants

          46.   Sanderson Farms, Inc. is a publicly held Mississippi corporation headquartered in

Laurel, Mississippi.    During the Relevant Time Period, Sanderson Farms, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to AWG in the United

States.

          47.   Sanderson Farms, Inc. (Foods Division) is a Mississippi corporation located in

Laurel, Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the

Relevant Time Period, Sanderson Farms, Inc. (Foods Division) sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to AWG in the United

States.


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          48.   Sanderson Farms, Inc. (Production Division) is a Mississippi corporation located

in Laurel, Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the

Relevant Time Period, Sanderson Farms, Inc. (Production Division) sold or supplied for sale

Broilers in interstate commerce, directly or through its wholly-owned or controlled affiliates, to

AWG in the United States.

          49.   Sanderson Farms, Inc. (Processing Division) is a Mississippi corporation located

in Laurel, Mississippi, and is a wholly-owned subsidiary of Sanderson Farms, Inc. During the

Relevant Time Period, Sanderson Farms, Inc. (Processing Division) sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to AWG in the United

States.

          50.   Defendants Sanderson Farms, Inc., Sanderson Farms, Inc. (Foods Division),

Sanderson Farms, Inc. (Production Division), and Sanderson Farms, Inc. (Processing Division)

are collectively referred to as “Sanderson Farms.” Sanderson Farms reports a wide variety of

data to Agri Stats, including information about its breeder flocks and hatchery capacity, and data

for its complexes in Georgia, Mississippi, and Texas. Until the Georgia Dock benchmark price

index stopped being published by the GDA in late November 2016, Sanderson Farms was a

Defendant that submitted false and artificially inflated price quotes to the GDA.

                6.     Wayne Farms, LLC

          51.   Wayne Farms, LLC is a Delaware corporation headquartered in Oakwood,

Georgia. It is an operating affiliate of its parent company, Continental Grain Company, a

privately held company in Arlon, Belgium. During the Relevant Time Period, Wayne Farms,

LLC and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers

in interstate commerce, directly or through its wholly-owned or controlled affiliates, to AWG in

the United States.


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       52.       Wayne Farms reports a wide variety of data to Agri Stats, including information

about its breeder flocks and hatchery capacity, and data for its complexes in North Carolina,

Georgia, Alabama, Mississippi, and Arkansas. Until the Georgia Dock benchmark price index

stopped being published by the GDA in late November 2016, Wayne Farms was a Defendant

that submitted false and artificially inflated price quotes to the GDA. Its vice president of fresh

sales served on the Georgia Dock Advisory Board.

                 7.     Mountaire Farms Defendants

       53.       Mountaire Farms, Inc. is a privately held Delaware corporation with its

headquarters in Millsboro, Delaware. During the Relevant Time Period, Mountaire Farms, Inc.

and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to AWG in the

United States.

       54.       Mountaire Farms, LLC is a privately held Arkansas corporation located in Little

Rock, Arkansas, and is a wholly-owned subsidiary of Mountaire Farms, Inc.               During the

Relevant Time Period, Mountaire Farms, LLC and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its

wholly-owned or controlled affiliates, to AWG in the United States.

       55.       Mountaire Farms of Delaware, Inc. is a privately held Delaware corporation

located in Millsboro, Delaware, and is a wholly-owned subsidiary of Mountaire Farms, Inc.

During the Relevant Time Period, Mountaire Farms of Delaware, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce,

directly or through its wholly-owned or controlled affiliates, to AWG in the United States.

       56.       Defendants Mountaire Farms, Inc., Mountaire Farms, LLC, and Mountaire Farms

of Delaware, Inc. are collectively referred to as “Mountaire.” Mountaire reports a wide variety


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of data to Agri Stats, including information about its breeder flocks and hatchery capacity, and

data for its complexes in Delaware and North Carolina.

                8.     Peco Foods

          57.   Peco Foods, Inc. is a privately held Alabama corporation headquartered in

Tuscaloosa, Alabama.       During the Relevant Time Period, Peco Foods, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to AWG in the United

States.

          58.   Peco Foods, Inc. reports a wide variety of data to Agri Stats, including

information about its breeder flocks and hatchery capacity, and data for its complexes in Gordo,

Alabama and Sebastopol, Louisiana.

                9.     Foster Farms

          59.   Foster Farms, LLC is a privately held California corporation headquartered in

Modesto, California.     During the Relevant Time Period, Foster Farms, LLC and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to AWG in the United

States.

          60.   Foster Farms, LLC reports a wide variety of data to Agri Stats, including

information about its breeder flocks and hatchery capacity, and data for its complexes in Freson,

California, Livingston, California, and the Pacific Northwest.

          61.   Foster Poultry Farms is a privately held California corporation headquartered in

Livingston, California. Foster Poultry Farms is a related entity of Foster Farms, LLC. During

the Relevant Time Period, Foster Poultry Farms and/or its predecessors, wholly-owned or

controlled subsidiaries, or affiliates, was engaged in the processing, distribution, sale, pricing,


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and/or marketing of Broilers, directly or through its wholly-owned or controlled affiliates, to

purchasers in the United States.

          62.   Defendants Foster Farms, LLC and Foster Poultry Farms are collectively referred

to as “Foster Farms.”

                10.     House of Raeford Farms

          63.   House of Raeford Farms, Inc. is a privately held North Carolina corporation

headquartered in Rose Hill, North Carolina. During the Relevant Time Period, House of Raeford

operated in part through a division referred to as “Columbia Farms,” which is a group of Broiler

facilities and operations originally named Columbia Farms, Inc. and Columbia Farms of

Georgia, Inc. when purchased by House of Raeford in 1998. During the Relevant Time Period,

House of Raeford Farms, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries,

or affiliates sold Broilers in interstate commerce, directly or through its wholly-owned or

controlled affiliates, to AWG in the United States.

          64.   House of Raeford Farms, Inc. reports a wide variety of data to Agri Stats,

including information about its breeder flocks and hatchery capacity, and data for its North

Carolina and Louisiana complexes.

                11.     Simmons Foods

          65.   Simmons Foods, Inc. is a privately held Arkansas corporation headquartered in

Siloam Springs, Arkansas. During the Relevant Time Period, Simmons Foods, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to AWG in the United

States.




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       66.     Simmons Foods, Inc. reports a wide variety of data to Agri Stats, including

information about its breeder flocks and hatchery capacity, and data for its two Siloam Springs,

Arkansas complexes.

       67.     Simmons Prepared Foods, Inc. is a privately held Arkansas company

headquartered in Siloam Springs, Arkansas. Simmons Prepared Foods, Inc. is a wholly-owned

subsidiary of Simmons Foods, Inc. During the Relevant Time Period, Simmons Foods, Inc.

exclusively sold the chicken it produced to Simmons Prepared Foods, Inc., which in turn resold

the chicken in various forms to its customers.         Simmons Prepared Foods, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries or affiliates, was engaged in the

processing, distribution, sale, pricing, and/or marketing of Broilers, directly or through its

wholly-owned or controlled affiliates, to purchasers in the United States.

       68.     Defendants Simmons Foods, Inc. and Simmons Prepared Foods, Inc. are

collectively referred to as “Simmons” or “Simmons Foods.”

               12.     George’s Defendants

       69.     George’s, Inc. is a privately held Arkansas corporation headquartered in

Springdale, Arkansas. During the Relevant Time Period, George’s, Inc. and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce,

directly or through its wholly-owned or controlled affiliates, to AWG in the United States.

       70.     George’s Farms, Inc. is a privately held Arkansas corporation headquartered in

Springdale, Arkansas, and is a wholly-owned subsidiary of George’s Inc. During the Relevant

Time Period, George’s Farms, Inc. and/or its predecessors, wholly-owned or controlled

subsidiaries, or affiliates sold and/or supplied Broilers in interstate commerce, directly or through

its wholly-owned or controlled affiliates, to AWG in the United States.




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       71.     Defendants George’s, Inc. and George’s Farms, Inc. are collectively referred to as

“George’s.” George’s reports a wide variety of data to Agri Stats, including information about

its breeder flocks and hatchery capacity, and data for its complexes in Harrisonburg, Virginia and

Springdale, Arkansas.

               13.      O.K. Foods Defendants

       72.     Defendant O.K. Foods, Inc. is an Arkansas corporation headquartered in Fort

Smith, Arkansas. O.K. Foods, Inc. is a subsidiary of Industrias Bachoco S.A., a Brazilian

corporation headquartered in Sao Paulo, Brazil. During the Relevant Time Period, O.K. Foods,

Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers

in interstate commerce, directly or through its wholly-owned or controlled affiliates, to AWG in

the United States.

       73.     O.K. Farms, Inc. is an Arkansas corporation headquartered in Fort Smith,

Arkansas, and is a wholly-owned subsidiary of O.K. Foods, Inc. During the Relevant Time

Period, O.K. Farms, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or

affiliates sold Broilers in interstate commerce, directly or through its wholly-owned or controlled

affiliates, to AWG in the United States.

       74.     O.K. Industries, Inc. is an Arkansas corporation headquartered in Fort Smith,

Arkansas, and is a wholly-owned subsidiary of O.K. Foods, Inc. During the Relevant Time

Period, O.K. Industries, Inc. and/or its predecessors, wholly-owned or controlled subsidiaries, or

affiliates sold Broilers in interstate commerce, directly or through its wholly-owned or controlled

affiliates, to AWG in the United States.

       75.     Defendants O.K. Foods, Inc., O.K. Farms, Inc., and O.K. Industries, Inc. are

collectively referred to as “O.K. Foods.” O.K. Foods, which is a subsidiary of the Mexican

poultry conglomerate Industrias Bachoco, reports a wide variety of data to Agri Stats, including


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information about its breeder flocks and hatchery capacity, and data for its Fort Smith, Arkansas

complex.

               14.      Claxton Poultry Defendants

       76.     Defendant Claxton Poultry Farms, Inc. is a Georgia corporation located in

Claxton, Georgia. During the relevant time period, Claxton Poultry Farms, Inc. and/or its

predecessors, wholly owned or controlled subsidiaries or affiliates that sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates in the United States.

       77.     Norman W. Fries, Inc. d/b/a Claxton Poultry Farms, Inc. is a Georgia corporation

located in Claxton, Georgia. During the relevant time period, Norman W. Fries, Inc. and/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, in the United States.

       78.     Defendants Claxton Poultry Farms, Inc. and Norman W. Fries, Inc. are

collectively referred to as “Claxton Poultry.”

               15.      Harrison Poultry, Inc.

       79.     Defendant Harrison Poultry, Inc. (“Harrison”) is a Georgia corporation

headquartered in Bethlehem, Georgia. Harrison reports a wide variety of data to Agri Stats,

including information about its breeder flocks and hatchery capacity, and data for its Bethlehem,

Georgia complex. Until the Georgia Dock benchmark price index stopped being published by

the GDA in late November 2016, Harrison was one of the Defendants that submitted false and

artificially inflated price quotes to the GDA. Its owner and CEO served on the Georgia Dock

Advisory Board.

               16.      Mar-Jac Poultry Defendants

       80.     Defendant Mar-Jac Poultry, Inc. is a Delaware corporation headquartered in

Gainesville, Georgia.


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       81.     Defendant Mar-Jac Poultry AL, LLC is an Alabama limited liability corporation

located in Gainesville, Georgia. Defendant Mar-Jac AL/MS, Inc. is a Delaware corporation

located in Gainesville, Georgia. Defendant Mar-Jac Poultry MS LLC is a Mississippi limited

liability company located in Hattiesburg, Mississippi. Defendant Mar-Jac Poultry, LLC is a

Delaware corporation located in Gainesville, Georgia. Defendant Mar-Jac Holdings, LLC is a

Delaware corporation located in Gainesville, Georgia and is the parent company of Mar-Jac

Poultry, Inc., Mar-Jac Poultry MS LLC, Mar-Jac AL, LLC, Mar-Jac AL/MS, Inc., and Mar-Jac

Poultry, LLC. Defendants Mar-Jac Poultry, Inc., Mar-Jac Poultry MS, LLC, Mar-Jac Poultry

AL, LLC, Mar-Jac AL/MS, Inc., Mar-Jac Poultry, LLC and Mar-Jac Holdings, LLC are

collectively referred to as “Mar-Jac Poultry” or “Mar-Jac.” Throughout the Relevant Time

Period, Mar-Jac Poultry participated in the conspiracy alleged herein.

       82.     Defendant Mar-Jac Poultry reports a wide variety of data to Agri Stats, including

information about its breeder flocks and hatchery capacity, and data for its Gainesville, Georgia

complex. Until the Georgia Dock benchmark price index stopped being published by the GDA

in late November 2016, Mar-Jac Poultry was one of the Defendants that submitted false and

artificially inflated price quotes to the GDA. Mar-Jac Poultry, Inc.’s vice president of operations

served on the Georgia Dock Advisory Board.

               17.     Defendant Amick Farms

       83.     Amick Farms, LLC is a privately held Delaware limited liability company with its

corporate headquarters in Batesburg-Leesville, South Carolina, and with facilities in South

Carolina, Maryland, and Delaware. Amick Farms, LLC is a wholly-owned subsidiary of OSI

Group, LLC, a privately held Delaware corporation with its corporation headquarters in Aurora,

Illinois. During the relevant time period, Amick Farms, LLC and/or its predecessors, wholly-




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owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

       84.     Defendant Amick Farms, LLC is referred to as “Amick.”

               18.      Defendant Case Farms

       85.     Case Foods, Inc. is a privately held Delaware corporation with its corporate

headquarters in Troutman, North Carolina. During the relevant time period, Case Foods, Inc.

and/or its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers

in the United States.

       86.     Case Farms, LLC is a privately held Delaware limited liability company with its

corporate headquarters in Troutman, North Carolina, and with facilities and operations in Ohio

and North Carolina. Case Farms, LLC is a wholly-owned subsidiary of Case Foods, Inc. During

the relevant time period, Case Farms, LLC and/or its predecessors, wholly-owned or controlled

subsidiaries, or affiliates sold Broilers in interstate commerce, directly or through its wholly-

owned or controlled affiliates, to purchasers in the United States.

       87.     Case Farms Processing, Inc. is a privately held North Carolina corporation with

its corporate headquarters in Troutman, North Carolina, and with facilities and operations in

North Carolina. Case Farms Processing, Inc. is a wholly-owned subsidiary of Case Foods, Inc.

During the relevant time period, Case Farms Processing, Inc. and/or its predecessors, wholly-

owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States.

       88.     Defendants Case Foods, Inc., Case Farms, LLC, and Case Farms Processing, Inc.

are collectively referred to as “Case Foods.”




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               19.     Defendant Agri Stats, Inc.

       89.     Defendant Agri Stats, Inc. (“Agri Stats”) is an Indiana corporation headquartered

in Fort Wayne, Indiana, and is a subsidiary of Eli Lilly & Co., a publicly-held Indiana

corporation headquartered in Indianapolis. Agri Stats has knowingly played an important and

active role as a facilitator of Defendants’ collusive scheme detailed in this Complaint. Agri

Stats’ wrongful actions described in this Complaint are part of, and in furtherance of, the

unlawful conduct alleged here, and were authorized, ordered, or engaged in by Agri Stats’

various officers, agents, employers or other representatives while actively engaged in the

management and operation of Agri Stats’ business affairs within the course and scope of their

duties and employment, or with Agri Stats’ actual apparent or ostensible authority. Agri Stats

used the instrumentalities of interstate commerce to facilitate the conspiracy, and its conduct was

within the flow of, was intended to, and did have, a substantial effect on the interstate commerce

of the United States, including in the State of Kansas.

       90.     “Defendant” or “Defendants” as used herein, includes, in addition to those named

specifically above, all of the named Defendants’ predecessors, including Broilers companies that

merged with or were acquired by the named Defendants and each named Defendant’s wholly-

owned or controlled subsidiaries or affiliates that sold Broilers in interstate commerce, directly or

through its wholly-owned or controlled affiliates, to purchasers in the United States during the

Relevant Time Period.

       91.     To the extent that subsidiaries and divisions within each Defendant’s corporate

family sold or distributed Broilers to direct purchasers, these subsidiaries played a material role

in the conspiracy alleged in this Complaint because Defendants wished to ensure that the prices

paid for such Broilers would not undercut the artificially raised and inflated pricing that was the

aim and intended result of Defendants’ coordinated and collusive behavior as alleged herein.


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Thus, all such entities within the corporate family were active, knowing participants in the

conspiracy alleged herein, and their conduct in selling, pricing, distributing and collecting

monies from Plaintiff was known to and approved by their respective corporate parent named as

a Defendant in this Complaint.

                          III.   AGENTS AND CO-CONSPIRATORS

          92.    Various other persons, firms and corporations not named as defendants have

participated as co-conspirators with Defendants and have performed acts and made statements in

furtherance of the conspiracy. Defendants are jointly and severally liable for the acts of their co-

conspirators whether or not named as defendants in this Complaint.

          93.    Whenever reference is made to any act of any corporation, the allegation means

that the corporation engaged in the act by or through its officers, directors, agents, employees or

representatives while they were actively engaged in the management, direction, control or

transaction of the corporation’s business or affairs.

          94.    Each of the Defendants named herein acted as the agent or joint-venturer of or for

the other Defendants with respect to the acts, violations and common course of conduct alleged

herein.

          95.    Defendants are also liable for acts done in furtherance of the alleged conspiracy

by companies they acquired through mergers and acquisitions.

                 1.     Producer Co-Conspirator Allen Harim

          96.    Harim USA, Ltd. is a privately held Delaware corporation with its corporate

headquarters in Seaford, Delaware. During the relevant time period, Harim USA Ltd. And/or its

predecessors, wholly-owned or controlled subsidiaries, or affiliates, sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the

United States.


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       97.       Allen Harim Foods, LLC is a privately held Delaware limited liability company

with its corporate headquarters in Seaford, Delaware, and with facilities and operations in

Delaware, Maryland, and North Carolina.          Allen Harim Foods, LLC is a wholly-owned

subsidiary of Harim USA Ltd. During the relevant time period, Allen Harim Foods, LLC and/or

its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the

United States.

       98.       Allen Harim Farms, LLC is a privately held Delaware limited liability company

with its corporate headquarters in Seaford, Delaware, and with facilities and operations in

Delaware, Maryland, and North Carolina.          Allen Harim Farms, LLC is a wholly-owned

subsidiary of Harim USA Ltd. During the relevant time period, Allen Harim Farms, LLC and/or

its predecessors, wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate

commerce, directly or through its wholly-owned or controlled affiliates, to purchasers in the

United States.

       99.       Producer Co-Conspirators Harim USA, Ltd., Allen Harim Foods, LLC, and Allen

Harim Farms, LLC are collectively referred to as “Allen Harim.”

                 2.     Producer Co-Conspirator Keystone Foods

       100.      Keystone Foods, LLC is a subsidiary of Marfrig Alimentos, S.A., a Brazilian

company. During the relevant time period, Keystone Foods, LLC and/or its predecessors,

wholly-owned or controlled subsidiaries, or affiliates sold Broilers in interstate commerce,

directly or through its wholly-owned or controlled affiliates, to purchasers in the United States.

       101.      Keystone Foods Corporation was (now consolidated) a subsidiary of Keystone

Foods, LLC and Marfrig Alimentos, S.A., a Brazilian company. During the relevant time period,

Keystone Foods Corporation and/or its predecessors, wholly-owned or controlled subsidiaries, or


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affiliates sold Broilers in interstate commerce, directly or through its wholly-owned or controlled

affiliates, to purchasers in the United States.

       102.    Equity Group Eufaula Division, LLC is a Delaware limited liability company with

its headquarters in Bakerhill, Alabama and is a wholly-owned subsidiary of Keystone Foods,

LLC. During the relevant time period, Equity Group Eufaula Division, LLC sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers

in the United States.

       103.    Equity Group Kentucky Division, LLC, formerly known as Cagle’s-Keystone

Foods, LLC, is a Delaware limited liability company with its headquarters in Franklin, Kentucky

and is a wholly-owned subsidiary of Grow-Out Holdings, LLC. During the relevant time period,

Equity Group Kentucky Division, LLC sold Broilers in interstate commerce, directly or through

its wholly-owned or controlled affiliates, to purchasers in the United States.

       104.    Equity Group – Georgia Division, LLC is a Delaware limited liability company

with its headquarters in Camilla, Georgia and is a wholly-owned subsidiary of Keystone Foods,

LLC. During the relevant time period, Equity Group – Georgia Division, LLC sold Broilers in

interstate commerce, directly or through its wholly-owned or controlled affiliates, to purchasers

in the United States.

       105.    Producer Co-Conspirators Keystone Foods, LLC, Keystone Foods Corporation,

Equity Group Eufaula Division, LLC, Equity Group Kentucky Division, LLC, and Equity Group

– Georgia Division LLC are collectively referred to as “Keystone Foods.”

       106.    Among the Defendant families included in this Complaint, various subsidiaries

and related entities actively participated in the conspiracy alleged here and therefore are co-

conspirators, including but not limited to the following:




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            3.     Koch Foods

                   a.    JCG Industries, Inc. is an Illinois corporation with its headquarters
                         in Chicago, Illinois, and is a wholly-owned subsidiary of Koch
                         Foods, Inc. During the relevant time period, JCG Industries, Inc.
                         sold Broilers in interstate commerce, directly or through its
                         wholly-owned or controlled affiliates, to purchasers in the United
                         States.

                   b.    JCG Properties, LLC is an Illinois limited liability company with
                         its headquarters in Chicago, Illinois, and is a wholly-owned
                         subsidiary of Koch Foods, Inc. During the relevant time period,
                         JCG Properties, LLC sold Broilers in interstate commerce, directly
                         or through its wholly-owned or controlled affiliates, to purchasers
                         in the United States.

                   c.    JCG Land Holdings, LLC is an Illinois limited liability company
                         with its headquarters in Chicago, Illinois, and is a wholly-owned
                         subsidiary of Koch Foods, Inc. During the relevant time period,
                         JCG Land Holdings, LLC sold Broilers in interstate commerce,
                         directly or through its wholly-owned or controlled affiliates, to
                         purchasers in the United States.

                   d.    JCG Foods, LLC is a Delaware limited liability company with its
                         headquarters in Park Ridge, Illinois, and is a wholly-owned
                         subsidiary of Koch Foods, Inc. During the relevant time period,
                         JCG Foods, LLC sold Broilers in interstate commerce, directly or
                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.

                   e.    Koch Foods of Cumming, LLC, formerly known as Greko, LLC, is
                         a Georgia limited liability company with its headquarters in
                         Cumming, Georgia, and is a wholly-owned subsidiary of Koch
                         Foods, Inc. During the relevant time period, Koch Foods of
                         Cumming, LLC sold Broilers in interstate commerce, directly or
                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.

                   f.    Koch Foods of Gainesville, LLC, formerly known as Gress Foods,
                         LLC, is a Georgia limited liability company with its headquarters
                         in Gainesville, Georgia, and is a wholly-owned subsidiary of Koch
                         Foods, Inc. During the relevant time period, Koch Foods of
                         Gainesville, LLC sold Broilers in interstate commerce, directly or
                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.




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                   g.    JCG Farms of Georgia, LLC is a Georgia limited liability company
                         with its headquarters in Park Ridge, Illinois, and is a wholly-owned
                         subsidiary of Koch Foods, Inc. During the relevant time period,
                         JCG Farms of Georgia, LLC sold Broilers in interstate commerce,
                         directly or through its wholly-owned or controlled affiliates, to
                         purchasers in the United States.

                   h.    Koch Foods of Mississippi, LLC is a Mississippi limited liability
                         company with its headquarters in Morton, Mississippi, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the relevant
                         time period, Koch Foods of Mississippi, LLC sold Broilers in
                         interstate commerce, directly or through its wholly-owned or
                         controlled affiliates, to purchasers in the United States.

                   i.    Koch Farms of Mississippi, LLC is a Mississippi limited liability
                         company with its headquarters in Morton, Mississippi, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the relevant
                         time period, Koch Farms of Mississippi, LLC sold Broilers in
                         interstate commerce, directly or through its wholly-owned or
                         controlled affiliates, to purchasers in the United States.

                   j.    Koch Freezers, LLC is a Mississippi limited liability company with
                         its headquarters in Morton, Mississippi, and is a wholly-owned
                         subsidiary of Koch Foods, Inc. During the relevant time period,
                         Koch Freezers, LLC sold Broilers in interstate commerce, directly
                         or through its wholly-owned or controlled affiliates, to purchasers
                         in the United States.

                   k.    Koch Properties of Mississippi, LLC is a Mississippi limited
                         liability company with its headquarters in Morton, Mississippi, and
                         is a wholly-owned subsidiary of Koch Foods, Inc. During the
                         relevant time period, Koch Properties of Mississippi, LLC sold
                         Broilers in interstate commerce, directly or through its wholly-
                         owned or controlled affiliates, to purchasers in the United States.

                   l.    Koch Foods of Alabama, LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the relevant
                         time period, Koch Foods of Alabama, LLC sold Broilers in
                         interstate commerce, directly or through its wholly-owned or
                         controlled affiliates, to purchasers in the United States.

                   m.    Koch Farms of Mississippi, LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama,
                         Mississippi, and is a wholly-owned subsidiary of Koch Foods, Inc.
                         During the relevant time period, Koch Farms of Alabama, LLC
                         sold Broilers in interstate commerce, directly or through its


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                         wholly-owned or controlled affiliates, to purchasers in the United
                         States.

                   n.    JCG Farms of Alabama, LLC is an Alabama limited liability
                         company with its headquarters in Park Ridge, Illinois, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the relevant
                         time period, JCG Farms of Alabama, LLC sold Broilers in
                         interstate commerce, directly or through its wholly-owned or
                         controlled affiliates, to purchasers in the United States.

                   o.    Koch Foods of Ashland, LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama,
                         Mississippi, and is a wholly-owned subsidiary of Koch Foods, Inc.
                         During the relevant time period, Koch Foods of Ashland, LLC sold
                         Broilers in interstate commerce, directly or through its wholly-
                         owned or controlled affiliates, to purchasers in the United States.

                   p.    Koch Farms of Ashland, LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama,
                         Mississippi, and is a wholly-owned subsidiary of Koch Foods, Inc.
                         During the relevant time period, Koch Farms of Ashland, LLC sold
                         Broilers in interstate commerce, directly or through its wholly-
                         owned or controlled affiliates, to purchasers in the United States.

                   q.    Koch Farms of Gadsden, LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the relevant
                         time period, Koch Farms of Gadsden, LLC sold Broilers in
                         interstate commerce, directly or through its wholly-owned or
                         controlled affiliates, to purchasers in the United States.

                   r.    Koch Foods of Gadsden, LLC is an Alabama limited liability
                         company with its headquarters in Montgomery, Alabama, and is a
                         wholly-owned subsidiary of Koch Foods, Inc. During the relevant
                         time period, Koch Foods of Gadsden, LLC sold Broilers in
                         interstate commerce, directly or through its wholly-owned or
                         controlled affiliates, to purchasers in the United States.

                   s.    Koch Foods of Cincinnati, LLC f/k/a Preferred Foods, LLC is an
                         Ohio limited liability company with its headquarters in Fairfield,
                         Ohio, and is a wholly-owned subsidiary of Koch Foods, Inc.
                         During the relevant time period, Koch Foods of Cincinnati, LLC
                         sold Broilers in interstate commerce, directly or through its
                         wholly-owned or controlled affiliates, to purchasers in the United
                         States.




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                   t.      Koch Foods, LLC is a Tennessee limited liability company with its
                           headquarters in Chattanooga, Tennessee, and is a wholly-owned
                           subsidiary of Koch Foods, Inc. During the relevant time period,
                           Koch Foods, LLC sold Broilers in interstate commerce, directly or
                           through its wholly-owned or controlled affiliates, to purchasers in
                           the United States.

                   u.      Koch Farms, LLC is a Tennessee limited liability company with its
                           headquarters in Chattanooga, Tennessee, and is a wholly-owned
                           subsidiary of Koch Foods, Inc. During the relevant time period,
                           Koch Farms, LLC sold Broilers in interstate commerce, directly or
                           through its wholly-owned or controlled affiliates, to purchasers in
                           the United States.

                   v.      Koch Farms of Chattanooga, LLC is a Tennessee limited liability
                           company with its headquarters in Chattanooga, Tennessee, and is a
                           wholly-owned subsidiary of Koch Foods, Inc. During the relevant
                           time period, Koch Farms of Chattanooga, LLC sold Broilers in
                           interstate commerce, directly or through its wholly-owned or
                           controlled affiliates, to purchasers in the United States.

                   w.      Koch Foods of Chattanooga, LLC is a Tennessee limited liability
                           company with its headquarters in Chattanooga, Tennessee, and is a
                           wholly-owned subsidiary of Koch Foods, Inc. During the relevant
                           time period, Koch Foods of Chattanooga, LLC sold Broilers in
                           interstate commerce, directly or through its wholly-owned or
                           controlled affiliates, to purchasers in the United States.

                   x.      Koch Foods of Morristown, LLC is a Tennessee limited liability
                           company with its headquarters in Chattanooga, Tennessee, and is a
                           wholly-owned subsidiary of Koch Foods, Inc. During the relevant
                           time period, Koch Foods of Morristown, LLC sold Broilers in
                           interstate commerce, directly or through its wholly-owned or
                           controlled affiliates, to purchasers in the United States.

                   y.      Koch Farms of Morristown, LLC is a Tennessee limited liability
                           company with its headquarters in Chattanooga, Tennessee, and is a
                           wholly-owned subsidiary of Koch Foods, Inc. During the relevant
                           time period, Koch Farms of Morristown, LLC sold Broilers in
                           interstate commerce, directly or through its wholly-owned or
                           controlled affiliates, to purchasers in the United States.

            4.     Tyson

                   a.      Tyson Sales and Distribution, Inc. is a Delaware corporation with
                           its headquarters in Springdale, Arkansas, and is a wholly-owned
                           subsidiary of Tyson Foods, Inc. During the relevant time period,



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                            Tyson Sales and Distribution, Inc. sold Broilers in interstate
                            commerce, directly or through its wholly-owned or controlled
                            affiliates, to purchasers in the United States.

            5.     Perdue

                   a.       Perdue Foods, Inc. (presently dissolved) was a Maryland
                            corporation with its headquarters in Salisbury, Maryland and is a
                            wholly-owned subsidiary of Perdue Farms, Inc. During the
                            relevant time period, Perdue Foods, Inc. sold Broilers in interstate
                            commerce, directly or through its wholly-owned or controlled
                            affiliates, to purchasers in the United States.

                   b.       Harvestland Holdings, LLC (presently merged) was a Maryland
                            limited liability company with its headquarters in Salisbury,
                            Maryland and is a wholly-owned subsidiary of Perdue Farms, Inc.
                            During the relevant time period, Harvestland Holdings, LLC sold
                            Broilers in interstate commerce, directly or through its wholly-
                            owned or controlled affiliates, to purchasers in the United States.

                   c.       Perdue Food Products, Inc. (presently merged) was a Maryland
                            limited liability company with its headquarters in Salisbury,
                            Maryland and is a wholly-owned subsidiary of Perdue Farms, Inc.
                            During the relevant time period, Perdue Food Products, Inc. sold
                            Broilers in interstate commerce, directly or through its wholly-
                            owned or controlled affiliates, to purchasers in the United States.

                   d.       Perdue Farms, LLC is a Maryland limited liability company with
                            its headquarters in Salisbury, Maryland and is a wholly-owned
                            subsidiary of Perdue Farms, Inc. During the relevant time period,
                            Perdue Farms, LLC sold Broilers in interstate commerce, directly
                            or through its wholly-owned or controlled affiliates, to purchasers
                            in the United States.

                   e.       Perdue Farms Incorporated (presently merged) was a Maryland
                            limited liability company with its headquarters in Salisbury,
                            Maryland and is a wholly-owned subsidiary of Perdue Farms, Inc.
                            During the relevant time period, Perdue Farms Incorporated sold
                            Broilers in interstate commerce, directly or through its wholly-
                            owned or controlled affiliates, to purchasers in the United States.

            6.     Wayne Farms

                   a.       WFSP Foods, LLC is an Alabama limited liability company with
                            its headquarters in Decatur, Alabama, and is a wholly-owned
                            subsidiary of Wayne Farms, LLC. During the relevant time
                            period, WFSP Foods, LLC sold Broilers in interstate commerce,



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                          directly or through its wholly-owned or controlled affiliates, to
                          purchasers in the United States.

            7.     George’s

                   a.     George’s Chicken, LLC is an Arkansas limited liability company
                          with its headquarters in Springdale, Arkansas, and is a wholly-
                          owned subsidiary of George’s, Inc. During the relevant time
                          period, George’s Chicken, LLC sold Broilers in interstate
                          commerce, directly or through its wholly-owned or controlled
                          affiliates, to purchasers in the United States.

                   b.     George’s Family Farms, LLC is an Arkansas limited liability
                          company with its headquarters in Springdale, Arkansas, and is a
                          wholly-owned subsidiary of George’s, Inc. During the relevant
                          time period, George’s Family Farms, LLC sold Broilers in
                          interstate commerce, directly or through its wholly-owned or
                          controlled affiliates, to purchasers in the United States.

                   c.     George’s Foods, LLC is an Arkansas limited liability company
                          with its headquarters in Springdale, Arkansas, and is a wholly-
                          owned subsidiary of George’s, Inc. During the relevant time
                          period, George’s Foods, LLC sold Broilers in interstate commerce,
                          directly or through its wholly-owned or controlled affiliates, to
                          purchasers in the United States.

                   d.     George’s of Missouri, Inc. is an Arkansas corporation with its
                          headquarters in Springdale, Arkansas, and is a wholly-owned
                          subsidiary of George’s, Inc. During the relevant time period,
                          George’s of Missouri, Inc. sold Broilers in interstate commerce,
                          directly or through its wholly-owned or controlled affiliates, to
                          purchasers in the United States.

                   e.     George’s Processing, Inc. is an Arkansas corporation with its
                          headquarters in Springdale, Arkansas, and is a wholly-owned
                          subsidiary of George’s, Inc. During the relevant time period,
                          George’s Processing, Inc. sold Broilers in interstate commerce,
                          directly or through its wholly-owned or controlled affiliates, to
                          purchasers in the United States.

            8.     Peco

                   a.     Peco Farms of Mississippi, LLC is a Mississippi limited liability
                          company with its headquarters in Jackson, Mississippi and is a
                          wholly-owned subsidiary of Peco Foods, Inc. During the relevant
                          time period, Peco Farms of Mississippi, LLC sold Broilers in
                          interstate commerce, directly or through its wholly-owned or
                          controlled affiliates, to purchasers in the United States.


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            9.     Pilgrim’s

                   a.     PFS Distribution Company is a Delaware company with its
                          headquarters in Arlington, Texas and is a wholly-owned subsidiary
                          of Pilgrim’s Pride Corporation. During the relevant time period,
                          PFS Distribution Company sold Broilers in interstate commerce,
                          directly or through its wholly-owned or controlled affiliates, to
                          purchasers in the United States.

                   b.     Merit Provisions, LLC is a Delaware limited liability company
                          with its headquarters in Dallas, Texas and is a wholly-owned
                          subsidiary of Pilgrim’s Pride Corporation. During the relevant
                          time period, Merit Provisions, LLC sold Broilers in interstate
                          commerce, directly or through its wholly-owned or controlled
                          affiliates, to purchasers in the United States.

                   c.     GC Properties, LLC is a Georgia limited liability company with its
                          headquarters in Powder Springs, Georgia and is a wholly-owned
                          subsidiary of Pilgrim’s Pride Corporation. During the relevant
                          time period, GC Properties, LLC sold Broilers in interstate
                          commerce, directly or through its wholly-owned or controlled
                          affiliates, to purchasers in the United States.

                   d.     Pilgrim’s Pride of Nevada, Inc. is a Nevada corporation with its
                          headquarters in Greeley, Colorado and is a wholly-owned
                          subsidiary of Pilgrim’s Pride Corporation. During the relevant
                          time period, Pilgrim’s Pride of Nevada, Inc. sold Broilers in
                          interstate commerce, directly or through its wholly-owned or
                          controlled affiliates, to purchasers in the United States.

                   e.     PPC Marketing, Ltd. Is a Texas company with its headquarters in
                          Pittsburg, Texas and is a wholly-owned subsidiary of Pilgrim’s
                          Pride Corporation.    During the relevant time period, PPC
                          Marketing, Ltd. sold Broilers in interstate commerce, directly or
                          through its wholly-owned or controlled affiliates, to purchasers in
                          the United States.

                   f.     Pilgrim’s Pride Corporation of West Virginia, Inc. is a West
                          Virginia corporation with its headquarters in Greeley, Colorado
                          and is a wholly-owned subsidiary of Pilgrim’s Pride Corporation.
                          During the relevant time period, Pilgrim’s Pride Corporation of
                          West Virginia, Inc. sold Broilers in interstate commerce, directly
                          or through its wholly-owned or controlled affiliates, to purchasers
                          in the United States.




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            10.    Foster Farms

                   a.    Foster International Trading Company, Inc. is a corporation
                         affiliated with Foster Farms, LLC and/or Foster Poultry Farms.
                         During the relevant time period, Foster International Trading
                         Company, Inc. sold Broilers in interstate commerce, directly or
                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.

                   b.    Napoleon Poultry Supply, LLC, LLC is a Delaware limited
                         liability company with its headquarters in Livingston, California
                         and is a wholly-owned subsidiary of Foster Farms, LLC. During
                         the relevant time period, Napoleon Poultry Supply, LLC sold
                         Broilers in interstate commerce, directly or through its wholly-
                         owned or controlled affiliates, to purchasers in the United States.

            11.    OK Foods

                   a.    O.K. Broiler Farms Limited Partnership was (presently dissolved)
                         an Arkansas limited partnership with its headquarters in Fort
                         Smith, Arkansas and is a wholly-owned subsidiary of O.K. Foods,
                         Inc. During the relevant time period, O.K. Broiler Farms Limited
                         Partnership sold Broilers in interstate commerce, directly or
                         through its wholly-owned or controlled affiliates, to purchasers in
                         the United States.

            12.    House of Raeford

                   a.    House of Raeford Farms of Louisiana, LLC is a Louisiana limited
                         company with its headquarters in Shreveport, Louisiana and is a
                         wholly-owned subsidiary of House of Raeford Farms, Inc. During
                         the relevant time period, House of Raeford Farms of Louisiana,
                         LLC sold Broilers in interstate commerce, directly or through its
                         wholly-owned or controlled affiliates, to purchasers in the United
                         States.

                   b.    Johnson Breeders, Inc. is a North Carolina corporation with its
                         headquarters in Rose Hill, North Carolina and is a wholly-owned
                         subsidiary of House of Raeford Farms, Inc. During the relevant
                         time period, Johnson Breeders, Inc. sold Broilers in interstate
                         commerce, directly or through its wholly-owned or controlled
                         affiliates, to purchasers in the United States.

                   c.    Columbia Farms of Georgia, Inc. is a South Carolina corporation
                         with its headquarters in Lavonia, Georgia and is a wholly-owned
                         subsidiary of House of Raeford Farms, Inc. During the relevant
                         time period, Columbia Farms of Georgia, Inc. sold Broilers in



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                               interstate commerce, directly or through its wholly-owned or
                               controlled affiliates, to purchasers in the United States.

                        d.     Raeford Farms of Louisiana, LLC is a Louisiana limited liability
                               company with its headquarters in Arcadia, Louisiana and is a
                               wholly-owned subsidiary of House of Raeford Farms, Inc. During
                               the relevant time period, Raeford Farms of Louisiana, LLC sold
                               Broilers in interstate commerce, directly or through its wholly-
                               owned or controlled affiliates, to purchasers in the United States.

                        e.     Columbia Farms, Inc. is a South Carolina corporation with its
                               headquarters in Columbia, South Carolina and is a wholly-owned
                               subsidiary of House of Raeford Farms, Inc. During the relevant
                               time period, Columbia Farms, Inc. sold Broilers in interstate
                               commerce, directly or through its wholly-owned or controlled
                               affiliates, to purchasers in the United States.

        107.     When appropriate in the context, Keystone Foods, Allen Harim, and the

subsidiaries and affiliates identified immediately above for certain Defendant families, are

referred to collectively in this Complaint as the “Producer Co-Conspirators.”

                              IV.     TRADE AND COMMERCE

        108.     During the Relevant Time Period, each Defendant, directly or through its

subsidiaries or other affiliates, sold Broilers in the United States in a continuous and

uninterrupted flow of interstate commerce and foreign commerce, including through and into this

judicial district.

        109.     During the Relevant Time Period, Defendants collectively controlled a majority

of the market for Broilers in the United States.

        110.     Defendants’ business activities substantially affected interstate trade and

commerce in the United States and caused antitrust injury in the United States.




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                              V.      FACTUAL ALLEGATIONS

A.     Background on Broilers.

               1.      Broilers Are A Commodity.

       111.    Broilers are a commodity. As Pilgrim’s CEO stated in February 2014,“. . . the

[Broiler] chicken business per se is a commodity business.”

       112.    Focus Management Group stated in a 2012 report that Broilers “are a commodity

product with little or no product differentiation based on the processors.”

       113.    The commodity nature of chicken is demonstrated by the fact that Defendants

purchased chicken from each other under their co-production and “buy-grow” agreements.

       114.    The commodity nature, and lack of differentiation, of Broilers, means that

competition in the Broiler market is primarily based on price.

       115.    The commodity nature of Broilers creates and incentive to organize and operate a

price-fixing conspiracy.

               2.      The United States Broiler Market Is A National Market Worth Tens Of
                       Billions Of Dollars Annually.

       116.    The United States chicken market is a national market, valued at nearly $41

billion in 2016. According to the U.S. Poultry & Egg Association, the value of wholesale U.S.

Broilers produced in 2014 was $32.7 billion, up 6 percent from 2013. The market value varied

between $21.8 and $30.7 billion from 2008-2013.

       117.    From 2008 the present, “the Relevant Time Period,” Defendants collectively

controlled nearly 90% of the market for chicken in the United States. The Broiler industry is

highly vertically integrated, with producers (sometimes known as “integrators”) owning, or

tightly controlling, each of the six stages of the supply chain: breeding, hatching, chick-rearing

and feeding, slaughtering mature birds, processing, and selling. At the very top of the supply



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chain are Defendants’ “breeder flocks,” which include the hens that lay the eggs that, when

hatched, become chickens slaughtered for meat consumption.

          118.   There is a single national market for Broilers in the United States. Prices for

Broilers sold in the United States are quoted in whole bird or disassembled parts, with

adjustments for transportation, product form (i.e., degree of processing or added value), and

packaging at the time of sale.

          119.   About 50-70% of Broilers are sold under contract with a customer, about 10-20%

are sold on the spot market, and roughly 17-20% are exported.

          120.   According to expert testimony in July 2011 in Adams v. Pilgrim’s Pride,2 spot

market Broilers are “anything left over [that is] sold fresh” within three days, before it spoils.

          121.   According to Janette Barnard, founder of a spot market trading platform called

The Poultry Exchange, “there are no secrets in the spot market, very few anyway. As soon as a

sales manager picks up the phone and calls a customer or trader, the word is out and other people

will soon know that X company has one load available.”

          122.   Exports of Broilers from the United States account for approximately 45% of all

United States meat exports. Broilers produced in the U.S. are exported to well over 100 different

countries, with the major export markets including Mexico, Canada, Hong Kong, and China.

Exports also increasingly include white meats and other products widely consumed in the United

States.

          123.   Exports of Broilers from the United States have increased since 2007 both in

quantity and value. Before the Relevant Time Period, in 2006 exports constituted only 14.8% of




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U.S. exports and increased to 16.5% by 2007. But between 2008-2014 export levels were never

lower than 18.5% of U.S. production levels, dropping down to 16% in 2015.

       124.    While this Complaint does not seek damages for Broilers sold into export

commerce, Broilers exported from the United States decrease available supply and increase

Broiler prices in the United States.     Therefore, exports by Defendants were an important

mechanism used by Defendants to affect their United States-based Broiler market conspiracy.

               3.     Broiler Prices Have Risen Steadily Since 2008.

       125.    Broiler prices rose significantly during the Relevant Time Period due to

Defendants’ conduct, even when the price of the primary input (chicken feed) was declining.

Even during much of the Great Recession, Broiler prices steadily rose despite flat or declining

input costs. Similarly, Broiler prices during the 2015 through 2016 time period remained

artificially inflated and failed to account for the historic drop in corn and soybean prices, which

constitute 50 - 70% of Broiler input costs




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       126.    In 2013, a Bloomberg News compilation of industry analyst forecasts predicted

Broiler prices would drop 7.1% in 2014 due to a 50% fall in corn prices, but instead, Broiler

prices increased 9.2%. Since January 1, 2008, by one measure Broiler prices have been at or

near all-time highs roughly half of the time, even though the 2008-2009 period was during the

Great Recession.

               4.     Overview of the Georgia Dock, USDA Composite, Urner Barry, and
                      EMI Broiler price indices.

       127.    Broiler prices are reported primarily by three entities: Urner Barry (a commodity

price reporting service), the Georgia Department of Agriculture (aka “Georgia Dock”), and the

United States Department of Agriculture (“USDA”). Additionally, as discussed below, Agri

Stats collects detailed pricing information through its subsidiary Express Markets, Inc. (“EMI”).

       128.    Urner Barry collects and publishes daily price information for Broilers, while for

the USDA’s Composite index, USDA collects and publishes Broiler price information on a

weekly basis. USDA’s Composite price index is publicly available for free. Urner Barry’s

Broiler price information is subscription-based, so all Broiler producers and many Broiler

purchasers subscribe for a fee. The USDA and Urner Barry’s Broiler price indices are based

upon a system of double verification, which includes telephonic and written surveys of all or

nearly all Broiler producers, but also verification of reported prices from Broiler purchasers such

as brokers and customers.     The Georgia Dock price survey methodology, which contrasts

materially with those of the USDA and Urner Barry.

       129.    The most detailed price report is not publicly available and is produced by Agri

Stats and its subsidiary, Express Markets, Inc. According to a May 2010 FarmEcon study,




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EMI’s pricing report3 includes “pricing data on whole birds and chicken parts that is

considerably more detailed than the USDA,” Urner Barry, or Georgia Dock reports, as it is based

on actual sales invoices from Broiler companies.

        130.   Published prices for Broilers from Urner Barry, Georgia Dock, and USDA relate

to the spot market for Broilers. However, prices for Broilers, whether sold under contract or on

the spot market, generally move with spot market prices like those reported by the Georgia

Dock.

        131.   Statements by industry experts confirm that Broiler sales, whether by contract or

on the spot market, are tied to spot market pricing. Expert economist Dr. Colin A. Carter from

the University of California (Davis) testified that “internal Pilgrim’s documents show that

virtually all chicken products, even if they’re not sold spot, are tied to the spot prices. . . . 83

percent of Pilgrim’s chicken sales are reflecting the spot price within a given year. So there’s

only about 16 percent of their sales that are not tied to the spot market over a relatively short

period of time.” Further, because half of “fixed contracts” actually had terms tied to Broiler spot

market prices, Dr. Carter concluded that 92% of Pilgrim’s Broiler sales were tied to Broiler spot

market prices such as the Georgia Dock.

        132.   Some of AWG’s contracts with Defendants for the purchase of Broilers

specifically tie the price paid by AWG to the Georgia Dock index.




3
  Agri Stats subsidiary EMI was formed around 2000 to compete with the price reporting service
of Urner Barry. Unlike Agri Stats reports for Defendants, EMI releases daily pricing data to both
Defendants and potential purchasers of Broilers, though the reporting service costs thousands of
dollars and is not publicly available. EMI reports capture all transactions by Broiler producers,
who automatically transmit invoice information electronically from each transaction to EMI. The
reports include all sales volume information from the previous day, including the size of
containers, type of cut, whether the product was chilled with ice or CO2, the price, and numerous
other pieces of information.


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       133.    As a consequence of the inelasticity of supply and demand in the Broiler industry

and the availability of the spot market price indices, public price increase announcements by

Defendants were unnecessary. Defendants knew and intended that a decrease in supply pursuant

to their agreement would increase Broiler spot market prices, and therefore that all Broiler prices

would increase.

B.     Defendants Coordinated Production Cuts To Stabilize And Then Increase The Price
       Of Broilers From 2008-2012, Then Continued Depressing Broiler Supply To
       Maintain Artificially High Prices.

       134.    Defendants engaged in a conspiracy to fix, raise, stabilize, and maintain the price

of Broilers throughout the Relevant Time Period. Defendants’ acts, practices, and course of

conduct in furtherance of their conspiracy evolved over time and included but were not limited to

the following: engaging in continuous communications on confidential and proprietary business

matters to eliminate price competition; allocating market shares; restricting supply of Broilers;

using input costs and other events as a pretext for industry-wide production cuts; manipulating

one or more publicly reported Broiler price indices; and concocting mechanisms to nullify

competitive sales processes to their customers. Examples of Defendants’ conduct are described

in detail below.

       135.    In 2008, Pilgrim’s retained consultant Bain & Company to analyze its business

operations. Bain outlined a strategy for Pilgrim’s to help reshape the dynamic of the Broiler

industry. The Bain plan suggested that Pilgrim’s management needed to take action to reduce

supply in the Broiler industry, similar to other industries which in the then-recent past had been

able to restrict production and increase prices.

       136.    To conceal their conspiracy of coordinated production cuts, Defendants used the

term “capacity discipline” or simply “discipline” to refer to their agreement. The key to

“production discipline” and “capacity discipline” is widespread participation by the industry.


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       137.   ”Capacity discipline” is only effective if a conspirator knows that its competitors

will also cut their production.    As set forth in detail below, the extraordinary level of

information-sharing among Broiler chicken producers, particularly through Agri Stats, enable

each conspirator to make sure the others were “playing along.”

       138.   Broiler producers have several mechanisms to reduce the supply of Broilers.

Given Broiler producers’ vertical integration and control of breeder farms, hatcheries, growout

farms, and slaughter houses, they have several methods to manipulate supply, including the

following:

              A.      Reduce the size of Broiler breeder flocks through two measures: (1) retire
                      and kill off Broiler breeders at an earlier age than would normally be the
                      optimum age for doing so and/or (2) reducing purchases of Breeder pullets
                      from genetics companies that supply them. Such reductions in Broiler
                      breeder flock purchases by Broiler companies effectively forces genetics
                      companies to in turn reduce their own stocks of parent and grandparent
                      Broiler breeders (the one from which broiler company pullets are
                      supplied). Such reductions by the genetics companies extend into a period
                      of years the time it takes to materially increase the supplies of Broilers.

              B.      Reduce “egg sets” or “egg placements” (i.e., number of eggs placed in
                      incubators) by destroying such eggs and selling them to a rendering plant,
                      which causes a reduction in production within roughly 7 weeks, but this
                      does not reduce the size of Broiler breeder flock itself and does not
                      prevent a producer from being able to ramp up production in the short or
                      medium term should it subsequently decide it wants to quickly ramp up
                      production;

              C.      “Break eggs” at hatcheries by destroying the eggs prior to setting them in
                      incubators;

              D.      Pull (i.e., destroy) eggs already set in incubators sometime before the 21
                      days necessary for eggs to hatch;

              E.      Destroy newly hatched chicks at hatcheries before delivery to farmers for
                      grow-out;

              F.      Reduce the number or health of chicks delivered to contract farmers for
                      grow-out, including by manipulation of the genetics of chicks or providing
                      an inferior type of Broiler to farmers for grow-out of Broilers into mature
                      Broilers;


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               G.     Extend the period of time between pickup of mature Broilers for slaughter
                      and delivery of new chicks to contract-farmers for grow-out (a/k/a, “days
                      between flocks”);

               H.     Reduce the size of birds at slaughter, including by slaughtering birds
                      before they reach full maturity or weight;

               I.     Slow down, temporarily close, or permanently close Broiler processing
                      plants; and

               J.     Export hatching eggs and/or day-old chicks outside the United States.

       139.    Historically, when Broiler producers “cut production,” they did so through short-

term cuts that targeted the end of the supply chain, such as slaughtering Broilers early,

destroying eggs before incubation, killing newly hatched chicks before delivery to contract

farmers, and/or increasing the days between flocks delivered to contract farmers. However,

Broiler companies historically did not cut their Broiler breeder flocks (except for normal

seasonal variations) because doing so would leave a producer unable to ramp up production in

the short or medium term should market conditions improve.

       140.    With respect to the type of production cuts used by Broiler producers, the period

from 2008 through the present is characterized by both traditional production cuts (short-term in

nature), as well as by unprecedented reductions in Broiler breeder flocks by Broiler producers.

As discussed below, Broiler producers made substantial and unprecedented cuts to Broiler

breeder flocks in 2008 and 2011 that prevented them from being able to meaningfully increase

supply for years to follow.

               1.     Pre-Relevant Time Period Events.

       141.    In 2007, the two largest Broiler producers, Pilgrim’s and Tyson, reduced their

production of Broilers, but only a few other Broiler producers followed their lead, namely Foster

Farms (4.8% reduction in Ready-to-Cook (“RTC”) pounds), Peco Foods (5.4% reduction in RTC

pounds), and Perdue (unspecified cuts). However, cuts by only five industry participants were


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not enough to affect industry supply sufficient to increase prices meaningfully.        Industry

publications noted that oversupply of Broilers was due to overproduction by Sanderson Farms,

Mountaire Farms, and House of Raeford Farms. Due to the resulting oversupply of Broilers,

prices fell in late 2007 and into early 2008. In addition, production cuts in 2007 followed the

typical pattern of focusing on short-term reductions in production, such as slaughtering Broilers

early, but not on longer-term cuts to Broiler breeder flocks.

       142.    The failure of the 2007 shorter-term production cuts to raise prices made Tyson

and Pilgrim’s realize that their unilateral supply cuts would never be enough to raise industry

prices without a broader industry supply cut by most of their competitors, and further, that cuts

that did not reduce Broiler breeder flocks left the industry vulnerable to near-term increases in

supply. Tyson and Pilgrim’s realized that by making cuts that were not followed by their smaller

competitors, they were essentially giving away market share to those competitors.

               2.       2008-2009 Production Cuts.

       143.    Beginning in 2008, multiple executives from different Broiler producers made an

unprecedented series of public appeals for production cuts and price increases.          Several

companies picked up the refrain in the course of a few months, and the production cuts soon

began to take effect.

       144.    On January 23-25, 2008, Defendants attended the IPE conference in Atlanta,

Georgia. According to the IPE, attendees representing over 99.4% of the production of the major

Broiler companies participated in the IPE. Numerous employees from Defendants attended the

conference, including Defendants’ senior executives.

       145.    On a January 28, 2008, earnings call, Tyson CEO Dick Bond explicitly called for

price increases, saying: “we have no choice [but] to raise prices substantially.”       It would

obviously be impossible for Tyson to unilaterally raise prices in a commodity market, such as


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Broiler, and Tyson and Pilgrim had already attempted to raise industry prices through production

cuts by their two companies.

       146.    Next, Pilgrim’s explicitly urged its competitors to cut production. On a January

29, 2008, earnings call, Pilgrim’s CFO Rick Cogdill said the industry was oversupplying Broilers

and it was hurting market prices. Cogdill explained that his company had done its part in 2007

by reducing production 5%, so “the rest [] of the market is going to have to pick-up a fair

share in order for the production to come out of the system.” (emphasis added). During the

call, Cogdill went on to explain that Pilgrim’s alone could not reduce supply enough to help

market prices recover and its past efforts to reduce supply had merely led to smaller players

increasing their market share at Pilgrim’s expense.

       147.    Cogdill even explained how he thought the industry needed to coordinate

production cuts in order to drive up market pricing, including making the following statements

urging Pilgrim’s competitors to do their part in reducing Broiler industry supplies:

       (a)     “[A]ctions are going to have to be taken one way or the other through the industry
               to pass along these costs. We were the leader in cutting production last year to
               help drive that. . . . [W]e’ve got to make sure that we get the supply in line with
               demand at an acceptable price, not just in line with what the customer wants to
               buy at a cheap price.”

       (b)     When asked by an analyst “do you have an estimate internally of what the state of
               oversupply in the industry might be? What you would hope to see cut from others
               that would make you feel like the industry was more rational?” Pilgrim’s CFO
               Cogdill replied “It’s really hard to say that the faster we get to production
               adjustment the quicker the recovery could happen . . . . And if the industry doesn’t
               react soon enough it will have to react stronger in the end.”

       (c)     “[W]e have walked away from sales in certain cases, where the pricing just did
               not make any sense. So we are trying to hold the line. We are losing at times the
               competitive bids . . . . So we are trying to take a leadership position from a pricing
               perspective.”

       (d)     JP Morgan analyst Pablo Zuanic asked “[D]o you and Tyson have the evidence
               that your production call backs lead to significant price improvements last
               year[?]....Clearly, there are more producers who are not following you. On my


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               mask [sic], according to USDA, the industry was up 5% in the December
               quarter....So, it means that the rest of the industry was up about 9% in the
               December quarter. So there is evidence that rest of the industry is not following
               you. You guys are the leaders. You know that this worked last year. . . . Is it just
               that last year we did it for the industry, and they didn’t follow and now it’s their
               turn?” In response, CFO Cogdill noted, “I think you kind of hit on it there. . . . It’s
               not like we had 5% of surplus capacity that we could just reduce our operations
               and not feel that . . . I mean we cannot be the ones that are out there continually
               reducing production, and let the other producers capitalize on that. I mean if it’s
               5% last year, 5% this year, 5% next year, you can see that that’s a spiral to the
               demise of our company, which we are not willing to accept.”

       148.    Two days later, on a January 31, 2008 earnings call, Sanderson Farms CEO Joe

Sanderson publicly stated that he expected production cuts. Asked about Broiler industry cuts by

an analyst, Sanderson replied “we could see some reductions in production.” Asked to expand

on his comments by another analyst, CEO Sanderson said he thought a production cut was

“probable” and “if it’s bad and ugly and deep in February, March and April, you’ll see the

production cuts take place during that period of time. There’s still 25% of the industry still

making money but I would expect to see those reductions come over the next 90 to 120 days.”

Upon information and belief, CEO Sanderson’s basis for the statement that “25% of the industry

[was] still making money” was through the secret sharing of information by Defendants through

Agri Stats.

       149.    Around March 4, 2008, senior executives from Defendants met at an Executive

Committee meeting of the National Chicken Council’s Board of Directors, including Pilgrim’s

new CEO Clint Rivers,

                                              .

       150.    On March 12, 2008, Pilgrim’s announced a massive closure of its Broiler

processing plants. Just five days after taking over the position of Pilgrim’s CEO, Clint Rivers,

publicly announced the closure of seven Broiler facilities in order to reduce industry oversupply,

stating “we believe [these] actions . . . are absolutely necessary to help bring supply and demand


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into better balance . . . . That portion of the demand for our products that exists solely at pricing

levels below the cost of production is no longer a demand that this industry can continue to

supply.” (emphasis added).

       151.    In a competitive market, other Broiler producers would be expected to jump into

the massive gap in supply that Pilgrim’s closures left. However, just the opposite occurred.

Following Pilgrim’s announcement, a series of production cuts were publicly announced by

other Defendants between April 3 and April 11, 2008.

       (a)




       (b)     On April 9, 2008, Simmons Foods announced a 6% reduction in production
               throughout its processing plants. Simmons Prepared Foods President David
               Jackson said in a press release that “[r]ecent U.S. chicken market price levels
               have not allowed processors to recover the spiraling costs of corn and soy meal. . .
               . This increased cost burden has yet to be reflected in domestic poultry prices.”
               BMO Capital Markets analyst Kenneth Zaslow welcomed Simmons’ production
               cut, saying in a note to investors that production cuts across smaller companies in
               the Broiler industry would be positive for Broiler prices. On April 9, 2008, BMO
               Capital Markets analyst Kenneth Zaslow welcomed Simmons’ production cut,
               saying in a note to investors that production cuts across smaller companies in the
               Broiler industry would be positive for Broiler prices.

       (c)     On April 10, 2008, Cagle’s Inc. announced a 4% reduction in processing of
               Broilers. According to a press release from Cagle’s President and CEO, Doug
               Cagle, “[c]urrent chicken prices have failed to reflect the tremendous increase in
               the cost of feed. Ingredient prices, mostly corn and soybean meal, have increased
               over 80 percent in the last two years raising the cost to produce chicken by more
               than $.17 a pound. These are unprecedented times and given current USDA
               forecasts it appears that high feed costs are here for the foreseeable future. The
               cut back in production will not effect [sic] our customers with existing
               commitments but will reduce product being sold through less profitable
               commodity outlets.”


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          (d)    Between April 3-11, 2008, Wayne Farms, O.K. Foods, and Koch Foods each
                 announced 2-8% reductions in production.

          152.




          153.   Multiple Broiler producers cut their production between April 1, 2008 and May

28, 2008, but did not publicly announce those cuts.         Instead, these Broiler companies

communicated such cuts to their Producer Co-Conspirators through Agri Stats and/or other

means of communication. For instance, at his BMO Capital Markets Conference presentation on

May 28, 2008, Sanderson Farms CEO Joe Sanderson stated that “we have seen for the last 6 or 7

weeks . . . some companies in our industry announce cutbacks. There have been I think six

companies have announced cutbacks. I know some companies have cut back and have not

announced.” (emphasis added). Such knowledge of non-public production cuts by competitors

is highly suggestive of secret communication among Broiler companies.

          154.   After witnessing a steady stream of its competitors close production capacity

between April 3 and 11, Pilgrim’s saw that other industry participants were contributing to

reducing industry supply. Pilgrim’s decided it could now take further steps to reduce industry

supply.

          155.   On April 11, 2008, Pilgrim’s suggested it might close its large El Dorado,

Arkansas processing plant, which employed 1,620 workers.

          156.   On April 14, 2008, Pilgrim’s announced a further production cut of 5% of egg

sets.



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       157.    On April 28, 2008, Tyson CEO Dick Bond described the change in the industry in

response to an analyst question, noting “[y]ou are right. I think the industry has changed. Diane,

I don’t think the industry will be up that much anymore, we have seen some sizable declines here

lately in egg sets and placements. So, we’re going to be up a little bit but probably not a

significant amount, not as much as we might have once anticipated.”

       158.    Despite the large number of coordinated production cuts announced by producers

in April 2008, Pilgrim’s concluded these cuts were not sufficient. Therefore, Pilgrim’s CEO

Clint Rivers encouraged further action by the industry at a May 15, 2008, speech at the BMO

Capital Markets Third Annual Ag & Protein Conference, which was attended by Sanderson

Farms CEO Joe Sanderson and CFO Mike Cockrell, Tyson CEO Richard Bond, and Pilgrim’s

CFO Richard Cogdill. CEO Rivers announced that he hoped to see the Broiler industry continue

to cut production to help the industry return to profitability, stating that “he would like the

industry to trim total production by 3%-4%, calling it a prudent move in light of recent price

volatility in the grain markets.” He also noted that “[t]he cuts need to be fairly deep.”

       159.    A May 21, 2008, Wall Street Journal article noted that conditions in the industry

were starting to change. “Three things are making analysts more optimistic: Companies are

cutting production, weekly egg-set numbers are declining (egg sets are fertile eggs placed in

incubators), and prices are responding positively to the thinning supply lines.” The article also

noted “[i]t is unusual for egg sets to decline at this time of year.” The reason such a reduction

was unusual in May is that egg sets result in Broilers that are ready for market approximately 10

weeks later, which in this case would have been first week of August, and is still the peak of the

high-demand summer grilling season.




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       160.    During an earnings call on May 22, 2008, Sanderson Farms CEO Joe Sanderson

was asked if he thought industry cuts were sufficient to keep the industry profitable in the fall.

In response, Sanderson noted, “[w]e don’t know yet. We will make a cut as we always do after

Labor Day. We will make a 4-5% cut following Labor Day as we always do going into

Thanksgiving, Christmas, and January we reduce our egg sets and around Thanksgiving,

Christmas, New Years and Martin Luther King. That is a period of slow demand for us, and we

don’t announce that, but we always do it. It is just a period when we take downdays and we will

do that. But if we think more is needed, we will evaluate that sometime in August, and if need

be will do it. We cut back in 2006, we cut back in ‘97-98. I don’t know if we announced it or

not, but we will do what we need to do.” Sanderson provided no explanation why it was

choosing to publicly disclose its “regular” production cut if it had never done so in the past.

       161.    Six days later, on May 28, 2008, CEO Sanderson attended the BMO Capital

Markets Conference Presentation. One or more of Sanderson Farms’ competitors attended the

same conference. Sanderson explained to the attendees that the company tracks egg set data

closely and it had observed many companies cutting production “for the last 6 or 7 weeks.”

       162.    On July 29, 2008, Pilgrim’s CEO Clint Rivers continued to keep up the drumbeat

for further production cuts, noting in a June 4, 2008, presentation that “our supply in chicken, we

are oversupply . . . we need to see some balance in the supply. . . . Simply put, at this time there

is still too much breast meat available to drive market pricing significantly higher.”

       163.    Other industry executives soon joined in the calls for production cuts. June 19,

2008, Broiler industry executives participated in a media conference call intended to lobby the

federal government to limit the ethanol subsidy. According to one report, Mark Hickman,

Chairman of the National Chicken Council and CEO of Peco Foods, told participants that “the




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poultry industry is entering a second phase of production cutbacks, following a 1 percent to 2

percent cutback in production earlier this year. ‘We are hearing talk that this was not nearly

enough, so liquidation—a reference to the need for Defendants’ decision to reduce Broiler

breeder flocks to affect longer-term supply restraint in the industry, rather than mere short-term

production cuts like breaking eggs or slaughtering Broilers earlier to reduce weight—“is in round

two.”

        164.   As noted above, Agri Stats’ subsidiary EMI issues regular reports to its clients,

which are not publicly available. A sample report from 2008 from EMI notes that “[b]eginning

in April [2008], the weekly hatchery data started to show declines in egg sets and chick

placements relative to year-earlier, which confirms the announced intentions to reduce Broiler

production and will result in slaughter falling below year-ago by mid-June.” The same report

also notes that “[i]t is unclear how long the slaughter declines will continue, and if other

companies will choose to cut production as well making them deeper than initially thought.

Those who have announced cutbacks indicate they will continue until margins normalize. At

this time we expect to see the declines continue until at least late 2009, and cuts could be deeper

than now projected.”

        165.   Three days later, on June 23, 2008, Wayne Farms announced an additional 6%

production cut.   Wayne Farms President & CEO Elton Maddox said in a statement that

“[s]oaring feed ingredient costs aggravated by the government’s food for fuel mandate has

created the need for us to rationalize our business.” Like many other executives, Maddox cited

ethanol subsidies as the reason for the production cuts. Wayne Farms’ announcement came only

three days after Agri Stats suggested further cuts were needed and four days after Peco Foods

CEO Hickman suggested further cuts were needed.




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       166.    On June 23-25, 2008, USPOULTRY held its annual Financial Management

Seminar. Defendants’ senior executives attended the seminar.

       167.    On July 2, 2008, Foster Farms announced it was abandoning plans to build a new

Broiler plant in northeastern Colorado that it had previously announced in April 2008 would

employ about 1,000 people. In a statement, Foster Farms CEO Don Jackson noted “[i]n these

difficult conditions with costs escalating primarily due to grain and fuel prices and chicken prices

lagging it does not make economic sense to go forward with expansion at this time.”

       168.    On July 7, 2008, O.K. Foods announced a 7.5% reduction in egg sets, citing

“record high prices for corn and soybean meal, which it attributes to the U.S. government’s

mandated ethanol policies along with recent flooding in the Midwest ‘Corn Belt’ region.”

       169.    On July 20-22, 2008, the National Chicken Council held a three-day “Chicken

Marketing Seminar” attended by Defendants’ senior executives. The event was billed as a

marketing seminar that “includes social networking events and recreational opportunities,

including a golf tournament.”

       170.    On July 31, 2008, Tyson cancelled a contract with Petit Jean Poultry for the

processing of Broilers at Petit’s Buffalo, Missouri plant.

       171.    On August 11, 2008, Pilgrim’s announced the closure of its Clinton, Arkansas,

processing plant and a further processing facility in Bossier City, Louisiana. 4 Pilgrim’s press

release noted the closures “are part of the company’s ongoing effort to operate more efficiently


4
  “Further processing plants” are facilities that process whole or cut-up Broilers into products for
end users, such as chicken nuggets. Notably, further processing plants alone are not a bottleneck
for the supply of Broilers and were not the focus of Defendants’ coordination to reduce and
restrict Broiler supplies as alleged herein. During the Relevant Time Period, some Defendants
have increased the amount of further processing they perform internally in order to capture
profits that had previously been earned by third party further processors who purchased
unprocessed Broilers from Defendants. A few further processing plant closures are noted in this
Complaint where they were closed in conjunction with processing plants.


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and return to profitability amid high feed costs and an oversupply of chicken on the market.”

The closure of the Clinton processing plant represented an additional 1.25% incremental increase

of the company’s previously announced production cuts. Pilgrim’s stated that it would keep both

plants idled until “industry margins can be sustained at more normalized levels of profitability.”

Pilgrim’s also noted that “[w]ith Labor Day approaching and no indication that the actions taken

to date by Pilgrim’s Pride or other industry members are having a positive effect on selling prices

for our products, it is now clear that more significant decisive action is necessary.”

       172.    In August 2008, House of Raeford announced that it would begin reducing its

Broiler production by 5%. The company said in a statement that “[t]he current obstacles that

face our industry require that supply be brought in line with demand.” A production cutback was

remarkable for House of Raeford, which had pursued a strategy of aggressive production growth

that resulted in the company doubling its Broiler production from 2001 to 2007.

       173.    On an August 26, 2008, earnings call, Sanderson Farms CEO Joe Sanderson

stated that “[s]o long as this weakness continues, the poultry industry will need to cut production

further until supply is in line with demand.” When asked later whether the industry had already

made enough production cuts, he noted “we kind of thought we were going to see reductions in

July . . . [based on] 213/214 [million] eggs sets back in April and that really did not materialize.

When you look at USDA slaughter numbers in July, they were 100% and 101% and now we’re

looking at egg sets of 206 and 207 million that are going to show up sometime in October or

November. We’ll see when we get there. Those are barely impressive cuts. My suspicion is, as

I’ve told you in May, the industry typically make the cut [sic] and it’s tentative. We’ll have to

see if it works. . . . I’m very skeptical that those cuts are going to be enough to return us margins

to cover these grain costs.”




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       174.    By September 2008, Broiler industry publication Watts PoultryUSA reported that

“[m]ost U.S. broiler integrators ha[d] announced plans to close small operations, consolidate

complexes and further processing plants and to reduce output by 3 percent to 5 percent to

`maximize efficiency.”‘

       175.    On October 3, 2008, Defendants’ senior executives attended the National Chicken

Council’s Annual Meeting in Washington, D.C. Agri Stats CEO Blair Snyder (who was elected

the day before as a “director-at-large” to the National Chicken Council’s board) moderated a

CEO panel that included Pilgrim’s, Tyson’s, Perdue’s, and Sanderson Farms’ CEOs. Explaining

Pilgrim’s desire to push through an industry-wide price increase, Pilgrim’s CEO Clint Rivers

told panel members and the audience “[w]e need to get those [input] costs pushed through, but

we’ve yet to see that happen.”

       176.    On October 10, 2008, Pilgrim’s spokesman Gary Rhodes told the Associated

Press that a USDA report of falling eggs sets in the Broiler industry was “very positive news for

the industry and may signal that the industry is taking a more rationalized approach to

production heading into the fall.” (emphasis added). Indeed, an industry analysis noted at the

time “the industry has cut about 10 to 12 percent of its production.”

       177.    During Fall 2008, Sanderson Farms also moved forward with its previously

announced “fall cuts” a month early and delayed the opening of a new deboning facility.

       178.    On October 18, 2008, Wayne Farms President & CEO Elton Maddox released a

statement announcing the closure of the company’s College Park, Georgia plant, resulting in the

layoff of more than 600 employees. Maddox pointed to “changing market conditions” and a

need to “maximize efficiencies” as justifications for the plant closure.




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       179.    On a November 10, 2008, Tyson earnings call, CEO Dick Bond claimed that

Tyson would not be making additional production cuts because it had already done its part to

reduce industry supply with prior production cuts. However, D.A. Davidson & Co. analyst Tim

Ramey asked “Dick, a year ago you talked about price encourage [sic] then I was out with

Donnie Smith four five months ago, you guys talked about well we’re not going to be the one to

cut.” Tyson didn’t respond directly, but cited its attention to “supply and demand.”

       180.    On November 12, 2008, industry analyst Ken Zaslow noted that “many

companies, such as Pilgrim’s, have pledged to cut production, but Tyson increased its volume

about 6 percent in the quarter . . . . The industry has cut about 10 to 12 percent of its production.”

       181.    Despite contradictory statements on its November 2008 earnings call, Tyson

substantially reduced production in December 2008.           First, on December 18, 2008, Tyson

announced the canceling of a deboning contract with Petit Jean Poultry at Petit’s Little Rock,

Arkansas processing plant that resulted in Petit’s layoff of 700 employees.              Second, by

December 23, 2008, it was reported that Tyson had cut its production by 5%. Asked by a

reporter about the cuts, Tyson spokesman Gary Mickelson stated that “[w]hile we would rather

not share details of our current poultry production levels, we can tell you we continue to closely

evaluate market conditions in an effort to match customer demand with our supply.” Tyson also

noted that it had reduced production “in recent years through the closing or sale of poultry plants

and by running the company’s remaining operations at reduced capacity utilization.”

       182.    On January 28-30, 2009, Defendants’ senior executives attended the 2009

International Poultry Expo in Atlanta, Georgia.

       183.    In a February 18, 2009, interview, Tyson Senior Group Vice President Donnie

Smith noted that “[a]cross our industry, we’re down about six percent versus where we were a




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year ago. We’re seeing an impact from that on market prices . . . the industry fundamentals are

improving.”

       184.    In late February 2009, a report noted that Pilgrim’s had cut another 9-10% of its

production. According to the same report, Tyson told the audience at a February 2009 investors’

conference that it did not intend to reduce its production further because “[u]sing WATT

PoultryUSA data on ready-to-cook (RTC) pounds, our numbers have declined 5-7% from 2000

to 2008 on RTC pounds while at the same time the industry has grown 31%. Over time, we have

done plenty of cutting back.” Basically, Tyson felt it had already taken its fair share of needed

production cuts, so competitors needed to take further actions. Those statements, however,

appear to be posturing by Tyson, because Tyson generally did reduce its production during the

2008-2015 time period in line with other producers, apparently hoping that the threat of it not

reducing production would be sufficient to cause other producers to step in line and reduce

production first.

       185.    On February 25, 2009, Sanderson Farms told The Morning News that it had made

cuts to its supply of Broilers by processing smaller Broilers and running its plants at lower

capacity utilization rates.   Sanderson also told a group of investors around this time that

“[b]ecause we don’t expect much help from the demand side, chicken market improvement will

have to come from supply cuts.”

       186.    The same day, Simmons Foods CEO Todd Simmons noted in a February 25,

2009, interview that “[w]e are seeing lower demand in the food-service customer base. We have

made adjustments in bird weights to ensure our production meets with our customer’s needs.”

       187.    On February 27, 2009, Pilgrim’s announced another round of major production

cuts. In a press release announcing the closure of three processing plants located in Douglas,




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Georgia, El Dorado, Arkansas, and Farmerville, Louisiana, Pilgrim’s indicated the plants were

“underperforming” and said the closures would “improve the company’s product mix by

reducing commodity production and to significantly reduce its costs in the midst of an industry-

wide oversupply of chicken and weak consumer demand resulting from a national recession.”

Pilgrim’s indicated that the idling of these three plants would reduce production 9-10% in total

pounds of Broilers produced by the company.

       188.   During 2008, at least 11 Broiler chicken producers reported production cuts,

including Tyson, Pilgrim’s, Perdue, Simmons, House of Raeford, Cagle’s, George’s, O.K.

Foods, Coleman Natural Foods, Harrison Poultry, and GNP Company. Other companies reduced

their planned production levels and/or delayed the planned opening of new Broiler complexes.

       189.




              3.      Defendants’ 2008 To Early 2009 Broiler Production Cuts Included
                      Unprecedented Reductions To Broiler Breeder Flocks.

       190.   As explained above, 2008 ended a decades-long trend of additional Broiler

production, and surprised industry observers. However, what makes the production cuts in 2008

even more remarkable is that Broiler producers did not merely make an unprecedented reduction

in the pounds of Broilers they produced — they also went further up their supply chains than

ever before to restrict their ability to ramp up production for years into the future.     This



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production restriction was accomplished by reducing Broiler breeder flocks and thereby forcing

genetics companies to reduce supplies of grandparent stocks.

       191.   Broiler breeder flocks on average are kept in active “lay” for 65 weeks, so over its

lifespan a breeder hen produces an average of 140 eggs per year that are incubated at Broiler

producer-owned hatcheries. Because Broiler breeder flocks are created from a limited pool of

grandparent Broilers from the three Broiler genetics companies (Tyson’s Cobb-Vantress,

Aviagen, and Hubbard), it takes substantial time to re-populate a Broiler breeder flock that has

been reduced through early slaughter. By reporting the size of each Defendant’s supply flocks

through Agri Stats, Defendants could closely monitor one another’s supply flock reductions and

deal with a co-conspirator who was ramping up production in conflict with Defendants’

conspiracy.

       192.   Defendants’ reduction in Broiler breeder flocks during 2008 and the first two

months of 2009 was unprecedented. While previous downturns had led some producers to use

short-term methods to reduce overall pounds of Broilers slaughtered, in 2008 Defendants took

their reductions to the next level by substantially reducing their Broiler breeder flocks (aka,

“Broiler Hatchery Supply Flock”), as shown below.




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              4.      The Cuts in 2008 and 2009 Led To Record Broiler Prices For Much Of
                      2009 And Early 2010.

       193.   The effect of the supply cuts on Broiler pricing in 2008 and the first two months

of 2009 was clear — during the worst recession in generations, Broiler prices rose through mid

to late 2008, staying at or near all-time highs until late 2009. For instance, by May 28, 2009,

Sanderson Farms reported strong profits that were twice the predictions of Wall Street analysts,

which according to one industry publication was “aided by production cuts and lower feed costs

that offset still-weak demand.” Similarly, at a May 14, 2009, BMO Capital Markets conference,

interim Tyson CEO Leland Tollett noted that “poultry market fundamentals had improved.

Pullet placements, an[] indication of future Broiler supplies, have been down the past five

months compared to the same period last year. Egg sets continue to run six percent or more




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below year ago levels and cold storage inventories of poultry have declined about 20 percent

since peaking in November 2008.”

       194.    These price increases were led by industry leadership, including the National

Chicken Council. Indeed, in the Fall of 2008, Mike Roberts became the chair of the National

Chicken Council. A document from the National Chicken Council provides that “[W]e as an

industry owe a huge “Thank You” to our outgoing Chairman, Mike Roberts. When he took over

last fall, our industry was in deep depression. In November, 2008 every chicken company in

American [sic] lost money. After only 78 months of Mike’s leadership, in July 2008, every

chicken company in America made a profit. So thanks for a great job Mike!”5

       195.    As prices continued to rise during late 2009 and early 2010, producers started

increasing production in response to the higher prices, as they had done in previous decades.

The rising production by producers in early 2010 led to a reported oversupply of Broilers that

began to depress prices by late 2010. However, Defendants had learned the value of coordinated

supply reductions in 2008, so were quick to react with a new round of publicly announced

production cuts in the first half of 2011, which quickly helped prices recover.

       196.    During 2009 and 2010, Defendants’ senior executives continued to meet with one

another at trade association meetings and industry events, such as the National Chicken Council

and the International Poultry Expo. For instance, at the National Chicken Council’s October

2009 Annual Conference,

                                                , one industry analyst wrote that participants had

emphasized continued “production discipline.” As used by Defendants, “capacity discipline” is a

5
  In the Fall of 2008, Mike Roberts was the President of Food Products Business of Perdue
Farms, Inc. Thomas Hensley, Jr., then President of Fieldale, served as Vice Chairman of the
National Chicken Council. And Bernard Leonard, then Head of Food Service, served as
Secretary-Treasurer of the National Chicken Council.


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euphemism for limiting Broiler supplies. Defendants’ conspiratorial efforts to artificially limit

Broiler supplies enabled Defendants to raise prices of Broilers to supra-competitive levels.

                5.      Defendants Reacted With Unprecedented Speed To Overproduction In
                        2011, Which Led To A Second Wave Of Unprecedented Production
                        Cuts.

        197.    Around early 2011, Tyson was one of the first Defendants to see the coming

overproduction of Broilers. In addition to limiting its own production, Tyson embarked on a

new strategy to soak up excess supply produced by its competitors. Tyson called the strategy

“Buy vs. Grow.” Tyson’s Buy vs. Grow strategy allowed Tyson to buy up excess production

from its competitors and avoid the depression of prices that would occur had the excess

production been sold on the open market. In return, Tyson could communicate the volumes of

Broilers it would be willing to purchase from competitors in the current and future months, thus

suggesting to each competitor the amount of production it should cut that would not be

purchased by Tyson.       As one investment analyst described it, Tyson’s program “involves

maintaining or even reducing [Tyson’s] own chicken production levels, with buying more

chicken on the open market from their rival chicken producers, in an effort to keep the chicken

market from being over supplied.” Even though it would have been cheaper (with respect to the

cost of pounds purchased) for Tyson to grow its own Broilers instead of buying them from a

competitor, Tyson engaged in its Buy vs. Grow program because it allowed Tyson to better

control supply and production in the Broiler industry and reap the benefit of higher market prices

on all of the rest of its Broiler pounds sold.

        198.    On January 24-26, 2011, Defendants’ senior executives attended the International

Poultry Expo in Atlanta, Georgia, including Tyson CEO Donnie Smith. The IPE featured an

annual market intelligence panel with Mike Donohue from Agri Stats and industry-insider Paul

Aho. According to one report, Donohue noted that ‘“2008 was the worst year financially for the


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(U.S.) broiler industry that most people have ever seen’ . . . The industry’s response in 2008 was

a 5 to 6% reduction in pounds produced. He said that the broiler industry is currently at record

high weekly slaughter volumes.” Aho noted “[t]his could be a very difficult year with cutbacks,

rationalization, and consolidation . . . . The market is calling for around a 5% reduction in

chicken production.”

       199.    On a February 4, 2011, Tyson earnings call, COO James Lochner noted that “until

industry supply more closely aligns with demand” Tyson’s Broiler business would “be

challenged.” Tyson CFO Dennis Leatherby also referred to a supply-demand imbalance in the

chicken industry.

       200.    On a February 16, 2011, Cagle’s earnings call, Cagle’s reportedly said it had

begun a 20% reduction in production at a deboning operation in an effort to balance supply and

demand. Cagle’s told one publication that it was “optimistic that the industry will exhibit the

production restraint necessary to support higher pricing for Cagle’s products allowing for return

to profitable margins.”

       201.    On or around February 25, 2011, Sanderson Farms CEO Joe Sanderson

announced on an earnings call that Sanderson would be delaying the development and

construction of a second North Carolina Broiler complex.

       202.    On March 7, 2011, House of Raeford announced a 10% reduction in egg sets that

began in early February.

       203.




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       204.    On March 15, 2011, Simmons announced it was laying off 180 workers at its

Siloam Springs, Arkansas processing plant.

       205.    On April 13-15, 2011, the Georgia Poultry Federation held its annual meeting at

the Brasstown Valley Resort in Georgia. Defendants’ senior executives attended the meeting.

Among other positions that Defendants’ and their Producer Co-Conspirators’ employees were

elected to at the meeting, Donnie Wilburn (Director Live Operations, Harrison Poultry) was

elected Vice Chairman of the Board of Directors and Phillip Turner (Plant Manager, Mar-Jac)

was elected to the Board of Directors.

       206.




       207.    On April 15, 2011, Mountaire Farms announced it was abandoning a 3-5%

capacity increase. Mountaire President Paul Downes explained Mountaire’s justification for the

cut to anticipated capacity: “The only way to higher prices is less supply. The only way to less

supply is chicken companies will shut down or cut back. That’s not good for poultry growers or

the economy. But I think that’s what we’re going to see.” In other words, Mountaire had

learned from the industry’s coordinated action in 2008 to reduce supply and realized that the

oversupply and decreasing prices in early 2011 could only be addressed through collective action

by the Broiler industry to restrain production.

       208.    During 2011, Mar-Jac reduced its production 10% and reported that other Broiler

Producers were doing so as well.




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         209.   On May 1-3, 2011, Defendants’ senior executives, including Tyson CEO Donnie

Smith, attended Urner Barry’s Annual Executive Conference and Marketing Seminar, which

includes an annual golf outing at a local country club.

         210.   On May 17-18, 2011, senior executives from Sanderson Farms, Pilgrim’s, and

Tyson attended the BMO Farm to Market Conference. Attending were Sanderson Farms CEO &

Chairman Joe Sanderson, Sanderson President & COO Lampkin Butts, Pilgrim’s President &

CEO Bill Lovette, Tyson CEO Donnie Smith, and Tyson Senior Group VP of Fresh Meats Noel

White.

         211.   Pilgrim’s President & CEO Bill Lovette presented at the May 17, 2011, BMO

Farm to Market Conference. Lovette’s presentation noted Pilgrim’s shift away from fixed-rate

contracts to market-based pricing. Pilgrim’s also noted its new focus on matching production to

forecasted demand, including by adjusting head and bird weights at selected plants to better

balance supply and customer demand.

         212.   On a May 24, 2011, earnings call, Sanderson Farms CEO Joe Sanderson stated

“the deal is that the industry — forget Sanderson — the industry cannot sustain losses like they

are sustaining for a long period of time. They will — they can’t do it and you have been

observing this for years and years and the industry has been losing money since Novemberish

and balance sheets deteriorate and losses have to stop. The only way to stop losses with $7 corn

is to reduce production and get prices up. That is the rule and the law of the jungle.” Sanderson

continued, “my judgment is that there will be some others that are going to have to make some

adjustments that I believe cuts will be forthcoming in our industry based on the losses we see in

Agri Stats.”




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       213.    On June 6, 2011, Cagle’s announced on an earnings call that “[t]he industry must

lower supply in order to offset reduced demand and to support higher market prices. Cagle’s

continues to process at 80 per cent of capacity at its Pine Mountain Valley deboning facility and

does not contemplate any increase in the foreseeable future.”

       214.    On June 7-10, 2011, the USAPEEC held its annual meeting at The Greenbrier

America’s Resort in West Virginia. Defendants’ senior executives attended.

       215.    On approximately June 20, 2011, Tyson begin pulling eggs from its incubators to

reduce Broiler volumes.

       216.    On June 21, 2011, Cagle’s announced it was laying off 300 employees at its Pine

Mountain Valley, Georgia plant to reduce Broiler volumes.

       217.    On June 27-29, 2011, the US Poultry & Egg Association held a Financial

Management Seminar at the Ritz Carlton in Amelia Island, Florida. Among other presentations,

Pilgrim’s President & CEO Bill Lovette presented to a group of 150 attendees that included

senior executives from Defendants.

       218.    On June 27, 2011, Simmons announced it was laying off 223 employees by

August at its Siloam Springs, Arkansas plant to “shift production to better address soaring corn

prices.” In its press release, Simmons blamed U.S. Ethanol policies for reducing its production.

       219.




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       220.       On July 12, 2011, Tyson CEO Donnie Smith, Tyson executive Bernard Leonard

(Chairman of the NCC at the time), Sanderson Farms COO Lampkin Butts, Peco Foods CEO

Mark Hickman, and Perdue CEO Jim Perdue participated in a panel together at the 2011 Food

Media Seminar.

       221.




       222.       On July 29, 2011, Pilgrim’s announced the closure of its Dallas, Texas processing

plant and the layoff of 1,000 employees. Pilgrim’s President & CEO Bill Lovette explained that

“[w]hile the decision to close a plant and eliminate jobs is always painful, we must make better

use of our assets given the challenges facing our industry from record-high feed costs and an

oversupply of chicken . . . . A key component of that effort is improving our capacity utilization

through production consolidation and other operational changes. By closing the Dallas facility,

we can consolidate that production volume at three other plants and help those sites run closer to

full capacity.”

       223.       On an August 1, 2011, earnings call, Sanderson Farms’ CEO reportedly said that

Sanderson Farms’ normal fall production cut of 4% beginning in November would remain in

place beyond January of 2012 [and . . .] until demand improves. Sanderson also stated “we

aren’t going to set any more eggs until we pick up a big account or we can’t supply our

customers’ needs. We think demand improvement will require unemployment to drop . . . . It

wouldn’t surprise me if the industry makes further, deeper reductions in egg sets in October or

November,” he said. “Nobody knows what cuts might be needed until we get to October,” “but I




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think that the cutbacks may need to be more than the 6% in head that the industry already has in

place.”

          224.   On an August 8, 2011, Tyson earnings call, CEO Donnie Smith said that

“[d]omestic availability must be in balance with demand before industry economics can improve.

Tyson continuously strives to match our supply to demand and as a result we made a production

adjustment in the third quarter. . . . Our goal is to match supply to demand. And following over-

production the industry experienced, we cut production in the third quarter, but those cuts have

not yet impacted the market.”

          225.




          226.   On August 18, 2011, Cagle’s announced it was reducing 20% of its production at

its large Pine Mountain Valley, Georgia plant.

          227.   From October 5-7, 2011, Defendants’ senior executives attended the National

Chicken Council’s 57th Annual Conference. As part of the conference, senior executives from

Perdue and Koch Foods participated in a panel regarding the “new paradigm” in the Broiler

industry. Panel members Clint Rivers (Perdue, President of Foodservice and Supply Chain), Bill

Anderson (Senior Vice President, Keystone Foods), Mike Helgeson (CEO, GNP), and Mark

Kaminsky (Koch Foods COO & CFO) said “the industry is accustomed to cycles, but not one

quite like the latest, and companies are going to need to adjust. Discipline on the supply side

was one suggestion. Getting better prices from retailers was another.”




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       228.




       229.    On November 17, 2011, Wayne Farms issued a press release announcing the

closure of its Decatur, Alabama plant and layoffs of 360 employees.

       230.    On a November 21, 2011, earnings call, Sanderson Farms CEO Joe Sanderson

responded to a question about a production decrease that “when we talk about the 4% number,

that is what we project the industry to be. Obviously, we’re going to be a part of that.”

       231.    On December 6-8, 2011, the USAPEEC held its annual Council members only

winter meeting. Defendants’ senior executives attended the meeting.

       232.    At USPOULTRY’ s Hatchery-Breeder Clinic in January 2012, Agri Stats Vice

President Donohue noted the importance of reducing Broiler breeder flocks, noting that “if the

industry chose to do so, it could ramp up production within a 10-week period of time. The

industry could blow apart any recover[y] in the short term by filing up incubators again,” but

noted that Agri Stats data indicates the industry is slaughtering breeder flocks at 59 to 60 weeks

(instead of the typical 65 weeks), which suggested to him the industry was managing its

production carefully. The early slaughter of breeder flocks in 2011 through mid-2012 meant that

Defendants subsequently were unable to increase production for at least eighteen months, as they

would have been able to do had they not made cuts so high in the supply chain.

       233.    Defendants’ senior executives attended the January 25-26, 2012, International

Poultry and Processing Expo in Atlanta, Georgia. The National Chicken Council held its Board

of Directors meeting in conjunction with the meeting.




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       234.    In early 2012, Sanderson Farms cut its production 4%.

       235.    On March 20-21, 2012, the National Chicken Council Board of Directors met in

Washington D.C. Defendants’ senior executives attended the meeting.

       236.    On an April 27, 2012, earnings call, Pilgrim’s President & CEO Bill Lovette

reported that “the die is cast for 2012,” and that “we’re comfortable that the industry is going to

remain constrained.”

       237.    On April 29-May 1, 2012, Urner Barry held its Annual Executive Conference and

Marketing Seminar. Defendants’ senior executives attended the conference.

       238.    On May 7, 2012, Tyson held an earnings call and announced it had decreased its

production by 4% through longer days between flocks for its growers and by increasing its Buy

vs. Grow program. Tyson noted on its earnings call that “the industry as a whole has reduced

production pounds by 4% to 6% year-over-year. To help keep our production balanced, we

bought chicken on the open market rather than growing all the birds we needed. We won’t grow

a bird solely for the part in the highest demand because we have to sell the entire bird. Grow

versus buy is a strategy we look at continually based on input costs, revenue demand forecast

and the needs of our customers.” Tyson CEO Donnie Smith also noted on the earning call that

“we began to cut back last year” with respect to egg sets and placements.

       239.    On June 6, 2012, Pilgrim’s announced the layoff of 190 employees at its

Chattanooga, Tennessee deboning plant. The company noted that “[w]hile the decision to reduce

the workforce in Chattanooga was not made lightly, we are confident that these actions will

improve the efficiency of our plant, maintain our mutually profitable relationship with growers,

and strengthen our ability to produce quality poultry products in Tennessee, . . . [but] [t]he

Chattanooga operation remains a vital part of our ongoing strategy.”




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       240.     On June 21, 2012, the National Chicken Council Board of Directors held its

summer meeting at the Ritz-Carlton Highlands in Lake Tahoe, California. Defendants’ senior

executives attended the meeting.

       241.     In a July 9, 2012, article, Tyson CEO Donnie Smith was quoted as saying “the

company will not over produce chicken at these expensive grain levels, preferring to buy

commodity pieces in the secondary market to fill orders where necessary.”

       242.     On July 15, 2012, Defendants’ senior executives attended a meeting of the

National Chicken Council’s Marketing Committee at the Stone Mountain Lodge in Stowe,

Vermont.

       243.     On an August 6, 2012, earnings call, Tyson CEO Donnie Smith stated that “[o]ver

the past couple of years we have substantially reduced a number of fixed price contracts we have

with customers and currently have less than 15% of our Poultry volume [on] annual fixed price

contracts.    The vast majority of our contracts are tied to specific markets or allow for

conversations about adjusting prices to move — prices to offset higher input and we will

continue to push for even more of these types of contracts. I believe supply will begin to

rationalize as well, making it easier for us to have those pricing conversations.”

       244.     On August 23, 2012, Koch Foods CEO Joseph Grendys gave an interview with

Bloomberg News. He stated that “[c]osts have gone up so much due to the drought that the

industry will be forced to get price increases of 10 to 15 percent across all product lines” for

2013 over this year. He went on to note that “`[t]he industry needs to be smart’ and focus on

pricing to ensure it remains profitable . . . . Even if it does become unprofitable in the fourth

quarter, the industry may resume making money after the first quarter of 2013.” The article also




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mentioned Koch was going to use quarterly adjustments for price in its contracts for the first time

since 2008.

       245.       On August 28, 2012, Sanderson Farms announced a further 2% production cut

that it blamed on corn and soybean prices.

       246.       By September 2012, the effect of Defendants’ earlier production cuts starting in

2011 had begun to lead to increased Broiler prices. Defendants had not just cut the number of

pounds of Broilers slaughtered, but Defendants destroyed a significant proportion of their Broiler

breeder flocks. By doing so, Defendants could not increase Broiler supplies in the short or

medium term, even if they wanted to.

       247.       On October 10-11, 2012, the National Chicken Council held its annual meeting at

The Mandarin Hotel in Washington, D.C. Defendants’ senior executives attended the meeting.

The meeting featured an “Industry Outlook Panel” that included speaker Paul Fox (CEO, O.K.

Foods) and discussed the question of “[w]hat did the broiler industry learn from 2011 and how

will the industry apply those lessons in 2012 and 2013?” O.K. Foods CEO Paul Fox’s comments

during the panel continued to point to the ethanol mandate as a pretext for higher Broiler prices,

stating “Mil 2006, the ethanol mandate began to really take a bite against the protein complex,

and since that time on a cumulative basis, we’ve seen about $31 billion in new costs that have

come in to the chicken business.”

       248.       The actions alleged above, taken collectively and not in isolation, demonstrate a

level of coordination and “discipline” not seen in this industry prior to the Relevant Time Period

alleged herein.




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               6.      Defendants’ 2011-2012 Production Cuts Lowered Broiler Breeder
                       Flocks To Unprecedented Levels, Which Led To Record Profits For The
                       2013¬2014 Time Period.

       249.    Defendants’ cuts to the Broiler breeder flocks in 2011-2012 sent flock levels

down to levels not seen for almost two decades, as shown by the graph below.




       250.    For much of the remainder of 2012 through 2014, Defendants reaped the benefits

of coordinated supply restraints in the form of rising prices and record profits. During this

period Defendants’ executives repeatedly made statements congratulating industry players on the

“discipline” they had shown by keeping supply restrained. For instance, on a May 3, 2013,

earnings call, Pilgrim’s President & CEO Bill Lovette stated that “[w]ell, obviously, revenue is

going to be a function of price, in part, and in this case a big part; and obviously, price is going to

strengthen as supply continues to be disciplined and constrained . . . . So I think the industry is

doing an admirable job in being disciplined on the supply side and I think we’ve got a

combination where we combine that discipline with strong demand for product and that’s why



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you’ve seen the pricing environment that we’re now enjoying.” Lovette also commented that “I

believe the industry has learned over the past three to five years that chicken economics is going

to be driven by the supply and demand of chicken and not necessarily what corn or soybean meal

costs. I think I’m confident to say we’ve, we figured that out and we’re doing a good job of

balancing supply and demand.”

       251.    On the May 3, 2013, earnings call, Pilgrim’s President & CEO Lovette also

discussed the importance of continued restraint of the industry’s breeder supply flock, noting

“[w]ell, I only know what we’ve seen happen in the past. Now, certainly, this summer if the

industry chooses to grow the breeder supply significantly, that’s definitely going to impact 2014.

What I’m saying is, so far, we’ve seen no indication that the industry plans to grow the breeder

supply and as a matter of fact, it’s actually shrunk. So that’s the source of my comments. Do I

know what’s going to happen in June or July or August of this year with respect to breeder

placements, I don’t know that. I would tell you that based on the last three to five years, though,

again, I’ll reiterate that I think the industry has learned that the economics of our business is tied

very closely to the supply of chickens and we’ve done a good job so far of maintaining discipline

such that even paying nearly $8.50 for corn, we’ve been able to be profitable as an industry.”

       252.




       253.    On October 4, 2013, CEOs and other senior executives of Defendants’ companies

met at the annual NCC meeting in Washington D.C. The meeting featured a panel with GNP

CEO Mike Helgeson, Tyson CEO Donnie King, and Simmons Foods CEO Todd Simmons.




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According to one publication’s account of the panel, the CEOs were “chipper about the prospects

for their industry in the next few years.”

        254.    On a January 31, 2014, earnings call, Tyson CEO Donnie Smith reported that

through Tyson’s “buy versus growth strategy we continue to keep our supply short of demand . .

. .” Tyson’s continued use of Buy vs. Grow, including through the present, allows Tyson and

other Defendants to reduce production on a month-to-month basis and have opportunities to

learn more information about one another’s production and pricing.

        255.    On a February 21, 2014, earnings call, Pilgrim’s President & CEO Bill Lovette

reflected on what had led to record earnings for Pilgrim’s. He noted that “I think the one thing

that creates...has created that stability is the discipline of the industry to not allow profitability in

the past to drive supplies in the future. I think we all have an understanding that our industry is

mature, especially in the U.S. Consumption of total meat in the last five years has not grown and

our growth in the future is going to come from markets outside the U.S. And so, we have a

different model today than we had 15...10 or 15 years ago in that consumption in this country is

not growing as robustly as it used to. And I think that discipline really, Ken, is the one

ingredient that has made for more stable earnings that we have seen. We have certainly seen a

lot of volatility in feed ingredient costs, even as recent as this past year. And I don’t know

what...I mean you can make a solid argument for corn and soybean meal being much cheaper in

2014 and ‘15, given the rebuilding of world inventories of corn and growing inventories of

soybeans. But we just don’t know what the next weather event in either, South America, North

America or even Eastern Europe may present in terms of the supplies of those feed ingredients.”

        256.    On March 12, 2014, Tyson CEO Donnie Smith attended an industry conference

and told the attendees that “[a] ‘meaningful change’ in bird production won’t occur until the




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second half of 2015.” Smith’s confidence about broiler production was possible because of the

radical reductions in Broiler breeder flocks Defendants had made during 2011 and early 2012,

which Smith knew made it impossible for Defendants to “meaningful[ly] change” Broiler

production.

       257.




       258.    Industry analysts noted the change in the nature of Defendants’ production cuts.

On May 6, 2014, a Stephens, Inc. analyst said in an interview that historically “it has been very

easy to increase the chicken supply because the cycle is so short. It only takes four to eight

weeks to grow a chicken, but U.S. chicken producers are having a hard time increasing the

chicken supply by much. They cut production capacity throughout the supply chain when grain

prices were very high. Because of this, they cannot materially increase supply for 2014. We

likely won’t see a material increase in production until the second-half of 2015.”

       259.    During 2013 and into 2014, Defendants continued to find ways to actively depress

the size of Broiler hatchery flocks, such as using the pretext of avian flu in Mexico to justify

exporting hatchery flock Broilers to Mexico to repopulate flocks rather than use such Broilers to

increase domestic production levels. Indeed, Defendants continued their program of exporting

Broiler hens and eggs to Mexico in 2015, with Tyson explicitly noting in a May 4, 2015,

earnings call that it was sending 3% of its eggs to Mexico to “fill incubators.” Similarly, during

a July 2016 earnings call, Pilgrim’s CEO Bill Lovette noted his “confidence that we’re going to

do the right thing with respect to maintaining [] discipline. We’ve certainly had the hatching egg

supply to grow much more if we chose not to export those eggs. I think in May we exported 81




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million hatching eggs or so outside of the country. The industry could have chosen to set some

of those eggs domestically, but that was not the choice that was made. And so again that gives

us confidence that we’re going to continue to be disciplined as an industry.”

       260.    Defendants’ coordinated exportation of Broiler hatching eggs from the U.S. from

2013 through the present is an active effort to artificially reduce the supply of Broilers in the

U.S. below what it would be absent Defendants’ active and continued participation in an illegal

antitrust conspiracy.    Upon information and belief, Tyson and other Defendants exported

hatching eggs to Mexico and other foreign countries from 2013-2016 to artificially reduce the

supply of Broilers in the U.S. and increase the price of Broilers in the U.S. The value Tyson and

others received for exporting hatchery eggs to Mexico would have been far exceeded by the

price Tyson would have received for hatching those same eggs in the U.S. and selling the

resulting Broiler meat in the U.S. market.      Therefore, but for Defendants’ agreement and

conspiracy as alleged in this Complaint, it would have been against Tyson’s independent

economic self-interest to export hatching eggs to Mexico and to forgo higher hatching egg prices

in the United States. But Defendants’ new-found discipline ameliorated any remaining risk and

resulted in higher U.S. broiler prices.

       261.    According to an October 1, 2014, CoBank analysis of the Broiler industry, the

strategy of Defendants to target Broiler breeder flocks paid dividends during 2013 and 2014.

According to the report, “[b]roiler product demand should remain robust through the rest of this

year and well into 2015, bolstered by a gradually improving domestic economy, continued

strength in export demand, and the towering prices of beef and pork.            Broiler production,

however, has been slow to respond, with integrators having had problems expanding the number

of chicks placed for growout. Broiler meat production is on track to grow just 1.5 percent in




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2014 from a year ago, with a similarly modest gain expected for 2015. Producers have been

somewhat constrained in their attempts to expand the nation’s chicken flock by the limited

supply of broiler hatching eggs. When the broiler-producing industry reduced production in

2011 and 2012, the hatchery supply flock was also reduced, and it has not yet been rebuilt to

prior levels. Following seven months of [Year-over-Year (“YoY”)] declines, the number of

chicks placed for growout finally posted a modest 1 percent YoY gain in August. However, it

will take another 6-9 months for integrators to rebuild the supply of broiler hatching eggs in

preparation for expanding the overall flock, so significant growth in broiler production will not

materialize until late-2015 or early-2016.”

       262.    On October 10, 2014, NCC President Mike Brown wrote an op-ed in The

National Provisioner. The title of Brown’s article, “Biofuel policy holds back production ramp-

up,” continued to blame the Broiler industry’s boogey man of the Renewable Fuel Standard (aka

the ethanol mandate) instead of Broiler producers’ collusive agreement to not increase

production in line with demand. Brown wrote, “current favorable market conditions would

normally stimulate production to be somewhat higher, that is, a percentage more aligned with the

long-run annual average of 4 percent. So why are chicken producers not stepping up production

to better match the long-term average of 4 percent? We would if we could, but we can’t. We

would like to produce more pounds of chicken, but unfortunately we are not there yet. The

primary reason for the industry’s inability to increase production can be attributed to problems

caused by a failed policy” of the Renewable Energy Standard. Brown also went on to blame

fertility issues in the breeder stock and a propane shortage that made it difficult to heat chicken

houses as other reasons the industry could not increase production.




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       263.    On October 29, 2014, Simmons Foods announced the closure of its Jay,

Oklahoma spent hen processing plant. Spent hens are Broiler breeders that have reached the end

of their productive life cycle. The Simmons facility processed spent hens on behalf of many

Defendants, providing Simmons with opportunities to monitor changes in other Defendants

Broiler breeder supplies. The closure of Simmons’ Jay, Oklahoma facility is indicative of the

reduced Broiler breeder capacity resulting from Defendants’ initiatives to cut Broiler breeder

capacity across the industry.

               7.      Avian Flu Disrupted The Export Relief Valve During 2015, But Prices
                       And Profitability Remained Relatively Stable Into 2016.

       264.    Signs in late 2014 began to point towards the possibility of rising production

levels. A few Defendants announced production cuts, but due to the substantial reductions in

Broiler breeder flocks Defendants had already taken, Defendants’ production was already

constrained. Defendants undertook various affirmative acts in furtherance of the conspiracy,

including exporting of hatching eggs outside the U.S., inter-Defendant purchases in furtherance

of Defendants’ conspiracy such as Tyson’s Buy vs. Grow program, breaking eggs rather than

setting eggs, dumping of excess Broiler supply in foreign markets, closing Broiler production

facilities, and manipulating at least one Broiler price index.

       265.    For example, Tyson announced on May 4, 2015, the closure of its Buena Vista,

Georgia, Broiler plant as part of an ongoing effort to “increase efficiencies.”    Tyson also

announced it was eliminating one shift at its Dawson, Georgia plant. Tyson announced in May

2015 that it planned to reduce its production after July 2015 and keep production flat through

2016 by increasing its Buy vs. Grow purchases.




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         266.   In addition to the continuation of Defendants’ illegal supply restriction that

artificially increased the price of all Broilers, around January 2013 the Georgia Dock price index

began to deviate significantly from other price indices

         267.   Due to the GDA’s One Cent Rule, it was not possible for only one or two Broiler

companies to report a significantly higher Broiler price to the Georgia Dock without being

disregarded as outliers by the GDA. Accordingly, on information and belief, Plaintiff alleges

that Defendants and their Producer Co-Conspirators began collectively reporting prices to the

GDA that not only were identical or nearly identical, but also were significantly above the actual

market rate. As a result, Georgia Dock prices continued to rise and later stabilize during 2013-

2016 at near historic highs. As described further herein, it was not until a series of articles was

published between November 3, 2016 and November 17, 2016 that information was publicly

available to show Defendants and the Producer Co-Conspirators manipulated the Georgia Dock

price.

         268.   During 2015, despite the devastation the Avian Flu caused to the turkey and table

egg industries, the Broiler industry was largely unaffected by the disease, with the primary effect

being temporary bans on exports from some specific states or of all Broiler exports from the U.S.

to various countries, such as China, Korea, and a number of other nations.

         269.   Avian Flu-related export limitations during 2015 caused frozen Broiler

inventories to build up in the U.S., threatening the stability of Broiler prices Defendants had

worked to increase since 2008. In response, Defendants worked in concert to coordinate the

dumping of excess inventories of Broilers in foreign markets to avoid deterioration of the

artificially high prices in the U.S. resulting from Defendants’ conspiracy. For example, in early

October 2015, Vietnam launched an inquiry into dumping by U.S. Broiler producers after




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Vietnamese Broiler producers determined that dumping of frozen chicken by U.S. producers had

cost it over $120 million in the last 16 months. A report by Vietnam’s Southeast Livestock

Association concluded that U.S. Broiler companies were selling chicken thighs in Vietnam for

29% of the price of a similar product sold in the U.S. market (e.g., at a Walmart), excluding the

additional cost of frozen shipping rates, import duties and other fees associated with U.S.

producers selling chicken thighs in the Vietnamese market. By late May 2016, Sanderson Farms

CEO Joe Sanderson reported on an earnings call that all but one of the Avian Flu export bans had

been lifted.

        270.   In late 2015, Broiler industry analyst Heather Jones noted that chicken supplies

had not increased as expected from the Avian Flu due to the fact Defendants had started breaking

eggs rather than setting eggs. Defendants coordinated the breaking of eggs with one another

during 2015, in part, by the exchange of production information through Agri Stats.

        271.   Watts PoultryUSA’s March 2016 issue stated that Tyson Foods achieved “record

earnings and sales in fiscal year 2015 . . . posting $40.6 billion in sales, including ringing up

higher chicken sales. Yet, Tyson lowered chicken production in 2015. What’s at work here?

This paradoxical performance, in part, reflects the fact that Tyson, along with other top U.S.

broiler companies, is redefining its business model to achieve profitable growth.” In fact, the

explanation for Tyson’s “paradoxical” 2015 performance including increasing its Broiler profits

but lowering its Broiler production—was the result of the illegal conspiracy alleged in this

Complaint.

        272.   Prices during the first half of 2015 remained relatively flat, which led NCC

President Mike Brown to write another op-ed in The Wall Street Journal on May 15, 2015, to try




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to explain why Broiler prices remained so high. Like his previous op-ed, he again blamed the

Renewable Fuel Standard for increased Broiler prices.

       273.    During 2016, Broiler prices declined, but significantly less so than input costs.

Defendants have maintained artificially high Broiler prices and high profitability during 2016 by

exercising “discipline” on their Broiler supply and manipulating at least one Broiler price index.

       274.    For instance, during an April 2016 earnings call, an analyst noted that Pilgrim’s

CEO Bill Lovette “mentioned that you think the industry domestically has been much more

disciplined than they have been in the past, I’m wondering if you could just elaborate a little bit

more on what sort of drives that view and then maybe what gives you confidence that this

discipline will hold.” Lovette responded, “[w]hat drives the view is the actual numbers that we

see, ready to cook pounds are up about 3.1% year to date. If you look at placements year to date,

they’re up 1%, egg sets up 0.7%, hatchery utilization actually declined in Q1 to 91%. So in the

phase of coming off two of the most profitable years in the industry, we’re not seeing, not

realizing large amount of production increases.”

       275.    Demonstrating the industry’s supply growth discipline, Pilgrim’s CFO Fabio

Sandri immediately built on Lovette’s comments by adding that the “industry is more geared

towards profitability rather than just market share or field growth.”             In other words,

Defendants prefer to cooperate with another rather than maximize profits independently.

       276.    Lovette isn’t the only CEO who has recently been pressed to explain the marked

shift in the Broiler industry’s profitability in recent years. During a February 2016 Sanderson

Farms earnings call, BMO Capital Markets analyst Ken Zaslow noted the Broiler industry’s

history of volatility in pricing and profitability for chicken companies and questioned if there

was “any changing of the industry dynamic” that had occurred. Sanderson Farms CEO Joe




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Sanderson replied “we might be at a capacity wall, you know? . . . Since back in 2007 . . . there

are three or four plants shuttered . . . It does feel different.”

        277.    A January 18, 2016, article in The Wall Street Journal questioned whether

Defendants, including Tyson, Sanderson Farms, Pilgrim’s, and Wayne Farms, have intentionally

manipulated the pricing data they report to the Georgia Department of Agriculture. In early

November 2016 evidence became public suggesting that Defendants and Producer Co-

Conspirators may be fixing the Georgia Dock price.

        278.    During a Broiler industry conference in February 2016, industry analyst Dr. Paul

Aho reported that overall profitability has remained steady or increased, as input costs have

drastically decreased. Aho explained that during 2016 there have been “broad-based declines in

key commodities, especially feed grains and energy.” In fact, in May 2016 Tyson posted record

quarterly growth, with profit margins for Broilers rising to between 9 and 11 percent.

        279.    Not only is the harmony among Defendants and resulting high profit margins

achieved by Tyson and other Defendants in recent years remarkable, so is their fairly recent

ability to accurately predict their profit margins into the future. For instance, before 2008, Tyson

had profit margins in the 5-6% range and would not predict future profit margins, but after 2008,

Tyson would routinely predict record margins of 13% or more with surprising accuracy.

        280.    Defendants also continued using the use of signals to one another to perpetuate

their conspiracy during 2016 by using the code word “discipline” to note their continued

adherence to Defendants’ conspiracy.          For instance, during a February 2016 earnings call,

Pilgrim’s CEO Bill Lovette noted that “[t]he industry continues to be disciplined in terms of U.S.

supply. Although monthly pullet data tend to be volatile and have occasionally been at the high

end of our expectations, we see modest growth of the breeder flock, and more importantly, little




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to no increase in egg sits [sic] and chick placements as a positive. We believe that at least part of

the reason is because chicken producers are being disciplined and are much quicker to react than

in the past and in adjusting supply growth to the actual market conditions.” Similarly, in a July

2016 earnings call, Pilgrim’s CEO Bill Lovette noted that “I think what we’ve seen with egg sets

is absolutely a testament to the discipline of our industry that we’ve seen the last really two to

three years.”

C.     Defendants Relied Upon Defendant Agri Stats To Facilitate Communications
       Among Defendants And To Provide Data And Analysis Critical To The Monitoring
       And Enforcement Of Defendants’ Conspiracy.

       281.     According to a May 2010 study prepared for the National Chicken Council

(“NCC”), Agri Stats, Inc. is a private company that generates Broiler industry data “considerably

more detailed than [] USDA reports,” including data on weighted average price, top third

average, bottom third average, and volume traded on a daily, weekly, and monthly basis, and

supply, sales volume by detailed product type and form, export, and pricing information for

whole and cut-up Broilers.

       282.     The USDA and various other entities publish aggregated weekly, monthly, and

annual supply and pricing information concerning the Broiler industry. But only Agri Stats

receives from Defendants, and then provides to Defendants and other producers, information

with sufficient detail to accurately determine producer-specific production, costs, and general

efficiency.

                1.     Agri Stats Collects Defendants’ Competitively Sensitive Data and
                       Provides Defendants Reports of Each Other’s Production Metrics.

       283.     Agri Stats collects from and reports back to Defendants detailed statistics on

almost every conceivable operating metric within the industry, including but not limited to:

       (a)      Name of genetics company used for primary breeder stock;



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       (b)    Hatchery capacity, costs, and age of Broiler breeder flocks;

       (c)    Feed Manufacturing, Delivery and Formulation data, including corn and soybean
              meal costs;

       (d)    Growout information for Broiler “flocks” provided to contract farmers, including
              the number of Broilers placed, chick mortality by week and overall percentage,
              chick cost, days between flocks provided to contract farmers (aka, “down time”),
              feed conversion rate (pounds of feed per pound of Broiler), average daily weight
              gain by chicks, live pounds produced per square foot of grower house, grower
              compensation, including average grower payment in cents per pound and cents
              per square foot, breed composition of flock (breed or cross-breed of flocks),
              detailed information on numerous mechanical aspects of Broiler housing, and
              numerous other detailed cost, mortality, and operational information about
              disease, transportation, labor, and other grow out related information;

       (e)    Slaughter, processing, and further processing information, including pay for
              processing plant workers, total production volume, market age of Broilers at
              slaughter, weight of Broilers at slaughter, birds per man hour, processing line
              speeds, and labor hours per pound;

       (f)    Inventory levels of Broilers;

       (g)    Sales data for finished product form and type, such as type of cut (whole bird, cut-
              up, deboned), various packaging forms (such as bulk, tray pack, etc.), and data
              segmented into various categories (such as exports, retail, foodservice, etc.); and

       (h)    Financial information, such as monthly operating profit per live pound, sales per
              live pound, and cost per live pound.

       284.   Agri Stats collects data from Defendants, audits and verifies the data, and even

reports back to Defendants, detailed statistics on nearly every operating metric within the

industry, including the size and age of breeder flocks.       Agri Stats’ survey methodology

involves—from and to Defendants—direct electronic data submissions of financial, production,

breeder flock size and age, capacity, cost, and numerous other categories of information by each

chicken producer on a weekly and monthly basis.

       285.   Agri Stats has profited from collecting and reporting Defendants’ confidential

business information, including by charging substantial fees of hundreds of thousands of dollars

annually to each Defendant. Around March 2014, Agri Stats was acquired by the Eli Lilly



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company, which has allowed Eli Lilly to sell drugs and vaccines to Broiler producers based on

the information Eli Lilly obtains through Agri Stats about producers’ operations.

       286.     According to former Pilgrim’s CEO Don Jackson, Agri Stats is “basically a []

third party accounting firm that companies [use] in their process.” Agri Stats claims its mission

is to “[i]mprove the bottom line profitability for our participants by providing accurate and

timely comparative data while preserving confidentiality of individual companies.” Agri Stats

describes itself as a “benchmarking” service, which it says “allows organizations to develop

plans on how to adopt best practice, usually with the aim of increasing some aspect of

performance.”

       287.     According to an expert witness for Pilgrim’s in contract-farmer litigation against

Pilgrim’s, “[p]robably no one in the industry would know better than [Agri Stats economist]

Mike Donahue [as to whether Broiler production increased in 2008] because EMI is the same

company as AgriStats, which is the company that gathers operating statistics from virtually every

company in the chicken industry. And they know definitively how many breeders are out there,

how many pullets are out there, how many broilers are produced every week, and head count and

pounds, everything else. They have massive amounts of statistics. And that’s why they’re so

effective at reporting all of this [production information].”

       288.     Upon information and belief, in the wake of a $1.3 billion jury verdict in 2004

against Tyson for a conspiracy to manipulate pay to cattle farmers, increased fears of antitrust

liability led Tyson to withdraw from Agri Stats. However, in or around January 2008, Tyson

resumed its participation in Agri Stats.

       289.     Certain Agri Stats reports list complex-level data for roughly 120 Broiler

complexes and identify each complex with unique numbers, including identifying the sub-region




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of the data for each Broiler complex. At each of Defendants’ Broiler complexes, an employee is

responsible for submitting its data to Agri Stats. Agri Stats relies upon a detailed audit process to

verify the accuracy of data from each complex, sometimes directly contacting Defendants to

verify data.

       290.    Agri Stats purports to maintain the confidentiality and anonymity of individual

companies’ data by providing each company a report identifying only that company’s specific

Broiler complexes by name, but not identifying by name other Broiler producers’ complexes

described in the report. For instance, in May 2008 Sanderson Farms CEO Joe Sanderson

claimed “[w]e use Agri Stats, which some of you are probably familiar with. Agri Stats is a

benchmarking service that we submit data to. Almost everyone in our industry does as well.

And we get the data back. It’s anonymous — the data is anonymous, so we don’t know whose

numbers the numbers belong to, but we can see performance indicators all over the industry.”

(emphasis added)

       291.    However, Defendants can (and do) readily determine the identity of the reporting

competitors. Agri Stats’ reports are so detailed that a reasonably informed producer can discern

the identity of competitors’ individual Broiler complexes, and it is common knowledge among

producers that others can do so. For example, the specific type or size of a Broiler house, breed

of chick, average bird size, and production levels listed in Agri Stats data for complexes allows

an industry insider to identify each Defendant’s individual Broiler complexes. Some Defendants

refer to the task of determining the identity of individual competitor’s data as “reverse

engineering.” Indeed, each Defendant knows that when it provides its internal, confidential

information to Agri Stats, the other producers will be able to access that information and identify

the Defendant that submitted it.




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       292.    Agri Stats plays a particularly important role in Defendants’ signaling practices

and policing efforts. The specific data in the Agri Stats reports allows any given Defendant to

interpret the public statements and other publicly-available information about its competitors to

determine which complexes are cutting back, and by how much. For example, if in January, a

Defendant publicly states its intention to reduce production—even generically, without

specifying which complexes will cut back, or by how much—all of their fellow cartel members

will be able to tell from the February and March Agri Stats reports whether that Defendant is

following through on its conspiratorial agreement. Further, Defendants Tyson, Pilgrim, and

Sanderson are public companies that report some aggregated data publicly, which executives

from other companies use to match up against the far more detailed information in the Agri

Stats’ reports to identify other specific data from their competitors.

       293.    Each Defendant receives numerous types of Agri Stats reports, including separate

targeted reports for each major area of operations including, but not limited to, its breeding,

hatching, hauling, feeding, processing, selling, and administration, which are regularly shared

with area managers specifically dealing with those categories of information in their daily

business. Summaries of these separate Agri Stats reports are regularly provided to Defendants’

senior executives. Within each report, unique information referring to supposedly “anonymous”

data permits Defendants to identify their competitors’ information contained within each

category of report.

       294.    While some of Defendants’ managers received the targeted reports for the specific

aspects of Broiler operations for which they have responsibility, only the CEO, CFO, and a few

other top executives at Defendants are given access to Agri Stats’ monthly “Bottom Line Report”

that is geared to top level executives at each company. The contents of the Bottom Line report




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are a closely guarded secret by company executives. The report contains one row for each

Broiler company reporting to Agri Stats, then has columns for certain categories of information,

such as operating profit dollars, profit percentage, corporate SG&A (aka overhead), interest

expense, and other key operational information. While each company receives a report that only

identifies by name that particular company’s “row” in the Bottom Line Report, top executives at

each company know their competitors well enough to pick out recurring unique data points for

other companies such that they are often able to identify competitors on the Bottom Line Report.

Furthermore, Tyson, Pilgrim, and Sanderson are public companies which report some aggregated

data publicly, which top executives from other companies then can match up against the far more

detailed information in the Bottom Line Report to help identify specific data from these

companies. In other instances, a company’s interest expense data in Agri Stats can be matched

up against information already known about each Defendant’s debt level.

       295.    Even if a producer cannot individually identify a specific competitor’s data from

the Bottom Line Report, Agri Stats’ employees are able to confirm for Defendants the data for a

particular company at quarterly meetings with each company or at the numerous trade

association meetings where Agri Stats executives present on a regular basis. For instance, Agri

Stats provided a service to Defendants whereby each quarter Agri Stats would meet each

Defendant’s executives and make a detailed presentation about company and industry data. At

these presentations, Agri Stats would lead detailed discussions about industry profitability and

the key factors that contribute thereto, including items such as size and average age of Broiler

breeder flock, average hatchability of eggs, mortality rates, average bird rate, feed cost, and other

performance factors based on data Defendants provided. At these presentations Agri Stats would

also lead discussions about the overall profit of the company and industry, including rankings of




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companies, overall industry average, and top and bottom third of the industry. Agri Stats would

also tell company executives how much the industry was over- or undersupplying the market,

indicate its estimate of demand, and share other information based on the data Defendants

provided. At such meetings, Agri Stats would often be asked to confirm the identity of a

particular competitor in an Agri Stats report, which it could do more subtly during the Q&A

portion of the meeting. Further, since Agri Stats travelled between each Defendant regularly and

discussed each Defendant’s non-public, proprietary data, Agri Stats was in a unique position to

share information among Defendants.

       296.    Agri Stats reports are not currently publicly available because Defendants and

Agri Stats permit only participating Broiler producers to receive the reports. Thus, there is little

publicly available information about even the categories of information contained in the lengthy

weekly and monthly reports that each Broiler producer receives. For instance, in response to a

request for production of Agri Stats reports by the State of Oklahoma in litigation involving

environmental issues, George’s Inc. responded that Agri Stats “information is proprietary,

privileged and is also confidential business/financial information not subject to disclosure.”

Nevertheless, despite the tight control over Agri Stats data, the National Chicken Council has

ready access to it and relies on Agri Stats data summaries for its studies and publications.

               2.      Defendants’ “Public Statement That They Coordinated Show
                       Restrictions in Broiler Supply During The Relevant Time Period.

       297.    Defendants rarely mention their “proprietary, privileged, and confidential”

exchange of information with one another through Agri Stats. However, on a very small number

of occasions, Broiler producers (primarily Sanderson Farms) have referenced Agri Stats

information on earnings calls or in public statements. For instance, Sanderson Farms CEO Joe

Sanderson commented on an earnings call that he “look[s] at Agri Stats and see[s] what people



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are doing and not doing.” Sanderson Farms also reported in May 2008 that “every year we

review our operations and every facet within Agristats... we set operational goals every year . . .

and [we] try to improve our operations within this benchmarking service we call Agristats.”

       298.    Sanderson Farms CEO Joe Sanderson also commented on a December 2009

earnings call that “my judgment is that based on what I see in Agr[i] stats nobody is planning

on, pullet placements say no ramp up and what I’ve gleaned from Agr[i] stats, people are

not planning on ramping up. I see a lot of information from Agr[i] stats that tells me that

nobody is going to ramp up.” (emphasis added). Sanderson Farms CEO Joe Sanderson

commented in a May 2011 earnings call that “my judgment is that there will be some others that

are going to have to make some adjustments that I believe cuts will be forthcoming in our

industry based on the losses we see in Agri Stats.” Asked later on the call by an analyst why he

had said on the call and a few months earlier that he “feel[s] confident that we are going to see

cutbacks” based on Agri Stats data, Sanderson indicated “industry participants expected that

[the market would improve in June and July] and I think they wanted to carry their

production into June and July and see if the market would reward them for that it appears

right now. . . . And then once you get past July 4. . . I think then you will start seeing reduced

egg sets. . . . Typically in my experience the first cut is not enough and you go back and look at

2008, I think the industry started cutting back maybe in June and that cut back was not

enough and then they made another cut in the late fall and I believe the industry became

profitable in January.” (emphasis added).

       299.    At a May 19, 2010 BMO Conference, Tyson compared its operating profit per

live pound statistic from Agri Stats against what it said were the total of 121 plants in the Agri

Stats survey. Tyson Foods noted in a December 2014 investor presentation that “[t]he point




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being is that when you talk about the chicken cycle, most people will look at the cyclicality. It’s

very profitable right now. And we will not hit the top of the top, because within the profitability

segmentation right now, the most profitable segments are in fact big bird, and secondly, tray

pack. We can tell that through Agri Stats. Now at the same time, when there is more poultry

available and the industry may not be as profitable, we would not expect to be anywhere close to

what the bottom of that cycle would be.” (emphasis added).

       300.    Similar to the rest of the Defendants, Agri Stats on occasion refers to the secret

exchange of information it facilitates among the chicken producer Defendants.               In many

instances, Agri Stats has played the role of industry cheerleader rather than industry

benchmarking service, with Agri Stats suggesting specifically how much Broiler production

should be cut based on Agri Stats data.

       (a)     In July 2012 trial testimony in a contract-farmer lawsuit against Pilgrim’s,
               testimony revealed that a November 2008 Agri Stats report “made statements to
               the effect that it thought the industry was 5-percent oversupplied . . . relative . . .
               to demand.”

       (b)     Agri Stats holds regular “poultry outlook conferences” for meat industry
               executives. For instance, Agri Stats hosted an April 23, 2015, conference in
               Atlanta, Georgia for which an agenda indicated a presentation by Agri Stats Vice
               President Sue Trudell would be provided concerning the “broiler market situation
               and outlook” and an analysis of feed and macroeconomic factors. Such
               presentations are restricted from circulation outside the invited participants to
               EMI’s poultry outlook conference and are not publicly available.

       (c)     Defendant Sanderson Farms invites Agri Stats employees to present about the
               industry to Sanderson’s own investors, such as an October 18, 2013, presentation
               by Agri Stats Vice President Sue Trudell.

       (d)     In January 2009 Agri Stats Vice President Mike Donohue commented that “We
               [i.e., Broiler producers] are an industry that is in demand . . . . We have a product
               that people want and continue to consume.” (emphasis added).

       (e)     Agri Stats subsidiary EMI also holds regular invitation-only “Analytics Web
               Conference” calls.




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       (f)     Agri Stats Vice President Donohue also frequently appears at industry events,
               such as the Spring 2011 IPE conference. Donohue provided comments as part of
               an annual “market intelligence” forum about various industry performance
               metrics. Additionally, Donohue’s co-panelist, Broiler industry insider Paul Aho,
               explicitly suggested “[t]he market is calling for around a 5% reduction in chicken
               production” in order for producers to achieve higher prices in 2011.

       (g)     Donohue also authors articles for the Agri Stats publication EMI Vital Signs. For
               instance, the sole “sample” publication available on EMI’s website is a May 2013
               article in EMI Vital Signs by Donohue, which analyzes whether Broiler producers
               could continue to achieve high profit levels. Donohue carefully analyzed Agri
               Stats data concerning pricing, inventory, and production levels, ultimately
               concluding “[w]hen supply and demand factors are in good shape the industry can
               get a good return on investment and for the short and medium term it appears that
               there is certainly room for optimism in these factors.”

       (h)     Donohue helps forecast supply and demand for the Broiler industry by using Agri
               Stats data on breeder placements and inventory. For instance, at the US Poultry &
               Egg Association’s Hatchery-Breeder Clinic in January 2012, Donohue noted that
               chicken breast prices were at a particularly high level and “[i]t’s not just cutbacks
               in production that have already occurred but seasonal demand later this year
               which may set the industry up for an even better first half of 2012,” he said. “I
               hope this carries over into the latter half of 2012 based on some of the production
               forecasts that can be made based on breeder placements and inventories.”
               Donohue also noted a concern that “if the industry chose to do so, it could ramp
               up production within a 10-week period of time. The industry could blow apart
               any recover[y] in the short term by filing up incubators again,” but noted that Agri
               Stats data indicates the industry is slaughtering breeder flocks at 59 to 60 weeks
               (instead of the typical 65 weeks), which suggested to him the industry was
               managing its production carefully.

               3.      Agri Stats Permitted Defendants to Restrict Industry-Wide Production
                       During The Relevant Time Period.

       301.    One Broiler industry expert testified in a contract-farmer case that the sharing of

information through Agri Stats by Broiler producers regarding pay for contract-farmers creates

“a potential vehicle for collusion” and presents a “classical antitrust concern.” This conclusion is

important because besides Defendants, their agents, and their co-conspirators, only expert

witnesses and court-approved advisors in a handful of prior litigation have even seen an actual

Agri Stats reports, but such individuals are expressly prohibited from publicly releasing or

discussing such reports by the terms of protective orders Defendants and their Producer Co-


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Conspirators require before producing Agri Stats reports in discovery. The same expert also

remarked that Agri Stats was unusual even among other price surveys, noting “[t]he sharing of

price and other market information by so-called competitors is well known as a significant

antitrust issue. Grower payout and cost information shared by most integrators is incredibly

detailed and comprehensive. As such it could provide critical data for competition investigations

and analyses of oligopoly and oligopsonistic behavior far more complex and advanced than

available for any other agricultural industry. An intensive inquiry is needed.”

       302.




       303.    There is no plausible, non-conspiratorial justification for Defendants to use Agri

Stats to secretly share highly confidential and proprietary information about their breeder flock

size and age, pricing, capacity, production, and costs at all, much less at the level of detail in

which they do. In a competitive market, such proprietary, competitively sensitive information

should be a closely guarded secret. Economic theory suggests that the routine exchange among

competitors of such sensitive internal company information reduces competition.

       304.    The FTC’s and DOJ’s 2000 Guidelines For Collaborations Among Competitors

(“FTC/DOJ Guidelines”), and presentations by FTC attorneys, suggest that Agri Stats is far

outside the scope of permissible information sharing among competitors. For example:




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                A.     The FTC/DOJ Guidelines note the high risk of antitrust issues for
                       information sharing programs in industries with a history of collusion.

                B.     The more competitively sensitive the information being shared, the higher
                       the antitrust concern for such information sharing. The weekly and
                       monthly Agri Stats reports include dozens of categories of detailed
                       information that in a competitive industry would be considered trade
                       secrets. Therefore, the competitive sensitivity of Agri Stats reports
                       suggests a particularly high level of antitrust concern.

                C.     The older or more historical the information being shared, the less concern
                       the FTC and DOJ have with information collaborations. However, Agri
                       Stats reports are issued weekly and/or monthly, and its EMI reports are
                       issued daily, so as to provide nearly current production, sales, and other
                       data to Defendants. Moreover, the nature of Broiler breeder flocks is that
                       they predict future Broiler supply, so by sharing such information in a way
                       that permits company-by-company identification, Defendants are in fact
                       sharing future anticipated production information with one another, which
                       clearly suggests high antitrust concern under the FTC/DOJ Guidelines.

                D.     The FTC/DOJ Guidelines also provide a “safety zone” (i.e., presumptively
                       permissible) for collaborations among competitors that account for no
                       more than 20 percent of each relevant market in which competition may
                       be affected, but Defendants and their Producer Co-Conspirators account
                       for approximately 90-95% of Broiler production.

        305.    A sworn declaration from a poultry and egg industry expert stated, with respect to

Agri Stats, that:

        Individual disclosure is not required when industry participants are familiar enough with
        the industry to connect the information supplied with the individual companies at issue.
        My experience is that competitors . . . are prolific at quantifying their competitor’s
        business information on their own. For example, industry processors share commercial
        data through companies such as AGRISTATS (Fort Wayne, IN), a shared business
        database company . . . started for the poultry industry in 1985. AGRISTATS has the
        following mission statement: “IMPROVE THE BOTTOM LINE PROFITABILITY FOR
        OUR PARTICIPANTS BY PROVIDING ACCURATE AND TIMELY
        COMPARATIVE DATA WHILE PRESERVING THE CONFIDENTIALITY OF
        INDIVIDUAL COMPANIES.” Note the mission is to share comparative data while
        protecting individual companies. I can speak personally that I have seen and read these
        broiler industry reports, and, based on my familiarity with the industry, I can easily
        connect the information supplied with the individual companies whose confidentiality is
        supposedly preserved. Therefore, it is my opinion that virtually everyone in the industry
        can connect the information supplied in AGRISTATS with the individual companies who
        supplied the data.



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       306.    A 2017 Bloomberg News article titled “Is the Chicken Industry Rigged? Inside

Agri Stats, the Poultry Business’s Secretive Info-Sharing Service,” highlighted the role Agri

Stats plays in Defendants’ efforts to monitor and police their cartel:

       Peter Carstensen, a law professor at the University of Wisconsin and former Justice
       Department antitrust lawyer who has studied Agri Stats while researching the modern
       poultry industry, casts the level of plant-by-plant detail in the company’s reports as
       “unusual.” He explains that information-sharing services in other industries tend to deal
       in averaged-out aggregated data—for example, insurance rates in a given state. Such
       services run afoul of antitrust law, he says, when they offer projections or provide data so
       detailed that no competitor would reasonably share it with another. Getting detailed
       information is a particularly useful form of collusion Carstensen says, because it allows
       co-conspirators to make sure they’re all following through on the agreement. “This is
       one of the ways you do it. You make sure that your co-conspirators have the kind of
       information that gives them confidence—so they can trust you, that you’re not cheating
       on them,” he says. “That is what creates stability for a cartel.”

D.     Defendants And Their Co-Conspirators Manipulated The Georgia Dock To Further
       Their Conspiracy.

       307.    Defendants’ successful efforts to boost chicken prices by collectively reducing

supply was buttressed in the latter years of their out-put reduction scheme by their collusive

manipulation of the Georgia Dock benchmark price index, a chicken industry pricing benchmark

contained in contracts between Defendants and a significant proportion of their customers,

including Plaintiff AWG. The Georgia Dock, USDA Composite, and Urner Barry all measure

the same (or very similar) size and grade of chicken. The Georgia Dock benchmark price index,

like the other two indices, sets prices for both the “whole bird” and various parts of the chicken

(wings, tenders, leg quarters, thighs, drumsticks and breasts) using the same pricing

methodology. The “whole bird” price is the baseline for pricing all parts of a chicken.

       308.    Buyers, including Plaintiff AWG, relied on the Georgia Dock benchmark price

index because Plaintiff believed it accurately reflected the market price for the chicken it

bought—especially since the Georgia Dock was an industry-accepted benchmark price index for

wholesale chicken prices that was, according to an internal memorandum drafted by the Florida


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Attorney General’s office as part of its investigation, “meant to reflect the market price of

chicken.” And, much like the world’s largest banks came together to manipulate numerous

financial benchmarks (such as LIBOR), the Georgia Dock Defendants came together to

manipulate the Georgia Dock benchmark price index.

       309.    Compared to the two other indices available, there were significant differences in

how the Georgia Dock benchmark price index was compiled that made it highly susceptible to

manipulation by Defendants.

                      a.      The Georgia Dock Pricing Methodology and its Susceptibility to
                              Manipulation.

       310.    The Georgia Dock price index was compiled on a weekly basis by the GDA until

November 2016. For decades, it had been used by producers and others as a benchmark to set

Broiler prices. Until very recently, little if any information was publicly available regarding how

the GDA compiles the Georgia Dock price.             In fact, Defendants and their Producer Co-

Conspirators intentionally disseminated misinformation that the Georgia Dock price is derived

through a complex algorithm and is an accurate and reliable measure of actual Broiler transaction

prices. Public revelations in early November 2016, however, indicate for the first time that the

Georgia Dock price index is not only unreliable, but that its survey methodology made it highly

susceptible to manipulation by Broiler producers.

       311.    To compile the Georgia Dock price index, according to an internal GDA

document provided recently to the New York Times through an open records request, “each

participating [Broiler producer] company is called [by the GDA] on Wednesday every week to

report the price offered to companies in which they have contracts in place with.” A single price

was given by each Broiler producer company, and it was accepted without any verification of

actual invoices, double-verification with purchasers, or any other form of auditing to verify



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accuracy. Remarkably, in response to a recent press inquiry, the GDA justified its failure to

audit any self-reported data from Defendants and their Producer Co-Conspirators by stating, “We

don’t see any reason they would submit information that wasn’t truthful.”

       312.    Despite the GDA’s public statements about confidence in the Georgia Dock price

index, the GDA employee who collected prices each week from Broiler companies, Arty

Schronce, was deeply concerned. In a September 2016 internal GDA memorandum (hereinafter,

“September 2016 Schronce Memorandum”) disclosed publicly for the first time on November

17, 2016, in a Washington Post article, Mr. Schronce wrote that he “continue[d] to have concerns

about” the Georgia Dock, had “voiced concerns in the past,” and that he thought the Georgia

Dock price index was “a flawed product that is a liability to the Georgia Department of

Agriculture.” Mr. Schronce also noted, “I was told that poultry companies know what they are

doing and all I need to do is to gather and consolidate the info I am provided. However, I have

come to question the validity of some of the information provided.” Mr. Schronce also reported

that the Broiler companies reporting prices to him gave “lackadaisical and rude responses to my

requests for information,” such as responding “just keep em’ the same” when asked for a

company’s updated Broiler price.

       313.    The Broiler companies that participated in the Georgia Dock price survey during

the relevant time period all own at least one Broiler processing facility located within the State of

Georgia. They included Defendants Pilgrim’s, Tyson, Perdue, Sanderson Farms, Koch Foods,

and Wayne Farms, and Producer Co-Conspirators Claxton Poultry, Mar-Jac Poultry, and

Harrison Poultry. According to the GDA, each weekly price report from these Broiler producers

is weighted to account for the particular company’s market share of Broilers processed in

Georgia (referred to by GDA as that company’s “voice”). A preliminary calculation is made




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based on the single price quotation from each company, then “[a]ny company that provides a

whole bird quote that is more than one cent above or below the initial dock price calculation will

not be included in the calculation for the whole bird dock price that week. Its voice is taken out

of the formula and the dock price is recalculated without it” (hereinafter, the “One Cent Rule”).

According to internal GDA documents, the One Cent Rule is meant “to shield [] one company

having the ability to greatly influence the price up or down.”

       314.    The price quoted by each company to the GDA is based on 2.5-to-3 pound whole

Broilers, but only a handful of companies who report to GDA actually process 2.5-to-3 pound

birds in Georgia, so internal GDA documents state that Broiler companies “are supposed to

adjust their whole bird quote as if they are producing that sized bird.” Once the final Georgia

Dock whole bird price is calculated, then the GDA uses a formula to calculate prices for different

Broiler cuts and parts of those whole birds, but that calculation is based entirely on the single

original price that each Broiler company provided to the GDA each Wednesday.

       315.    The September 2016 Schronce Memorandum confirms the significance of the

One Cent Rule. Mr. Schronce’s memorandum noted that after a January 2016 article about the

Georgia Dock price index in the Wall Street Journal one “company appears to basically not take

part in the Whole Bird Dock Price process. They seem to deliberately submit a low bid that they

know will be kicked out. However, they can claim that they are submitting something lower. In

essence, they can take advantage of a high whole bird price while maintaining that they want it to

be lower.”

       316.    To facilitate their control of the Georgia Dock price, Defendants convinced the

GDA to convene a secret “Georgia Dock Advisory Committee” composed of senior executives

from eight Defendants and Producer Co-Conspirators to advise the GDA on the Georgia Dock




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price.    The Georgia Dock Advisory Committee recently included Mike Welch (CEO &

President, Harrison Poultry), Jerry Lane (Former CEO, Claxton Poultry), Jayson Penn (EVP

Sales & Operations, Pilgrim’s), Pete Martin (VP of Operations, Mar-Jac), Vernon Owenby (Plant

Manager (Cumming, GA), Tyson), Steve Clever (VP of Fresh Sales, Wayne Farms), and Dale

Tolbert (VP of Sales, Koch Foods). Prior to November 10, 2016, the existence and conduct of

this secret Georgia Dock Advisory Committee was not known to Plaintiff. In his September

2016 Schronce Memorandum, Mr. Schronce wrote “I have questions about the ‘Advisory Board’

and its role over an office of a state regulatory agency that is supposed to be independent. I was

told I could not make any changes without clearing them with the Advisory Board.”

         317.   USDA publishes a weekly report on poultry production and prices called the

Broiler Market News Report (“USDA BMNR”), which until very recently included a re-print of

the GDA’s separately compiled Georgia Dock price. According to the November 17, 2016,

Washington Post article, the GDA stated that “a review process began in December 2015 after

`serious concerns’ emerged” with the Georgia Dock price. Sometime in the first half of 2016,

the USDA began investigating how the Georgia Dock price survey was conducted.

         318.   On July 19-20, 2016, high level USDA officials met with GDA representatives in

Atlanta, Georgia to discuss the Georgia Dock price. The USDA officials shared their conclusion

that GDA could no longer simply accept Broiler prices from Defendants and their Producer Co-

Conspirators without verification, and instead would have to verify invoice-level data to confirm

reported prices. On July 20-21, 2016, USDA officials requested that the GDA provide the

USDA with data from Broiler producers to “test and review” the Georgia Dock price for

accuracy.




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       319.   On July 22, 2016 USDA’s weekly BMNR publication noted that beginning on

August 5, 2016, GDA “will be issuing a new weekly market report for negotiated Georgia

broiler/fryer whole birds and bird parts, which will replace the current [Georgia Dock price].”

The GDA did not comply with USDA’s August 5 deadline, however, and in the August 5 USDA

BMNR all price information from the GDA and Georgia Dock was removed and only a

hyperlink to the GDA’s website was included.

       320.   During the weeks after the July 19-20 meeting with the USDA, the GDA

coordinated closely with Defendants, their Producer Co-Conspirators, and the Georgia Poultry

Federation—the Broiler industry’s representative—to determine how to deal with the USDA’s

inquiry into the Georgia Dock price. Within the GDA, high level officials began to raise

antitrust concerns regarding the Georgia Dock. For instance, a July 27, 2016, report from GDA

Director of Regulatory Compliance & Budget Alec Asbridge to GDA Commissioner Gary Black

concluded that “[t]he top 10 poultry producing companies now control over 80% of the industry

output. The combination of vertical integration, limited competition and lowered production

periods has led to steady prices that have shown to be fairly resistant to changing market

conditions. These factors alone illicit [sic] anti-trust review.” (emphasis added).

       321.   GDA Director Asbridge’s July 27, 2016, report also noted that over time, the

GDA became a vehicle for Defendants and their Producer Co-Conspirators to “report[] a

weighted average price per pound on broilers [Georgia Dock price] based off of contracts that

have been determined at the private level and reported without regulatory oversight. The

formulas to calculate weighted average prices have been determined on the private level

and have not been standardized since the inception of the [GDA Poultry Market News division]

in 1968, which there is no written record of.” (emphasis added). In other words, it was




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Defendants and their Producer Co-Conspirators themselves who wrote the rules and formulas

that make up the Georgia Dock price, not the GDA.

       322.    Director Asbridge’s July 27, 2016, report also concluded that “[t]he extent of the

use of the [Georgia Dock price] in contract negotiations is presently unknown but inquiries made

by media and other governmental entities indicate that it is utilized on a more regular basis

than previously expected.” (emphasis added). In short, the GDA had been publishing the

Georgia Dock price for decades, but until the last few months, apparently did not know the scope

of reliance on the Georgia Dock price. Notably, a revised and highly sanitized version of the

July 27, 2016 report from Director Asbridge to GDA Commissioner Black was circulated

internally at GDA on August 5, 2016. The sanitized August 5 report removed references to the

existence of factors in the Broiler industry eliciting “antitrust review” and to the fact that the

Georgia Dock price was reported for decades by GDA “without regulatory oversight.”

       323.    On August 12, 2016, GDA Director Asbridge provided Georgia Poultry

Federation President Mike Giles with the sanitized version of the report and asked Giles to

review it before the GDA sent it to the USDA, “to ensure what I presented is accurate and best

represents industry’s concern with only reporting a spot price.” As noted elsewhere in this

Complaint, the Georgia Poultry Federation represents the poultry industry in Georgia, and most

Defendants and all of their Producer Co-Conspirators are members. Remarkably, the GDA also

noted in a separate email the same day to Giles and the Georgia Poultry Federation that “[t]he

GDA is in agreement with the poultry industry that there is no desire to review invoices for

verification of data reported,” even though the information and means to do so are readily at

hand—Defendants and their co-conspirators already report such invoice information to Agri

Stats on a daily basis. According to a subsequent email dated August 24, 2016, Georgia Poultry




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Federation President Giles called GDA Director Asbridge back and gave “his and industry’s sign

off on the dock price summary report. We can move forward with sending to USDA.” GDA

Director Asbridge also proposed another meeting between GDA and the Georgia Poultry

Federation to discuss recommendations about verifying Georgia Dock data.

       324.    On October 6, 2016, a USDA press release noted the expansion of its National

Whole Broiler/Fryer report, which included new weekly price information regarding 2.5-to-3

pound Broilers that replaced the same weight Broiler previously reported by the Georgia Dock

price. Importantly, the new USDA price roughly matched the Umer Barry price, suggesting that

the Georgia Dock price continues to be subject to manipulation by Defendants and their Producer

Co-Conspirators and does not reflect actual market prices.

       325.    In an email dated October 7, 2016, a GDA official reported to the USDA that it

had not determined how to proceed with new verification procedures for the Georgia Dock price,

as it was “cultivating multiple opinions on usefulness as well as playing with various

algorithms.”

       326.    On November 3, 2016, the New York Times published the first account of the

USDA’s inquiry into the Georgia Dock, based on information received via Freedom of

Information Act and open records requests for internal USDA and GDA documents.

Subsequently, a November 8, 2016, article by the Washington Post provided additional detail on

the inquiry, including a comment from the USDA that “they discontinued publishing the Georgia

Dock price ‘when data from the source report could not be independently verified.’“ In the

Washington Post article, Sanderson Farms CFO Mike Cockrell was quoted as saying “the

Georgia Dock has come to be a trusted reflection of the supply and demand for retail stores.” In

a press release cited in a Bloomberg News article on November 17, 2016, Tyson stated that




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“[w]hen the Georgia Department of Agriculture asks us for pricing data, we provide accurate

information based on actual and recent transactions.” Sanderson Farms’ and Tyson’s continued

defense of the Georgia Dock price index as one that customers should trust shows that

Defendants continue their efforts to conceal the conspiracy alleged in this Complaint.

       327.    Under pressure from the USDA, the GDA attempted to revise the methodology in

the fall of 2016. Under GDA’s new methodology, Defendants would have had to attest to the

accuracy of their price quotes. However, Defendants balked at the new methodology, and the

GDA halted the Georgia Dock benchmark price index when it did not receive sufficient price

quotes to compile the index. The last Georgia Dock benchmark price was published by the GDA

on November 23, 2016. However, for at least three months after the last Georgia Dock price was

published by the GDA, certain Defendants, including at least Pilgrim’s, continued to use the

November 23, 2016 benchmark price to set their wholesale prices to chicken buyers.

E.     Defendants’ output restrictions and manipulation of the Georgia Dock price
       resulted in unprecedented price increases for Broilers.

       328.    Beginning in 2008, the Georgia Dock price began to widely diverge from that

which would be expected to occur absent collusion.

       329.    For the years 2000 through 2008, the Georgia Dock price can be accurately

replicated by applying a particular econometrics model derived from a published peer review

economics journal.

       330.    From 2010 through 2016, however, the Georgia Dock price exceeded the price

predicted by that same model by an average of at least 17.5%, as shown by the graph below.




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       331.   These findings are consistent with publicly available data provided by the U.S.

Department of Agriculture, which shows that the Georgia Dock price diverged significantly from

the USDA composite price. The graph demonstrating this divergence is set out below.




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       332.    These unprecedented price increases cannot be explained by normal market

factors or by the price of chicken feed during the Relevant Time Period. In fact, the Georgia

Dock benchmark price was historically highly correlated to the prices in the USDA Composite

and Urner Barry indices; the movement (i.e., volatility) of the Georgia Dock price mirrored the

patterns of the other two indices (e.g., prices go up or down depending on market forces, such as

supply and demand).

       333.    This correlation changed as a result of Defendants’ conduct, when the price

volatility that had previously marked the Georgia Dock index (and which still marks the other

two indices) largely disappeared. Georgia Dock prices mostly stabilized and steadily increased,

while prices in the other two indices remained volatile.

       334.    In addition, monthly price volatility in the Georgia Dock markedly decreased in

2013, particularly with respect to downward price movements (i.e., when prices dropped, they

dropped far less drastically than they had before 013).       This near-disappearance of price


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volatility was unique to the Georgia Dock—both of the other price indices stayed volatile while

the Georgia Dock remained stable, as reflected in the following graph, which compares prices of

the various indices both before and during the relevant time period:




       335.    Indeed, in early 2013, the Georgia Dock price—for the first time ever—became

negatively correlated with the other two price indices (i.e., the Georgia Dock price increased

while prices in the other two indices decreased). This marks a dramatic change from 2002 to

2012, where all three indices were positively correlated with each other (i.e., they moved up and

down together).

       336.    The price increases for Broilers throughout the Relevant Time Period and the

subsequent stability and level of Georgia Dock prices from 2013 through November 2016 are the

direct result of Defendants’ conspiracy.




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       337.    As a result of Defendants’ conspiracy, Plaintiff paid artificially inflated prices for

Broilers during the Relevant Time Period. Such prices greatly exceeded the amount that Plaintiff

would have paid if the price of Broilers had been determined in a competitive market.

F.     The Structure And Characteristics Of The Broiler Market, Together With Other
       Factors, Render The Conspiracy Economically Plausible.

               1.         The Broiler Industry Is Highly Vertically Integrated.

       338.    The Broiler industry is almost entirely vertically integrated, with Broiler-

processing firms owning or tightly controlling almost all aspects of production, processing, and

marketing.

       339.    In the Broiler industry, “vertical integration” means the Broiler company owns or

controls each aspect of breeding, hatching, rearing, feeding, basic processing, and selling of

Broilers. Many integrated Broiler companies also own further processing plants.

       340.    Broiler producers have determined over time that the economics of growing

chicks into full size Broilers are unfavorable. As a result, the Broiler industry has developed a

system of production-contract farming. The integrated producers provide the feed and chicks to

farmers (which remain under ownership of the integrated producer); the contract farmer then has

roughly 6-7 weeks to grow the chicks into full size Broilers. During this “grow out” period, the

integrated producer’s employees frequently monitor the Broilers. Once fully grown, Broilers are

picked up by the integrated producer and brought to an integrator-owned processing plant (aka,

slaughterhouse). Some of the Broilers are sold without any further processing, while other

Broilers are further processed by integrated companies into value-added specialty products (e.g.,

chicken nuggets, etc.).

       341.    The graphic below indicates the key stages of Broiler production that vertically

integrated Broiler companies control, which are all those points in the production process which



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provide integrated Broiler companies complete control over supply and allow them to capture the

greatest profit margin:




       342.    According to a paper prepared in connection with the USDA and DOJ’s failed

effort to increase competition in the Broiler industry in 2010, “[c]ontrol over the number of birds

delivered to the processing plants allows processors to match more closely inputs to plant

capacities and lower per-unit processing costs, as well as to better meet consumer requirements.”

       343.    In connection with the same effort by the USDA and DOJ, a former expert

witness for Defendant Tyson, Michael Dicks, wrote, “[i]n the poultry industry vertical

coordination allows integrators to manage excess capacity to manage price. Integrators can

minimize the effect on producers by increasing the time between collection and delivery of birds

or reducing the number of flocks per year rather than terminating grower contracts in much the

same way the USDA requires all commodity program recipients to adhere to acreage reduction

program guidelines and grower associations require members to cut back marketable output.”


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       344.    Modern Broiler producers rely on a handful of unique Broiler breed lines to mass-

produce essentially identical chickens with desirable genetic traits. Genetics companies, which

develop strains of grandparent and great-grandparent breeding stock, sell to integrated Broiler

producers breeders that have special hybrid characteristics, such as a tendency to produce a large

chicken breast. Genetics companies create a “biological lock” on their unique Broiler lines by

tightly controlling the purebred genetic strain that they develop. After an integrated producer

purchases young breeder hens (aka “breeder pullets”) from a primary breeder, the integrated

producer raises the birds to be breeders that lay eggs to be taken to incubators at an integrator-

owned hatchery. The chicks from Broiler company hatcheries are then sent out to the integrated

producer’s contract-farmers to raise into adult Broilers.

       345.    At present, no Broiler company except Tyson owns the genetics or produces the

grandparent or great-grandparent strain for the Broilers it raises and slaughters. Nearly all U.S.

producers now rely on 3 global genetics conglomerates: Cobb-Vantress (owned by Tyson),

Hubbard, and Aviagen.        These three companies supply the breeder stock, and therefore

ultimately the Broilers, that account for 98% of Broilers raised in the U.S. and 80% of Broilers

raised globally.    While there were 26 Broiler genetics companies world-wide in 1981,

acquisitions by the three remaining companies have essentially eliminated any other meaningful

competitors in the U.S. Tyson’s Cobb-Vantress subsidiary has approximately 50% market share.

       346.    Since a supply of primary breeders is essential to each Broiler producer’s

business, Tyson’s ownership and control of subsidiary Cobb-Vantress provides it with

exceptional leverage over other Defendants to mandate compliance with Defendants’ illegal

agreement. Tyson can offer other Defendants the carrot of access to Cobb-Vantress’ unique

Broiler genetic lines, with desirable qualities like high conversion rates of feed into meat.




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However, Tyson can also use Cobb-Vantress as a stick against any competitor who Tyson and/or

its co-conspirators believe is overproducing Broilers by providing such competitors inferior,

sick, or an insufficient number of breeder pullets, or withholding breeder pullets altogether that

the competitor needs to operate a profitable business.

       347.    In addition, because breeder flocks are created from a limited pool of

“grandparent chickens” from Cobb-Vantress, Hubbard, and Aviagen, it takes substantial time –

anywhere from six to eight months or more – to re-populate a breeder flock that has been

reduced through early culling. While Defendants continued to use their historic methods to

affect their supply-reduction scheme (at the middle or and of the supply chain, such as by

reducing eggs placements, killing newly-hatched chicks, or idling processing plants), their

conspiracy was cemented by the long-term effects of breed or flock reductions.

       348.    Perdue was the last Broiler integrator in the U.S. to maintain its own genetics

research company besides Tyson, but Perdue sold its genetics company to Tyson in 2014. In

announcing the sale, Perdue issued a press release that stated “there are no longer significant

advantages to having our own breed . . . it is important that we have the flexibility to select the

breeder combination that works best for each specific customer requirement.” The press release

went on to note that “[w]ith the outstanding exception of the Cobb-Vantress enterprise owned by

Tyson Foods, no producer has managed to effectively compete using an in-company breeding

program against a multinational primary breeder. To be cost effective a genetics program based

on index selection incorporating the measurement of significant traits and applying sophisticated

molecular markers and field testing requires a magnitude of scale exceeding the capacity of

individual producers.”




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          349.   Upon information and belief, Defendant Tyson, through its Cobb-Vantress

subsidiary, intentionally manipulates the supply of grandparent and great-grandparent Broiler

stock (from which it suppliers integrators with Breeder pullets) including, but not limited to, only

providing healthy and high quality breeder pullets to certain of its co-conspirators, but providing

inferior and sick quality breeder pullets to other smaller non-Defendant Broiler producers. This

practice contributed significantly to the bankruptcy or failure of a number of smaller Broiler

companies in the 2010 time period.

                 2.     The Market For Broilers Is Characterized By Inelastic Supply And
                        Demand.

          350.   According to a May 2010 paper written by Broiler industry consultant Michael

Dicks, “[b]ecause of the inelastic nature of the supply and demand [of Broilers,] a reduction in

supply will produce an outcome more preferable to the industry than maintaining supply with a

lower price.” A study by consultant The Hudson River Group for Pilgrim’s in 2008 found that a

one percent decrease in the supply of Broilers leads to a 0.8% increase in the price of Broilers.

In other words, demand for Broilers is inelastic, so a decrease in supply will increase prices.

          351.   Defendants acknowledge that supply and demand in the Broiler industry is

inelastic. For instance, in his May 2010 paper, Broiler industry consultant Michael Dicks wrote

that “[a]ttempting to maintain supply levels would reduce price to levels unsustainable even in

the short run. Because of the inelastic nature of the supply and demand a reduction in supply

will produce an outcome more preferable to the industry than maintaining supply with a lower

price.”

          352.   Broiler producers have asserted in public statements that changes in wholesale

Broiler prices have been due to changes in “supply and demand.” However, demand for Broilers

has been flat since 2008, while at the same time wholesale Broiler prices have risen roughly



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50%. Therefore, it is the reduction in the supply of Broilers that has led to Broiler price

increases.

               3.      There Are No Significant Substitutes For Broilers.

       353.    Pork and beef are the most likely alternative sources of protein to Broilers, but

pork and beef are not economic substitutes for Broilers. Numerous studies have found that the

cross elasticity of demand between Broilers, beef, and pork is either negative or statistically

insignificant, meaning that pork and beef are complements to Broilers, but not substitutes.

       354.    The historically high spread between the price of pork and beef versus Broilers

since 2008 has also reduced any possibility of substitution of Broilers with pork or beef

               4.      The Broiler Industry Has Experienced High Consolidation And Is
                       Highly Concentrated

       355.    According to a November 2013 USDA report, “[d]uring the past 16 years, firms

in the Broiler industry continued to decrease in number and grow in size, thereby gaining further

economies of scale and scope in processing and marketing. According to the National Chicken

Council, 55 federally inspected Broiler companies operated in 1995, compared with 41

companies in 2010.” By 2014, there were only 35 such companies.

       356.    In fact, the trend towards consolidation among all segments of the Broiler

industry goes back decades, as shown below. This consolidation has largely squeezed out the

large number of smaller Broiler companies that used to represent a significant portion of Broiler

industry production.




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       357.     As of 2015, Defendants controlled 88.8% of Broiler production in the United

States. Since the start of the Relevant Time Period, there has been surprising stability in market

share for each Defendant, as shown by the graph below. The two exceptions are Pilgrim’s loss

of market share due to its large plant closures during bankruptcy in 2008-2009 and Koch Foods’

increase in market share due to the purchase of a plant from Tyson and purchase of bankrupt

Cagle’s, Inc.




       358.     In addition to formal consolidation among Defendants, increased antitrust scrutiny

of acquisitions in the Broiler industry by the U.S. Department of Justice has led Broiler


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companies to increasingly rely on de facto consolidation whereby Defendants acquire nearly

complete control over seemingly independent smaller Broiler companies. Defendants’ de facto

consolidation creates “zombie” Broiler companies that on paper are separate and independent

entities, but are in fact completely controlled by Defendants through co-packing contracts. For

instance, Tyson Foods has co-packing arrangements with a number of smaller Broiler producers

in which Tyson purchases either (1) the company’s entire production of Broilers (including dark

meat) or (2) all of the company’s white meat (i.e., chicken breast and wings) and encourages the

company to export the less valuable dark meat to remove that supply from the United States

market.

       359.    Upon information and belief, Defendants’ co-packing contracts with smaller

producers are typically 2-5 years in length. Even where the co-packing arrangement is only 10-

20% of a smaller producer’s overall supply, Defendants are in a position to pressure smaller

producers to limit their production. Co-packing contracts give Defendants unprecedented control

over supposedly independent producers, including control over the breed of bird grown, what

feed can be used, how many birds can be grown, and numerous other aspects of raising Broilers.

With respect to processing, Defendants not only require exacting specifications for co-packing

partners, but also put Defendants’ own employees in the processing plants of their co-packers

and supervise every significant detail of the slaughter and packing process.

       360.    Upon information and belief, the purpose and/or effect of Defendants’ co-packing

arrangements is it avoids scrutiny from antitrust regulators that would come with formal merger

arrangements, including possible discovery of Defendants’ anti-competitive agreement to reduce

the supply of Broilers in the U.S.




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              5.      The Broiler Industry Has A History Of Government Investigations And
                      Collusive Actions.

       361.   In response to a Federal Trade Commission investigation in 1919 which found

oligopoly domination and anti-competitive monopolistic behavior in the meat-packing industry,

Congress passed the Packers and Stockyards Act (“PSA”). See 7 U.S.C. § 193(a), § 209.

Congress amended the law to include the poultry industry in 1935.

       362.   In 1922, the Supreme Court upheld the constitutionality of the PSA in Stafford v.

Wallace, finding that “the object of the PSA was to secure the flow of livestock from the farms

and ranges to the slaughtering center and into meat products unburdened by collusion that unduly

lowered the prices to the shipper and unduly increased the price to the consumer.”

       363.   In April 1973, the United States Department of Justice filed a civil antitrust action

against the National Broiler Marketing Association (“NBMA”) alleging the NBMA and its

members conspired to fix Broiler prices and restrict Broiler production in violation of Section 1

of the Sherman Act. The DOJ sought to enjoin the NBMA and its dozens of members from

continuing a conference call program where members (and even some non-members)

coordinated the pricing and production of Broilers. In response, numerous private civil antitrust

actions were filed against the NBMA and 42 individual defendants in the In re Chicken Antitrust

Litigation case. The NBMA and Broiler producers eventually settled the case, resulting in a

settlement of roughly $30 million.

       364.   Beginning in 2010, the USDA undertook a series of public workshops to explore

competition issues in the upstream, contract-farmer Broiler market. A workshop held in Normal,

Alabama, on May 21, 2010, focused on corporate concentration and lack of competition in the

Broiler industry.   The workshops led to the proposal of new rules aimed at encouraging

competition in the meat industry, but extreme political pressure from Defendants and their allies



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eventually watered down the rule and led to the resignation of the official charged with imposing

tougher regulations.

       365.    In 2011, George’s Inc. acquired the Harrisonburg, Virginia processing plant from

Tyson Foods. The DOJ brought an action to stop the acquisition (United States v. George’s,

Inc.), which alleged the purchase would impermissibly reduce the available options for contract

farmers to sell their grower services. The DOJ eventually settled with George’s in June 2011

after obtaining an agreement to require George’s to make capital improvements to the facility

that would increase its capacity and permit contract farmers to sell more grower services to the

processing plant.

       366.    According to a June 2014 USDA Report, “the [Broiler] industry faces a range of

public policy issues, [including] competition . . . . [c]oncerns[, including] the exercise of market

power by Broiler integrators have prompted merger litigation, USDA regulatory initiatives,

congressional proposals, and investigations by Federal agencies.”

       367.    Numerous cases in recent years have documented the lack of competition in the

contract-farmer Broiler market, which while upstream in the supply chain from the Plaintiff’s

direct purchaser market, suggest an absence of true competition and instead suggest a practice of

coordination and collusion among Defendants. In cases such as Adams v. Pilgrim’s Pride, No.

2:090-cv-00397 (E.D. Tex.), Been v. O.K. Industries, No. 08-7078 (E.D. Okla.), and Wheeler v.

Pilgrim’s Pride Corp., No. 5:06-cv-00004 (E.D. Tex.), contract-farmers have alleged violations

of the Packers and Stockyards Act by integrated Broiler producers.




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               6.      Defendants Had Numerous Opportunities To Collude.

                       a.      Agri Stats and Trade Associations.

       368.    Defendants accessed each other’s above-described data through co-Defendant

Agri Stats to monitor cheating in the conspiracy. Agri Stats acted as an active participant in and

facilitator of Defendants’ cartel.

       369.    In addition, Defendants are members of several Broiler-related trade associations

and other forums, which they used to facilitate their conspiratorial conduct. Integrated Broiler

producers have numerous regular events through which they can communicate in person with

one another. Regular and frequent attendance by Defendants’ CEOs and top level executives at

trade association meetings is the norm rather than the exception.

       370.    According to its website, “[t]he National Chicken Council represents integrated

chicken producer-processors, the companies that produce, process and market chickens. [The

40] member companies of NCC account for approximately 95 percent of the chicken sold in the

United States.” The CEOs of the top integrated Broiler producers and executives of Agri Stats

are routinely on the NCC’s board of directors and meet at least quarterly with one another

through the NCC.

       371.    The NCC has three annual board meetings attended by Defendants’ and their

Producer Co-Conspirators’ senior executives, including most or all Defendants’ CEOs and other

top executives.




                                             . CEOs generally always attend the following three

NCC meetings each year, in addition to special committee meetings or other special NCC events:

(a) the January meeting of the NCC held along with the International Poultry Expo, (b) the mid-


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year Board of Directors meeting, and (c) the NCC Annual Meeting in October. Generally, CEOs

arrive the night before an NCC meeting and socialize with their colleagues, then have small

private dinners with one or more of their competitors’ CEOs or top executives. The next day, the

formal NCC meetings are held and executives from Agri Stats and other allied industry

organizations make presentations at the meeting. A formal lunch is held during the meeting and

provides CEOs and top executives and opportunity to talk casually with their competitors.

Following the meeting, Defendants’ and their Producer Co-Conspirators’ CEOs and top level

executives often meet, socialize and golf, hunt, or fish together.

       372.    Upon information and belief, CEOs and top level executives from Defendants and

their Producer Co-Conspirators discuss topics with one another relating to pricing, production,

and other non-public, proprietary information outside of NCC’s formal meetings at the informal

settings surrounding NCC meetings described above. These regular, informal, and in-person

opportunities to discuss pricing and production in the Broiler industry gives CEOs and top level

executives comfort that their competitors remain committed to a plan to artificially restrict

Broiler production.

       373.    The United States Poultry & Egg Export Council (“USAPEEC”) has its home

office in Stone Mountain, Georgia. Defendants are all members of USAPEEC. USAPEEC has a

network of international offices and consultants in key export markets.        The mission of

USAPEEC is to promote exports of U.S. poultry and eggs around the world. The group has

evolved into an association that is an advocate for the industry on trade policy issues.

USAPEEC has about 200 member companies and organizations. USAPEEC holds Board of

Directors meetings quarterly and includes executives from all or nearly all Defendants and co-

their conspirators.




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        374.   The U.S. Poultry & Egg Association (“U.S. Poultry”) describes itself as the

world’s largest and most active poultry organization. U.S. Poultry’s members include producers

and processors of Broilers, turkeys, ducks, eggs and breeding stock, as well as allied companies.

Defendants and their Producer Co-Conspirators are all members of U.S. Poultry. U.S. Poultry

holds regular Board of Directors meetings each quarter during January, March, June, and each

fall.

        375.   The Georgia Poultry Federation “is a non-profit trade association which

represents the poultry industry in Georgia, the nation’s leading broiler producing state. The

Federation was founded in 1951, and since that time has represented the interests of the entire

poultry industry at the state and federal level on legislative and regulatory matters.” The Georgia

Poultry Federation’s mission is “[t]o protect and improve the competitive position of the poultry

industry in Georgia, the nation’s leading poultry producing state.”         The Georgia Poultry

Federation has regular meetings each April, August, and September which typically are attended

by Defendants’ senior executives. Defendants House of Raeford, Perdue, Wayne Farms, Tyson,

Sanderson Farms, and Pilgrim’s, and Producer Co-Conspirators Mar-Jac Poultry, Harrison

Poultry, and Claxton Poultry are members of the Georgia Poultry Federation.

        376.   The North Carolina Poultry Federation “has been the voice of the North Carolina

poultry industry since 1968.” The mission of the North Carolina Poultry Federation “is to create

a favorable climate for business success for everyone involved in the poultry industry in North

Carolina.” The North Carolina Poultry Federation holds regular meetings each year, including

annual meetings and Board of Directors meetings which typically are attended by Defendants’

senior executives.   Defendants Tyson Foods, Perdue, Mountaire Farms, House of Raeford,




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Wayne Farms, Sanderson Farms, and Pilgrim’s are each members of the North Carolina Poultry

Federation.

       377.    The Poultry Federation was established in 1954 as a non-profit trade organization

to represent the poultry and egg industries in Arkansas, Missouri, and Oklahoma. In 1998, the

Arkansas, Missouri, and Oklahoma organizations were consolidated and became The Poultry

Federation. The Poultry Federation claims to promote all poultry interests relating to production,

distribution, merchandising, and consumption of poultry, and poultry products. It disseminates

information relating to the various phases of the Broiler industry to improve and expand markets,

to increase efficiency in production and marketing, and to encourage and support research in

production and marketing of poultry. The Poultry Federation holds regular meetings each year,

including Board of Directors meetings with Defendants’ senior executives identified below.

Defendants Foster Farms, O.K. Industries, Inc., Pilgrim’s, Simmons Foods, Peco Foods, Tyson

Foods, George’s, Inc., and Wayne Farms are each members of the Poultry Federation.

       378.    The International Poultry Expo (“IPE”) was held annually from 2008-2012. The

IPE billed itself as “the networking hub of the world for the poultry industry.” The IPE was held

annually in late January in Atlanta, Georgia. Defendants’ and the Producer Co-Conspirators’

senior executives, and numerous mid-level executives and other employees, attended the IPE

each year. The International Producers and Processors Expo (“IPPE”) is the world’s largest

annual poultry, meat, and feed industry event. IPPE held its first event in January 2013 and

combined three previously separate expos — the IPE, the International Feed Expo, and the

International Meat Expo. According to the IPPE’ s website, a wide range of international

decision-makers attend this annual event to network and become informed on the latest

technological developments and issues facing the industry. The 2015 IPPE featured more than




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7,245 international visitors from over 103 countries, including attendees from Chile, France,

Singapore, and Australia. IPPE indicates that Defendants and co-conspirators each sent their

“Top Management” to the 2014 IPPE in January 2014. The most popular panel each year is the

“market intelligence” forum, which features an Agri Stats executive speaking regarding the

Broiler industry. Similarly, Defendants’ and the Producer Co-Conspirators’ senior executives

attended IPPE in 2015 and 2016.

         379.   The International Poultry Council (“IPC”) was formed in 2005 and is composed

of national trade associations from 23 countries, as well as 40 individual companies that are

“Associate” members. The IPC website bills the organization as the “voice of the global poultry

industry” and its mission is to “strengthen communication between the industries of different

countries.” The NCC, USAPEEC, and USPOULTRY are members of the IPC on behalf of

United States poultry producers, along with individual company members of the IPC, including

Tyson, Cobb-Vantress (a Tyson subsidiary), Sanderson Farms, and JBS S.A. (Pilgrim’s parent

company). Additionally, the Chilean poultry trade association (“APA”) and the Australian

Chicken Meat Federation (“ACMF”) are also members of the IPC.

                       b.    Overseas Distribution Solutions.

         380.   Overseas Distribution Solutions (“ODS”) is a Webb Pomerene6 organization

founded by a group of Defendants in 1999. A Webb Pomerene organization is an association of

exporters that is exempt from certain provisions of the Sherman Antitrust Act while engaging in

conduct to promote United States trade abroad. A Webb Pomerene organization may not engage

in importation or sales within the United States, however, and its members may undertake what

would otherwise be considered actionable collusive conduct only to export similar products.


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    Webb Pomerene Act of 1918, 15 U.S.C. §§ 61-66.


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       381.    ODS continued to operate at least through 2011.            ODS membership by

Defendants has included Defendants Wayne Farms, Peco Foods, Sanderson Farms, Pilgrim’s,

and Tyson, as well as Cagle’s. The principal office for ODS was located for much of the

Relevant Time Period in the same town as Sanderson Farms’ headquarters — Laurel,

Mississippi.

       382.    While originally a member of ODS around the time it was founded, Tyson

withdrew from ODS some time prior to the start of the Relevant Time Period. However, Tyson

re-joined ODS in 2010, but then inexplicably withdrew within a few months. Within a few years

of Tyson’s sudden departure, ODS disbanded and stopped filing for Webb Pomerene status.

       383.    While ODS had a mandate under the Webb Pomerene Act to have no impact on

the U.S. domestic market, Broiler industry executives recognize it is inevitable that exports will

impact U.S. domestic Broiler prices. For instance, former Pilgrim’s CEO Dr. Don Jackson has

noted that “the broiler market is global in nature. Obviously, the U.S. business generally has

more volume obviously going into the domestic market, but both the domestic and export makes

up the market. And at times, the export market can be very impactful favorably or unfavorably

to the U.S. market.” Therefore, according to the testimony of one of Defendants’ own CEOs, it

was impossible for ODS to comply with the Webb Pomerene requirement that ODS not impact

domestic prices for U.S. Broilers.

                      c.      Investor Conferences.

       384.    Defendants’ CEOs and senior executives participate in numerous investor

conferences organized by Wall Street analysts, providing further opportunities to meet and

communicate with one another. Such conferences are held on an annual and/or ad hoc basis

including, but not limited to, the Goldman Sachs Global Staples Forum (held every May), Bank

of America Merrill Lynch Global Agriculture Conference (held every February), BMO Capital


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Markets Annual Ag & Protein Conference (held every May), BMO Capital Markets Conference

(held every May), BMO Farm to Market Conference (held every May), Urner Barry Annual

Executive Conference and Marketing Seminar (held every April or May), and JP Morgan Basic

Materials Conference (held every June).

                     d.      Competitor Plant Tours.

       385.   Defendants also permitted one another to tour each other’s Broiler plants, which

revealed confidential business methods employed by a company. While such tours were often

framed as “best practices” information exchanges, they permitted the opportunity to conspire

among senior executives.

       386.




       387.   Defendants also permit employees to regularly move between companies without

non-compete limitations or confidentiality agreements that would protect a company’s

(seemingly) proprietary business knowledge and customer base. For example, Dr. Don Jackson


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was President of Foster Farms’ Poultry Division until December 2008, but then immediately

took a position as CEO of Pilgrim’s. Similarly, Clint Rivers, Pilgrim’s former President and

CEO until December 2008, left the company and became Senior VP of Operations and Supply

Chain Management for Perdue in 2009. Rivers then moved to Wayne Farms in 2012, where he

became Chief Operating Officer.      Greg Tatum served as CFO for Claxton Poultry, before

moving to Pilgrim’s in 2009 to serve as Senior VP of Business Development. Numerous other

high level and well as lower level executives move freely between Broiler companies with little

or no provision by Defendants to protect their confidential information.

                      e.      Merger, Acquisition, and Capital Financing Discussions.

       388.    Senior executives from Defendants had numerous opportunities to directly

communicate with one another regarding various mergers and acquisitions between 2008 and

2016. These merger and acquisition discussions include both completed agreements, such as

those described in Section VI(E)(4) of this Complaint, as well as proposed transactions that were

never completed.     In connection with mergers and acquisition discussions, due diligence

materials regarding confidential business information were shared between Defendants.

       389.    In addition, Defendants all rely on debt financing and merger and acquisition

services from the same small group of financial institutions. In the course of providing such

services, financial institutions obtain unusually detailed access to Defendants’ non-public

operational information, including production and pricing information, which provides another

opportunity for Defendants to share confidential business information.

       390.    Complete information regarding the full scope of merger, acquisition, and capital

financing discussions, communications, and due diligence information exchanged presently is

known only to Defendants and their agents.




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                     f.     Other Business Dealings.

       391.   Defendants also engaged in various business dealings with one another, including

purchasing feed from one another and forming joint ventures for various purposes, such as

construction and operation of rendering



       392.




       393.




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               7.      There Are High Barriers To Entry In The Broiler Market

       394.    The existence of high barriers to entry is one factor which makes markets

susceptible to collusion. A collusive arrangement that raises product prices above competitive

levels would, under basic economic principles, attract new entrants seeking to benefit from the

supracompetitive pricing. Where, however, there are significant barriers to entry, new entrants

are less likely. Thus, barriers to entry help facilitate the formation and maintenance of a cartel.

       395.    During the Relevant Time Period and continuing today, substantial barriers

impede entry into the Broiler market. A new entrant into the market would face costly and

lengthy start-up costs, including multi-million dollar costs associated with research and

development, construction of processing plants, feed mills, hatcheries, equipment, energy,

transportation distribution infrastructure (aka, “rolling stock”), skilled labor, experienced

management, a skilled contract-farmer base in a specific geographic area, long-standing

customer relationships, safety and quality assurance, and regulatory approvals relating to

environmental, worker safety, and food safety issues.

       396.    Defendants themselves acknowledge the substantial costs of entering the market

and view it as important that new entrants not be able to purchase closed facilities. For example,

when the State of Louisiana pressured Pilgrim’s to sell its closed Farmerville Broiler complex,

Pilgrim’s executives expressed concern about any state assistance to the buyer to purchase the

Farmerville Broiler complex because such assistance could substantially reduce the buyer’s cost

basis therein, which could then permit the buyer to flood the market with low-cost Broilers.

       397.    The price of construction of a new integrated Broiler processing complex

(hatchery, feed mill, and processing plant) able to compete on price with current integrated


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producers is relatively high. Even for a current market participant, such as the third-largest

producer (Sanderson Farms), construction of a new Broiler complex (i.e., feed mill, hatchery,

and processing plant) in 2010 was estimated to cost $100-$125 million. However, these costs

fail to account for other hurdles to new market participants, discussed above.

       398.    The barriers to entry in the Broiler industry have proved insurmountable for

potential new market entrants. No company has created a new poultry company from scratch in

decades. Further, when one foreign meat company (a Ukrainian company, Omtron) tried to enter

the U.S. market in February 2011 by buying a portion of the assets of bankrupt Broiler producer

Townsend’s, Omtron invested $35 million to improve the facility’s processing operations, but

went bankrupt only five months after making the purchase.

       399.    A number of large foreign meat conglomerates have acquired U.S. Broiler

producers in the past decade, including Brazil’s JBS S.A. (Pilgrim’s), Mexico’s Industrias

Bachoco (O.K. Foods), Belgian company Continental Grain Company (Wayne Farms), and

Marfig Alimentos S.A. (Keystone Foods). However, each of these foreign meat conglomerates

were already large players in the global meat industry and simply continued operating their pre-

existing U.S. Broiler company as a subsidiary. Ownership of U.S. Broiler subsidiaries by such

large, well-financed conglomerates deter entry by smaller, non-globalized companies that might

want to enter the U.S. Broiler production business.

       400.    A further barrier to new entrants is the unwillingness of large vertically integrated

producers to sell an idled Broiler complex, which also keeps open the threat that an integrated

producer will restart a closed Broiler complex. Pilgrim’s has been explicit about this threat to

new market entrants. For instance, in a February 2014 earnings call, Pilgrim’s was asked

whether it had any plans to sell “a couple of idled U.S. facilities . . . to use that as a source of




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capital,” to which Pilgrim’s CFO Fabio Sandri replied “[n]o. We are thinking those are held

defensive, so we don’t plan to sell them in this short-term or in the near future.” Such a threat of

restarting idled facilities, rather than selling those facilities, represents a substantial barrier to

entry for new market participants because an existing Broiler producer can merely restart a

closed mill to drive down prices and run a new entrant out of business.

               8.      Defendants Have Similar Cost Structures And Work Collaboratively To
                       Share Cost Information.

       401.    Another factor antitrust law and economics have identified as making markets

susceptible to price-fixing is similar cost structures. The majority of production costs for Broiler

producers are variable. All other factors being equal, when variable costs are a high percentage

of production costs, there is less incentive for a producer to operate its facilities at full capacity,

and this may allow a cartel to boost prices artificially with greater success than when fixed costs

are the largest component of production costs.

       402.    The single largest cost component of producing Broilers is feed, which primarily

consists of soybean meal and corn. Broiler feed prices have varied widely from 2007-2016,

reaching 71% of the cost of growing Broilers in 2012, but falling to only about 50% by 2014.

       403.    Input costs other than feed include processing plant labor costs (~15%), materials

(~11%), and capital equipment (~2.5%). Labor costs have declined significantly over the past

two decades for Defendants, while at the same time labor productivity has substantially

increased.

       404.    Broiler feed costs have been decreasing sharply since record highs in 2012. For

instance, prices for soybean meal were down 10% in 2014. Since January 1, 2008, corn prices

have declined roughly 21% and soybean prices have declined 13%. During the same period,

Broiler prices increased roughly 50%.



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       405.     Defendants and their Producer Co-Conspirators have relatively similar cost

structures. The technology and process of industrial scale growing and processing Broilers is

well known and Defendants and their Producer Co-Conspirators employ the same types of

equipment and processes in the production process. Defendants also have only three companies

from which they can obtain breeder stock from which to raise Broilers, so there are very limited

options with respect to purchasing the most cost efficient Broiler genetic lines. Similarly,

Defendants all purchase corn and soybeans on the open market, so they have limited ability to

obtain substantially different pricing on these key variable cost inputs for their Broilers.

       406.     Defendants use Agri Stats to share extraordinarily detailed cost information (as

discussed below), so they are able to constantly realign their cost structures with one another.

Agri Stats permits each Defendant to have extremely unusual knowledge of competitor costs and

to make adjustments to standardize each company’s cost structure across all Agri Stats

participants.

       407.




       408.     Defendants engage in a program of “feedmill cross-testing” in which some

Defendants exchange feed and chicks with one another for the purported purpose of determining

which Defendants’ feed and/or chicks have superior qualities. Defendants claim this strategy

helps them maximize efficiency. However, it is not economically rational in a truly competitive

market for a producer to provide its proprietary feed mixes and/or chicks to its competitor,

thereby giving away any competitive cost advantage over its competitors.




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       409.    Another sign that Defendants do not view production costs as secret is the fact

that it is not unusual for Defendants to permit competitor’s CEOs access to each other’s

production complexes. In a competitive industry, production methods should be closely guarded

to protect proprietary methods of production that save a company money and give it a

competitive advantage over its competitors. However, this is not the case in the Broiler industry.

For example, from April 19-21, 2013, Pilgrim’s President & CEO Bill Lovette, Perdue Chairman

of the Board Jim Perdue, and Sanderson Farms President & COO Lampkin Butts attended a three

day long “Chicken Media Summit” in North Carolina that included visits by attendees to a

Sanderson Farms growhouse and processing plant. Similarly, from April 19-21, 2015, another

Chicken Media Summit was sponsored by the NCC and USAPEEC and included tours of

Perdue’s operations and panel discussions with Defendants’ senior executives.

G.     Since 2008 Defendants’ Collusion Has Led to Unprecedented Capacity Reductions,
       Artificially High Prices, and Record Profits.

       410.    As described above, Broiler prices have been artificially inflated since 2008,

despite a historic trend of boom and bust cycles for Broilers as producers oversupply the market

in response to price increases, leading to low single-digit profit margins in the Broiler industry.

As one industry observer noted, “[t]he profit margins of the nation’s biggest meat packers rose

dramatically between 2008 and 2010 (the most recent year for which good data is available),

even as the national economy cratered. Tyson Foods, the nation’s biggest meat company,

reported record profits of $778 million last year [i.e., 2013] as the company hiked prices for beef,

pork, and chicken.”

       411.    The historic pattern of annual increases in Broiler production was so entrenched

over decades of experience by the 2000s that one widely repeated quip in the industry was that

there were now only three things certain in life: “Death, taxes and 3% more broilers.” A leading



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industry publication noted in early 2009 that “[b]roiler production in the U.S. used to be just like

government spending, it never went down and cutbacks only resulted in slowing the rate of

growth, but not anymore” because “[f]or the first time in decades, total broiler production in

2008 remained virtually unchanged from the year before. WATT PoultryUSA 2008 rankings data

show the industry’s total weekly ready-to-cook (RTC) production at 724.05 million pounds, just

slightly more than the 723.71 million RTC pounds per week reported at the end of 2007.”

       412.    During a February 12, 2015, earnings call, Pilgrim’s President & CEO Bill

Lovette summed up the restriction of supply which Defendants had implemented since 2008: “I

looked at some numbers supplied by Agri Stats earlier in the week and found some interesting

facts. If you go back to 2008, the industry slaughtered 8.35 billion head. And by 2011, that

slaughtered head had declined by approximately 8% to 7.7 billion. And it’s actually remained

about that same level through 2014 at about 7.7 billion. If you look at live weight pounds

produced, it was 47.1 billion in 2008. It declined to 45.06 billion in 2011. And in 2014, for the

first time since 2008, it reached 47.3 billion, so only 200 million more pounds above 2008 levels.

And then on the average weight side, the average weight in 2008 was 5.64, and it’s averaged just

above 6 from 2011 through 2014. So with all of that data in mind, what it tells me is the industry

remains fairly disciplined on the supply side and demand has been increasing for chicken against

the backdrop of increasing beef and pork supplies.”

H.     Defendants Reduced Their Own Production And Used Direct Purchases of Broilers
       To Reduce Industry Supply.

       413.    Economic theory and good business strategy suggests that relying upon one’s

competitors to meet a company’s own commitments to its customers is not rational, as the

competitor can decide to cut out the middleman and sell directly to the end customer.

Nevertheless, Tyson, Koch Foods, and other Defendants have created a system of inter-



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dependence whereby some Broiler companies purposely under-produce Broilers on the

assumption their competitors will sell them what they need.

       414.    Defendants use direct purchases of Broilers from one another and from smaller

Broiler producers to meet each company’s own sales needs. This permits Defendants to soak up

excess supply that could depress prices in the market and also facilitates the opportunity to

expressly discuss prices with competitors. Such purchases also permit companies to maintain

their market share despite reducing their own production. Additionally, in many instances large

inter-Defendant purchases are negotiated by CEOs or other senior level executives of

Defendants, providing an additional opportunity for such individuals to conspire.

       415.    Further, Defendants’ participation in Agri Stats gives them visibility into each

other’s profitability, operating margins, and supply that no ordinary customer could hope to

achieve.

       416.    In 2011, as noted above in Section VI(D)(5), Tyson began using what was

described as a “very unique strategy,” called “Buy vs. Grow.” Tyson’s strategy essentially treats

the industry supply as though it were for a single unified company, rather than competing

businesses that would rather sell self-produced product to a customer than a competitor.

       417.    What makes Tyson’s program exceptionally “unique” is that only a few years

before adopting a “Buy vs. Grow” strategy, Tyson declared such a strategy to be “stupid”

because it would be subsidizing a competitor’s growth. Tyson’s Executive Vice President &

CFO, Wade Miquelon explained on an April 28, 2008, earnings call that “I think what we said

along is we’re going to match our supply and demand. We’re not going to cut beyond that and

then go out and buy open market meat to subsidize other people’s growth.” Therefore, Tyson’s




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change in view towards open market purchases suggests it had confidence by 2011 that its

competitors would maintain their production levels and not grow.

       418.   By the end of 2014, Tyson reported it was buying over 4 million pounds of

Broilers on the open market each week. Four million pounds of Broilers per week is more than

any of the 24th-30th largest Broiler companies produce on a weekly basis, so the amount of

Tyson’s purchases was quite significant in terms of volume.

       419.   During the first part of 2015, Tyson increased its Buy vs. Grow purchases by

50%, expanding Tyson’s purchases from competitors to unprecedented levels.

       420.   Tyson announced plans in May 2015 to increase its Buy vs. Grow strategy to 10

percent of its sales in the second half of 2015 and 2016. Ten percent of Tyson’s 2014 pounds

RTC is 17.6 million pounds per week, a volume that by itself would dwarf the entire average

weekly production of any of the 15th-30th largest Broiler producers. Notably, Tyson also

announced in May 2015 that it planned to reduce its production after July 2015 and keep

production flat through 2016 by increasing its Buy vs. Grow purchases.

       421.   Upon information and belief, Defendants made use of Broiler purchases from and

purchase contracts between one another and smaller Broiler producers to reduce their own

production while soaking up excess supply from competitors.

       422.   Defendants’ use of direct purchases from one another and from smaller Broiler

producers provided Defendants an uninterrupted flow of supply and pricing information and

opportunities to communicate directly with one another.

I.     Defendants Made A Coordinated Move Away From Fixed-Price Contracts To
       Contracts That Changed Prices Quarterly Or Followed Broiler Price Indices.

       423.   A coordinated move away from fixed price contracts to contracts that permit

prices to fluctuate with an indexed public market price helps facilitate an antitrust conspiracy.



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See In re High Fructose Corn Syrup Antitrust Litig., 295 F.3d 651, 659 (7th Cir. 2002). This is

precisely what occurred in the Broiler market during the Relevant Time Period.

       424.    For several years prior to the Relevant Time Period, many vertically integrated

Broiler producers offered some customers long-term fixed-price contracts of a year or more.

This guaranteed customers a fixed price, but also prevented Broiler producers from being able to

realize market price increases that would naturally result from their planned supply cuts.

       425.    Starting around January 2008, senior executives from Koch Foods, Pilgrim’s,

Perdue, Sanderson Farms, and Tyson Foods publicly announced an effort to reduce annual fixed-

price contracts. This change coincided with Defendants’ efforts to reduce Broiler industry

supplies so as to drive Broiler market prices higher.

       426.    On January 28, 2008, Tyson CEO Dick Bond announced on an earnings call that

Tyson was looking at shortening its fixed price contracts, and by June 2009 Tyson reported it

had “dramatically” shortened the amount of fixed-price contracts over 90 days.

       427.    On January 29, 2008, Pilgrim’s CFO Rick Cogdill reported on an earnings call

that Pilgrim’s had started moving away from fixed-price contracts, but Pilgrim’s moves were

being held back by legacy fixed-price contracts entered into by Gold Kist prior to its acquisition

by Pilgrim’s in late 2006. Cogdill also noted that “in a situation like where we are now where

we need to drive commodity prices up, that [i.e., having less fixed price contracts] is going to

give us the opportunity for more immediate benefit to our P&L than what we would have had

say, historically three year[s] ago, when a higher percentage was fixed price.” Pilgrim’s later

reported that by March 2012 it had reduced its exposure to fixed price contracts, with most

contracts now market-based or including a reset provision linked to the underlying commodity.




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By 2014, Pilgrim’s reported that less than 5% of all its contracts were 12-month fixed price

contracts.

       428.    On August 26, 2008, Perdue spokesperson Julie DeYoung told an industry

publication that Perdue was looking to shorten its contract terms, stating, “the company is also

seeking to raise prices and shorten its contracts.”

       429.    Sanderson Farms’ CEO Joe Sanderson noted in a July 31, 2008, earnings call that

the industry may move towards “shorter term agreements.”

       430.    Industry observers noted the trend of Broiler producers moving away from fixed-

price contracts. For instance, a December 2013 report by Stephens, Inc. analyst Farha Aslam

noted that “[w]ith volume growth generally limited, companies are developing more

sophisticated strategies to generate profits . . . . ‘Rather than annual fixed price contract[s] that

are negotiated every fall, companies are partnering with customers and creating contracts that

can be multi-year in duration. Contracts are now being negotiated all year long and employ a

wide variety of pricing methodologies.’“ This confirms that even contracts which are long-term

in duration are not “fixed” so as to prevent price increases when coordinated supply reductions

drive up Broiler market price indices.

                                  VI.     ANTITRUST INJURY

       431.    Defendants’ conspiracy had the following effects, among others:

               A.      Price competition has been restrained or eliminated with respect to
                       Broilers;

               B.      The prices of Broilers have been fixed, raised, stabilized, or maintained at
                       artificially inflated levels; and

               C.      Purchasers of Broilers have been deprived of free and open competition.

       432.    During the Relevant Time Period, Plaintiff and AFM paid supra-competitive

prices for Broilers.


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       433.      By reason of the alleged violations of the antitrust laws, and as a direct and

proximate consequence of Defendants’ wrongful conduct, Plaintiff and AFM sustained injury to

their businesses or property, having paid higher prices for Broilers than they would have paid in

the absence of Defendants’ illegal contract, combination, or conspiracy, and as a result have

suffered damages.

       434.      This is an antitrust injury of the type that the antitrust laws were meant to punish

and prevent.

       435.      The full amount and forms and components of such damages will be calculated

after discovery and presented upon proof at trial.

                VII.   DEFENDANTS FRAUDULENTLY CONCEALED THEIR
                              CONSPIRACY UNTIL 2016.

A.     Plaintiff and AFM Did Not And Could Not Have Discovered Defendants’
       Anticompetitive Conduct.

       436.      Plaintiff and AFM had neither actual nor constructive knowledge of the facts

constituting their claim for relief. Plaintiff and AFM did not discover, and could not have

discovered through the exercise of reasonable diligence, the existence of the conspiracy alleged

herein until approximately 2016. Defendants engaged in a secret conspiracy that did not reveal

facts that would put Plaintiff or AFM on inquiry notice that there was a conspiracy to fix prices

for Broilers.

       437.      With respect to the output-restriction element of Defendants’ conspiracy, Plaintiff

and AFM did not discover, nor could have discovered through the exercise of reasonable

diligence, the facts supporting its claims for relief, until the filing of a direct purchaser class

action, Maplevale Farms, Inc. v. Koch Foods, Inc. et al., in the Northern District of Illinois in

September 2016. The filing of the Maplevale Farms complaint, which alleges a class of which




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Plaintiff and AFM are absent members, caused Plaintiff and its counsel to start an independent

and extensive investigation into the facts alleged in this Complaint.

       438.    With respect to Defendants’ manipulation of the Georgia Dock, a January 18,

2016 Wall Street Journal article regarding Defendants’ possible manipulation of the Georgia

benchmark price raised the possibility of collusion to artificially raise, fix, or maintain chicken

prices using the Georgia Dock.       Subsequently a series of articles in various publications

published between November 3 and 17, 2016, detailed for the first time that the USDA had

discontinued its reliance on the Georgia Dock benchmark price because its input prices could not

be verified.

       439.    Yet, despite these public revelations, Defendants continued to assert the fairness

and accuracy of the Georgia Dock benchmark price. For example, in a November 8, 2016,

Washington Post article, Defendant Sanderson Farms represented that the Georgia Dock

benchmark price was “reliable,” so as to induce purchasers of chickens to believe the benchmark

price was not subject to illegal manipulation by Defendants. Not until November 10, 2016, was

it disclosed publicly that Defendants had formed a secret Georgia Dock Advisory Board that

facilitated opportunities for executives to meet and also discuss their scheme to fix the Georgia

Dock benchmark price. The existence of this board was not known to Plaintiff, nor would it

have been able to learn of how Defendants’ executives conducted themselves in their non-public

Georgia Dock Advisory Board meetings. Finally, not until November 17, 2016, was it publicly

disclosed that the Florida Attorney General’s Office was investigating the Georgia Dock

benchmark price and its calculation and manipulation by Defendants.

       440.    Defendants’ anticompetitive conspiracy, by its very nature, was self-concealing.

Chickens are not exempt from antitrust regulation, and thus, before these recent events Plaintiff




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reasonably considered the U.S. chicken industry to be a competitive industry. Accordingly, a

reasonable person under the circumstances would not have been alerted to begin investigating

the legitimacy of Defendants’ chicken prices before these recent events.

       441.    Plaintiff and AFM exercised reasonable diligence. Plaintiff and AFM could not

have discovered Defendants’ conspiracy at an earlier date by the exercise of reasonable diligence

because of the deceptive practices and techniques of secrecy employed by Defendants.

B.     Defendants Actively Concealed The Conspiracy.

       442.    Throughout the Relevant Time Period set forth in this Complaint, Defendants and

their Co-Conspirators effectively, affirmatively, and fraudulently concealed their unlawful

combination and conspiracy from Plaintiff and AFM.

       443.    The combination and conspiracy alleged herein was fraudulently concealed by

Defendants by various means and methods, including, but not limited to secret meetings,

surreptitious communications between Defendants by the use of the telephone or in-person

meetings at trade association meetings (and elsewhere) in order to prevent the existence of

written records, limiting any explicit reference to competitor pricing or supply restraint

communications on documents, communicating competitively sensitive data to one another

through a “proprietary, privileged, and confidential” system that kept both the content and

participants in the system secret, concealing the existence and nature of their competitor supply

restraint and price discussions from non-conspirators (including customers), and concealing the

detailed contents and true nature of Agri Stats reports, which permitted Defendants to police and

monitor the effectiveness of their conspiracy to restrict Broiler supplies, from Plaintiff and AFM

and other purchasers.

       444.    Defendants used code words including “discipline” and “capacity discipline” in

their public statements to conceal their conspiracy and signal one other in furtherance of their


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conspiracy to restrain production while shielding their conspiracy from detection or suspicion.

As alleged above, specific examples of the use of such coded language abound during the

Relevant Time Period, including (1) the National Chicken Council’s Annual Conference in

October 2011 where a report noted that panel members Clint Rivers of Perdue Farms, Bill

Anderson of Keystone Foods, Mike Helgeson of GNP, and Mark Kaminsky of Koch Foods

noted that “[d]iscipline on the supply side was one suggestion” to increase Broiler prices, (2) on

a May 3, 2013, earnings call, Pilgrim’s President & CEO Bill Lovette stated that “price is going

to strengthen as supply continues to be disciplined and constrained....and “we’ve done a good job

so far of maintaining discipline,” and (3) on a July 2016 earnings call Pilgrim’s CEO Bill

Lovette noted that “I think what we’ve seen with egg sets is absolutely a testament to the

discipline of our industry that we’ve seen the last really two to three years.”

       445.    As alleged above, in 2008, after years of boom and bust cycles of production

leading to the regular rise and fall of prices, the price of Broilers began an unprecedentedly

steady increase that continued at least through 2016. Defendants affirmatively and falsely

attributed the price increase to increases in the price of inputs, among other reasons. These were

pretexts used to cover up the conspiracy. In fact, these price increases were the result of

collusive conduct among Defendants, which was undisclosed at the time.

       446.    During the relevant period, Defendants affirmatively made numerous misleading

public statements falsely portraying the market for Broilers as a competitive one. For example,

Defendants provided testimony at workshops held by the U.S. Department of Justice and USDA

suggesting the Broiler industry was competitive and not subject to anti-competitive practices and

agreements. This included testimony at a May 21, 2010 workshop of a National Chicken

Council-commissioned study by Dr. Thomas Elam, which stated that “the chicken industry is




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competitive and thriving,” and has “[i]ntense competition” that promotes “product innovation

and lower prices for consumers.”

       447.   Defendants also repeatedly blamed the Renewable Fuels mandate for increased

Broiler prices, both through the NCC, other trade groups, and through press releases, speeches,

and other public statements by Defendants’ employees, rather than disclosing the existence of an

agreement to illegally restrain the supply of Broilers.    Some instances of these pretextual

explanations by Defendants and their agents include:

              A.      On a January 29, 2008, earnings call, Pilgrim’s Interim CEO Clint Rivers
                      claimed that “the U.S. government continues its misguided policy of
                      subsidizing ethanol production at the expense of affordable food, and a
                      lower corn yield expectation by USDA will contribute to decrease corn
                      suppliers next year.”

              B.      On June 23, 2008, Wayne Farms President & CEO Elton Maddox said in a
                      statement that “the government’s food fuel mandate has created the need
                      for us to rationalize our business.”

              C.      On July 7, 2008, O.K. Foods announced production cuts due to “record
                      high prices for corn and soybean meal, which it attributed to the U.S.
                      government’s mandated ethanol policies.”

              D.      On June 24, 2009, Harrison Poultry President & CEO Mike Welch and
                      Claxton Poultry President Jerry Lane met in Washington DC and
                      encouraged elected officials to end the “mistake” of the ethanol subsidy.

              E.      In 2010, Foster Farms delayed an expansion due, allegedly, to corn prices.
                      Ira Brill, Foster Farm’s Director of Market Services, blamed the ethanol
                      mandate for the delay, stating that it “places enormous pressure on our
                      input costs, and for that reason we can’t go forward with our expansion
                      plans.”

              F.      On March 7, 2011, House of Raeford announced production cuts due to
                      increased prices. It stated that “if Congress will take action to cut
                      unreasonable government support for the ethanol industry, then grain
                      prices should decrease to a more manageable pricing level.”

              G.      On March 15, 2011, Simmons announced downsizing at a plant due to
                      economics “resulting from high grain prices predominantly caused by corn
                      being used in ethanol.” Simmons cited ethanol policies again on June 27,
                      2011, when it laid off another 223 employees.


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               H.     In an April 13, 2011, hearing before a congressional subcommittee,
                      Michael Welch (President and CEO of Harrison Poultry) stated that
                      production of broilers was threatened by the diversion of corn to fuel
                      production. Welch claimed that shifting corn back to feed would “allow
                      consumers of poultry products to continue to enjoy an ongoing, adequate
                      supply of animal protein at reasonable prices.” Welch repeated similar
                      claims in 2012 as well, citing increased corn costs resulting in “tens of
                      billions of dollars in increased costs for livestock and poultry producers
                      and food manufacturers.”

               I.     In September 2011, Phillip Green (Vice President of Commodities, Foster
                      Farms) testified on behalf of the American Feed Industry Association at a
                      public hearing and blamed increasing meat costs on the ethanol mandate.

               J.     On October 10, 2014, National Chicken Council President Mike Brown
                      wrote an op-ed citing the Renewable Energy Standard as the primary
                      reason for the poultry industry’s inability to increase production. Brown
                      cited the Renewable Fuel Standard again in a May 15, 2015 op-ed in the
                      Wall Street Journal.

       448.    To explain the shortage of Broilers since 2012, Defendants have provided a

variety of pretextual explanations, including the following: (a) a breeding issue with Broilers

during 2014, (b) a Russian ban of U.S. Broiler imports starting in 2014, and (c) a 2013 shortage

in supply due in part due to an Avian Flu outbreak in Mexico that caused a surge in demand for

hens to repopulate farms in Mexico However, these explanations were pretextual and Defendants

sought to hide their conspiracy from discovery by blaming Broiler price increases on these

factors rather than Defendants’ own collusive conduct.

       449.    Throughout the Relevant Time Period Defendants repeatedly cited increasing

input costs as a pretext for their collusion to restrain supply and increase prices. For instance,

Defendants repeatedly claimed that input cost increases during 2008 justified Broiler price

increases. However, prior to 2008 there is a statistical correlation between Broiler prices and

corn prices, but during the Relevant Time Period there has been no statistical correlation between

Broiler and corn prices. In other words, despite Defendants’ pretextual explanations to the

contrary, Defendants were not determining the price of Broilers based on the input price for corn.


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       450.    The National Chicken Council has served as the mouthpiece for Defendants

publicized pre-textual excuses for rising Broiler prices. Among other actions, the following

indicate an intent to deceive purchasers of Broilers into believing that input costs, rather than a

collusive agreement among Defendants to reduce supply, was the cause of rising Broiler prices:

               A.     Through the National Chicken Council, Defendants ensured that the
                      pretext for their production cuts and price increases, the ethanol mandate,
                      continued to be blamed for increased chicken prices rather than
                      Defendants’ secret conspiracy. A May 19, 2010, report by FarmEcon
                      LLC was commissioned by the NCC and concluded “[o]n the national
                      scale, it is the overall conclusion of this study that the chicken industry is a
                      competitive and thriving sector.” The NCC trumpeted the findings
                      through a press release on its website with the headline “Competition in
                      Broiler Sector Benefits Chicken Farmers, Companies, and Consumers,
                      Study Finds.”

               B.     As noted above, Brown’s October 10, 2014, and May 15, 2015, op-eds in
                      national newspapers attempted to explain away why “current favorable
                      market conditions that would normally stimulate production to be
                      somewhat higher” were not doing so. These op-eds were intended to
                      convince purchasers of Broilers that input costs, rather than a secret
                      conspiracy, were to blame for increasing Broiler prices.

       451.    By virtue of the fraudulent concealment of their wrongful conduct by Defendants

and all of their co-conspirators, the running of any statute of limitations has been tolled and

suspended with respect to any claims and rights of action that Plaintiff and AFM have as a result

of the unlawful combination and conspiracy alleged in this Complaint.

              VIII. VIOLATION OF SECTION 1 OF THE SHERMAN ACT

       452.    Plaintiff incorporates by reference the allegations in the preceding paragraphs.

       453.    Defendants and all of their co-conspirators entered into and engaged in a

combination or conspiracy in unreasonable restraint of trade in violation of Section 1 of the

Sherman Act, 15 U.S.C. § 1.

       454.    Defendants’ acts in furtherance of their combination or conspiracy included, but

were not limited to, (a) coordinating their output and limiting production with the intent and


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expected result of increasing prices of Broilers in the United States, and (2) manipulating price

indices used to set wholesale chicken prices for buyers in Kansas and across the United States.

       455.    Defendants’ acts in furtherance of their combination or conspiracy were

authorized, ordered, or done by their officers, agents, employees, or representatives while

actively engaged in the management of Defendants’ affairs.

       456.    At least as early as January 1, 2008, and continuing until present, the exact dates

being unknown to Plaintiff and AFM, Defendants and all of their co-conspirators entered into a

continuing agreement, understanding and conspiracy in restraint of trade to fix, raise, stabilize,

and maintain prices for Broilers, thereby creating anticompetitive effects.

       457.    Defendants’ anticompetitive acts involved United States domestic commerce and

import commerce, and had a direct, substantial, and foreseeable effect on interstate commerce by

raising and fixing prices for Broilers throughout the United States.

       458.    The conspiratorial acts and combinations have caused unreasonable restraints in

the market for Broilers.

       459.    As a result of Defendants’ unlawful conduct, Plaintiff and AFM have been

harmed by being forced to pay inflated, supra-competitive prices for Broilers.

       460.    In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and all of their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth in

this Complaint. Defendants’ conspiracy had the following effects, among others:

               A.      Price competition in the market for Broilers has been restrained,
                       suppressed, and/or eliminated in the United States;

               B.      Prices for Broilers sold by Defendants, their divisions, subsidiaries, and
                       affiliates, and all of their Producer Co-Conspirators have been fixed,
                       raised, stabilized, and maintained at artificially high, non-competitive
                       levels throughout the United States; and


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               C.         Plaintiff and AFM have been deprived of the benefits of free and open
                          competition in the purchase of Broilers.

       461.    Defendants took all of the actions alleged in this Complaint with the knowledge

and intended effect that their actions would proximately cause the price of Broilers on the spot

market to be higher than it would be but for Defendants’ conduct. Defendants also knew and

intended that such an artificial inflation of spot market prices would increase other Broiler

market prices, including those paid by Plaintiff and AFM.

       462.    As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiff

and AFM have been injured in their business or property and will continue to be injured in their

business and property by paying more for Broilers than they would have paid and will pay in the

absence of the conspiracy.

       463.    The alleged contract, combination, or conspiracy is a per se violation of the

federal antitrust laws.

               IX.        VIOLATION OF THE WISCONSIN ANTITRUST ACT

       464.    Plaintiff incorporates by reference the allegations in the preceding paragraphs.

       465.    Plaintiff purchased Broilers from Defendants and other producers of Broilers at

and for its Kenosha, WI distribution center. AFM also purchased Broilers from Kenosha, WI.

       466.    Defendants and all of their co-conspirators entered into and engaged in a contract,

combination, or conspiracy in unreasonable restraint of trade in violation of § 133.03 of the

Wisconsin Antitrust Act. Wis. Stat. § 133.03.

       467.    Defendants’ acts in furtherance of their contract, combination, or conspiracy

included, but were not limited to, (a) coordinating their output and limiting production with the

intent and expected result of increasing prices of Broilers in the United States, and (2)




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manipulating price indices used to set wholesale chicken prices for buyers in Wisconsin and

across the United States.

       468.    Defendants’ acts in furtherance of their contract, combination, or conspiracy were

authorized, ordered, or done by their officers, agents, employees, or representatives while

actively engaged in the management of Defendants’ affairs.

       469.    At least as early as January 1, 2008, and continuing until present, the exact dates

being unknown to Plaintiff, Defendants and all of their co-conspirators entered into a continuing

agreement, understanding and conspiracy in restraint of trade to fix, raise, stabilize, and maintain

prices for Broilers, thereby creating anticompetitive effects.

       470.    Defendants’ anticompetitive acts involved commerce in Wisconsin, and had a

direct, substantial, and foreseeable effect on Wisconsin’s commerce by raising and fixing prices

for Broilers throughout the state.

       471.    The conspiratorial acts and combinations have caused unreasonable restraints in

the market for Broilers.

       472.    As a result of Defendants’ unlawful conduct, Plaintiff and AFM have been

harmed by being forced to pay inflated, supra-competitive prices for Broilers.

       473.    In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and all of their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth in

this Complaint. Defendants’ conspiracy had the following effects, among others:

               A.      Price competition in the market for Broilers has been restrained,
                       suppressed, and/or eliminated in Wisconsin;

               B.      Prices for Broilers sold by Defendants, their divisions, subsidiaries, and
                       affiliates, and all of their Producer Co-Conspirators have been fixed,
                       raised, stabilized, and maintained at artificially high, non-competitive
                       levels throughout Wisconsin; and


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                  C.      Plaintiff has been deprived of the benefits of free and open competition in
                          the purchase of Broilers.

       474.       Defendants took all of the actions alleged in this Complaint with the knowledge

and intended effect that their actions would proximately cause the price of Broilers on the spot

market to be higher than it would be but for Defendants’ conduct. Defendants also knew and

intended that such an artificial inflation of spot market prices would increase other Broiler

market prices, including those paid by Plaintiff and AFM.

       475.       As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiff

and AFM have been injured in their business or property and will continue to be injured in their

business and property by paying more for Broilers than they would have paid and will pay in the

absence of Defendants’ contract, combination, or conspiracy.

       476.       The alleged contract, combination, or conspiracy is a per se violation of the

Wisconsin Antitrust Act.

       477.       The contracts between Plaintiff and AFM with Defendants are therefore void, and

payments made upon, under or pursuant to such contracts are recoverable from Defendants. Wis.

Stat. § 133.14.

          X.           VIOLATION OF THE TENNESSEE TRADE PRACTICES ACT

       478.       Plaintiff incorporates by reference the allegations in the preceding paragraphs.

       479.       Plaintiff purchased Broilers from Defendants and other producers of Broilers at

and for its distribution center in Goodlettsville, TN.

       480.       Defendants and all of their co-conspirators entered into and engaged in an

arrangement, contract, agreement, trust, or combination to advance and control the price of

Broilers in violation of § 47-25-101 of the Tennessee Trade Practices Act. Tenn. Code § 47-25-

101.



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       481.    Defendants’ acts in furtherance of their arrangement, contract, agreement, trust, or

combination included, but were not limited to, (a) coordinating their output and limiting

production with the intent and expected result of increasing prices of Broilers in the United

States, and (2) manipulating price indices used to set wholesale chicken prices for buyers in

Tennessee and across the United States.

       482.    Defendants’ acts in furtherance of their arrangement, contract, agreement, trust, or

combination were authorized, ordered, or done by their officers, agents, employees, or

representatives while actively engaged in the management of Defendants’ affairs.

       483.    At least as early as January 1, 2008, and continuing until present, the exact dates

being unknown to Plaintiff, Defendants and all of their co-conspirators entered into a continuing

agreement, understanding and conspiracy in restraint of trade to advance and control prices for

Broilers, thereby creating anticompetitive effects.

       484.    Defendants’ anticompetitive acts involved commerce in Tennessee, and had a

direct, substantial, and foreseeable effect on Tennessee’s commerce by raising and fixing prices

for Broilers throughout the state.

       485.    The conspiratorial acts and combinations have caused unreasonable restraints in

the market for Broilers.

       486.    As a result of Defendants’ unlawful conduct, Plaintiff has been harmed by being

forced to pay inflated, supra-competitive prices for Broilers.

       487.    In formulating and carrying out the alleged agreement, understanding and

conspiracy, Defendants and all of their co-conspirators did those things that they combined and

conspired to do, including but not limited to the acts, practices, and course of conduct set forth in

this Complaint. Defendants’ conspiracy had the following effects, among others:




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               A.      Price competition in the market for Broilers has been restrained,
                       suppressed, and/or eliminated in Tennessee;

               B.      Prices for Broilers sold by Defendants, their divisions, subsidiaries, and
                       affiliates, and all of their Producer Co-Conspirators have been fixed,
                       raised, stabilized, and maintained at artificially high, non-competitive
                       levels throughout Tennessee; and

               C.      Plaintiff has been deprived of the benefits of free and open competition in
                       the purchase of Broilers.

       488.    Defendants took all of the actions alleged in this Complaint with the knowledge

and intended effect that their actions would proximately cause the price of Broilers on the spot

market to be higher than it would be but for Defendants’ conduct. Defendants also knew and

intended that such an artificial inflation of spot market prices would increase other Broiler

market prices, including those paid by Plaintiff.

       489.    As a direct and proximate result of Defendants’ anticompetitive conduct, Plaintiff

has been injured in their business or property and will continue to be injured in their business and

property by paying more for Broilers than they would have paid and will pay in the absence of

Defendants’ arrangement, contract, agreement, trust, or combination.

       490.    The alleged arrangement, contract, agreement, trust, or combination, is a per se

violation of the Tennessee Trade Practices Act.

       491.    Contracts between Plaintiff and Defendants are therefore void, and Plaintiff is

entitled to recover the full consideration or sum paid by Plaintiff pursuant to such contracts.

Tenn. Code §§ 47-25-101, 47-25-106.

                                XI.    REQUEST FOR RELIEF

       WHEREFORE, Plaintiff demands judgment against Defendants as follows:

       492.    That the unlawful conduct, conspiracy or combination alleged herein be adjudged

and decreed:



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               A.     An unreasonable restraint of trade or commerce in violation of Section 1
                      of the Sherman Act;

               B.     A per se violation of Section 1 of the Sherman Act;

               C.     An unreasonable restraint of trade or commerce in violation of Section
                      133 of the Wisconsin Antitrust Act;

               D.     A per se violation of Section 133 of the Wisconsin Antitrust Act;

               E.     An unreasonable restraint of trade or commerce in violation of Section 47-
                      25-101 of the Tennessee Trade Practices Act;

               F.     A per se violation of Section 47-25-101 of the Tennessee Trade Practices
                      Act;

       493.    That Plaintiff recover damages incurred by itself and by AFM to the maximum

extent allowed under federal antitrust laws and of at least $300,000,000, and that a joint and

several judgment in favor of Plaintiff be entered against Defendants in an amount to be trebled to

the extent such laws permit;

       494.    That Plaintiff recover damages incurred by itself and by AFM to the maximum

extent allowed under Wisconsin laws, and that a joint and several judgment in favor of Plaintiff

be entered against Defendants in an amount to be trebled to the extent such laws permit;

       495.    That Plaintiff recover damages, to the maximum extent allowed under Tennessee

laws, and that a joint and several judgment in favor of Plaintiff be entered against Defendants in

an amount to be trebled to the extent such laws permit.

       496.    That Plaintiff recovers the full consideration paid to Defendants by Plaintiff and

AFM for Broilers during the Relevant Time Period, to the maximum extent allowed under the

laws of the States of Wisconsin and Tennessee.

       497.    That Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and restrained


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from in any manner continuing, maintaining or renewing the conduct, conspiracy, or

combination alleged herein, or from entering into any other conspiracy or combination having a

similar purpose or effect, and from adopting or following any practice, plan, program, or device

having a similar purpose or effect;

       498.    That Defendants, their affiliates, successors, transferees, assignees and other

officers, directors, partners, agents and employees thereof, and all other persons acting or

claiming to act on their behalf or in concert with them, be permanently enjoined and restrained

from in any manner continuing, maintaining, or renewing the sharing of highly sensitive

competitive information that permits individual identification of company’s information;

       499.    That Plaintiff be awarded pre- and post- judgment interest as provided by law for

its claims and for those assigned by AFM, and that such interest be awarded at the highest legal

rate from and after the date of service of AWG’s original Complaint;

       500.    That Plaintiff recover its costs of suit, including reasonable attorneys’ fees, as

provided by law; and

       501.    That Plaintiff be awarded such other and further relief as the case may require and

the Court may deem just and proper.




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                               XII.    JURY TRIAL DEMANDED

        502.    Plaintiff demands a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

Civil Procedure, of all issues so triable.

Dated: April 18, 2019.

                                             Respectfully submitted,

                                             /s/ Amy D. Fitts
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 18th day of April, 2019, a true and correct copy of the

foregoing was electronically filed and served on counsel for all parties properly registered to

receive notice via the Court’s CM/ECF system.

                                                          /s/ Amy D. Fitts
                                                          Amy D. Fitts




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